  Ambassade de France
    aux Etats-Unis
Ref: Demanded' extradition de M. Brendan LAUTISSIER
N° 2020-0071114
                                                                   znzv FED -b P 3: 04
                                                                 •·• :::~-   -    ......_f"''""'    ,-    - ~ · .... !$-
                                                                t.:._;. \ , , , , 1;_,~ 1          Or    S:lA4t.


                          L 'Ambassade de France presente ses compliments au Departement
                d'Etat et a l'honneur de lui faire parvenir sous ce pli, avec Jes pieces de
                justice et leur traduction (le tout en double exemplaire), une demande
                d' extradition formee aupres du Gouvernement americain contre le nomme
                Brendan LAUTISSIER, ne le 7 janvier 1992 a Woodland, Californie, de
                nationalite fran9aise et americaine. L'interesse fait l'objet d'un mandat
                d'arret, delivre le 3 a01lt 2018, par Mme Virginie VAN GEYTE, vice-
                presidente chargee de !'instruction au tribunal de grande instance de Paris
                pour des faits de tentative d'homicide sur un ascendant commis le 20 aout
                2010, et de tentative d'assassinat commis le 17 fevrier 2015 au prejudice de
                Gregoire LAUTISSIER et de Frederique LAUTISSIER, epouse
                VARENNES.

                          Cette demande accompagnee de sa traduction en langue anglaise, est
                transmise en application du traite d'extradition du 23 avril 1996, entre la
                France et les Etats-Unis d'Amerique, et notamment de l'article 10. Ce
                traite d'extradition a ete amende par le traite d'extradition entre Jes Etats-
                Unis et l'Union Europeenne du 30 septembre 2004.

                            L' Ambassade de France remercie le Departement d'Etat de bien
                vouloir saisir de cette demande les autorites judiciaires americaines et lui
                faire connaitre la suite qu'elles lui auront reservee.

                            L' Ambassade de France prie, en outre, le Departement d'Etat, de
                bien vouloir inviter les autorites judiciaires americaines a preciser au moment
                de la remise de I' interesse la duree de la detention subie au seul titre
                extraditionnel dans leur pays par le susnomme.




Departement d'Etat
Office of The Legal Advisor
Law Enforcement & Intelligence
Mme Amber Kluesener

Departement de la Justice
Bureau des Affaires Internationales
M. Thomas Burrows




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                                 EXT-LAUTISSIER-00001


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   Ambassade de France
     aux Etats-Unis
UNOFFICIAL TRANSLATION


Re: Request for an extradition of Mr. Brendan LAUTISSIER



                     The Embassy of France presents its compliments to the Department of State
         and has the honor to transmit, together with court documents and their translation (all in
         duplicate), a request to the American government for the extradition of Mr. Brendan
         LAUTISSIER, born on January ?11\ 1992, in Woodland Hills, California a French and
         American national. On August 3rd, 2018, he was issued an arrest warrant by Mrs.
         Virginie VAN GEYTE, the vice-president of the district court of Paris (France) for
         attempted homicide against an ascendant (his father Gregoire LAUTISSIER) on August
         20th, 2010 and attempted assassination against his father Gregoire LAUTISSIER and
         his aunt Frederique LAUTISSIER (married name VARENNES) on February 1?1h,
         2015.

                    This request, accompanied by an English translation, is transmitted pursuant
         to the Extradition Treaty between the United States of America and France, with
         Agreed Minute, signed on April 23rd, 1996 (the "1996 Treaty") and the Instrument as
         contemplated by Article 3, paragraph 2 of the Agreement on Extradition between the
         United States of America and the European Union signed on June 25th, 2003, as to the
         application of the Extradition Treaty between the United States of America and France
         signed April 23rd, 1996, signed September 30th, 2004 (the "Instrument").

                     The Embassy of France would be very grateful to the Department of State
        for referring this request to the American judicial authorities and for notifying it of their
        subsequent actions in this regard.

                     The Embassy of France would be most obliged to the Department of State
        for asking the American judicial authorities to specify, at the time of the person's
        release, the length of detention he served for extradition purposes alone.

                  The Embassy of France avails itself of this opportunity to renew to the
        Department of State the expression of its highest consideration./.


                                                                   Washington, DC, February 5th, 2020

Department of State
Mrs. Amber KLUESENER
Supervisory Paralegal Specialist
Office of The Legal Advisor - Law Enforcement & Intelligence

Department of Justice
Mr. Thomas Burrows
Office of International Affairs


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                                            EXT-LAUTISSIER-00002


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T  !BUNAL
DE GRANDE
INSTANCE
D   PARIS


   •
        Demande d'extradition aux autorites
       judiciaires des Etats-Unis d' Amerique




                                EXT-LAUTISSIER-00003


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                                              •
                                              Libert,! • EgaliU • Fraterriitl!
                                              REPUBLIQUE FRAN<;;AISE

                                                       MINIST'ERE
                                                 OE L'EUROP~ fff DP.S
                                                AffAIRES fiTRANCJERES




       DIRECTION DES FRAN<;AIS A L'ETRANGER                                                   Paris, le   2 8 JAN. 2020
        ET DE L'ADMINISTRATION CONSULAIRE

            SERVICE DES CONVENTIONS,                                                  Le ministre de l'Europe
  DES AFFAlRES CIVILES ET DE L'ENTRAIDE JUDICIAlRE                                   et des Affaires etrangeres
                                                                                                 a
MISSION DES CONVENTIONS ET DE L'ENTRAIDE JUDICIAIRE                              Monsieur l'ambassadeur de France
                                                                                          aux Etats-Unis
            Affaire suivie par · Anne BERNIER
   Telephone: 014317 90 12 • Telecopie 014317 97 58
                                                                                          WASHINGTON
                   PJ : 1 document

   FAE/SAEJ/CEJ n° 2020-    ~ ~ S-(./ft(} f


       Objet: Demande d'extradition formee par les autorites fran9aises aupres des autorites
americaines, a l'encontre du nomme Brendan LAUTISSIER, ressortissant americain ne le
7 janvier 1992 aWoodland Hills (Etats-Unis).

       Ref.: Dossier n° 25414-A
             Notre courtier n° FAE/SAEJ/CEJ 2019-0336552 du 29 mai 2019

        En complement de notre envoi par courtier cite en reference et a la demande du
ministere de la Justice, le Departement vous prie de bien vouloir trouver ci-joint, avec les pieces
de justice, une demande a destination des autorites americaines en vue de l' extradition du
nomme Brendan LAUTISSIER, ne le 7 janvier 1992 a Woodland Hills, Califomie (Etats-Unis),
de nationalite americaine.

        L'interesse est recherche sur le fondement d'un mandat d'arret deceme le 3 aoftt 2018
par Mme Virginie VAN GEYTE, vice-presidente chargee de !'instruction pres le tribunal de
grande instance de Paris pour des faits de tentative d'homicide sur un ascendant commis le
20 aoftt 2010 a Paris et de tentative d'assassinat commis le 17 fevrier 2015 sur les personnes de
Gregoire LAUTISSIER et de Frederique LAUTISSER epouse VARENNES.

       Cette demande est formee sur le fondement du traite d'extradition bilateral franco-
americain du 23 avril 1996 ainsi que de l'accord d'entraide en matiere penale entre l'Union
europeenne et les Etats-Unis d' Amerique du 25 juin 2003.

       Le Departement vous serait reconnaissant de bien vouloir informer les autorites
americaines de ces elements et leur remettre cette demande dans les meilleurs delais.

        Le Departement vous remercie en outre de bien vouloir lui faire connai'tre la suite que les
autorites requises auront reservee a cette demande et d'inviter ces demieres a preciser la duree
de la detention subie au seul titre extraditionnel dans leur pays par le susnomme./.




                                     Chef du pole entraide judiciaire

                                           EXT-LAUTISSIER-00004


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                                                                               Paris, le 24 janvier 2020

                                                                             Paris, January 24th, 2020




                                                   La garde des sceaux,
                                                   ministre de Ia justice/
Reference a rappeler :                             The Minister ofJustice
W25 414-A                                          Keeper of the Seals


Dossier suivi par :                                a/to
Caius REHMAN-FAWCETT
Gaius. rehman-fawcett@justice. gouv. fr

                                                   Monsieur le Minsitre de la Justice
                                                   des Etats-Unis d'Amerique/
                                                   The Attorney General of the United States ofAmerica




                 Je soussigne, Caius REHMAN-FAWCETT, membre du bureau de l'entraide penale
internationale, atteste que les pieces ci-jointes sont produites a l'appui de la demande d'extradition
f01mee aupres du Gouvernement des Etats-Unis d' Amerique a l'encontre de Monsieur Brendan
LAUTISSIER, ne le 7 janvier 1992 a Woodland Hills (Etats-Unis), de nationalite americaine.



                I, the undersigned, Caius REHMAN-FAWCETT, member of the Office for Mutual
Legal Assistance in Criminal Matters, certify that the documents attached hereto are provided in
support of the request made to the Government of the Unites Stated of America for the extradition of
M Brendan LAUTISSIER, born on January l1'1 1992, in Woodland Hills (United-States), ofAmerican
nationality.




                                                                        P/Le Chef du bureau
                                                                  de l'entraide penale internationale
                                                          On behalf of the Head of the Qffice for Mutual
                                                                 Legal Assistance in Criminal Matters




                                                                       Caius Rehman-Fawcett




                                          EXT-LAUTISSIER-00005


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                              CO UR D' APPEL DE PARIS
                              TRIBUNAL JUDICIAIRE DE PARIS


                           LE PROCUREUR DE LA REPUBLIQUE

                                                 a
        TOUTES AUTORITES JUDICIAIRES COMPETENTES DES ETATS-UNIS
                              D'AMERIQUE

                                DEMANDE D'EXTRADITION

0 B J E T: demande d'extradition visant le nomme Brendan LAUTISSIER.


REFERENCE: 13EXT18


                J'ai l'honneur de solliciter formellement des autorites americaines, a l'appui des
pieces jointes, l'extradition de Brendan LAUTISSIER, dont l'arrestation provisoire est intervenue le
9 decembre 2019 en Caroline du Nord aux Etats-Unis.

              I - ldentite de la personne :

              - Norn : LAUTISSIER Brendan dit WALSH Brendan
              - Passeport americain : LAUTISSIER Brendan Christopher Walsh no 465128608,
                 delivre le 5.02.2010 et valable jusqu'au 04.02.2020
              - SSN : no XXX-XX-XXXX, delivre en 1992,
              - CNI fran9aise : 130175S000234 delivree le 03.01.2013 et valable jusqu'au
                 02.01.2023
              - Passeport fran9ais : 12AZ61028 delivre le 02.01.2013 et valable jusqu'au
                 24.01.2021
              - Ne le 7 janvier 1992 a Woodland Hills en Californie, Etats-Unis
              - Fils de LAUTISSIER Gregoire et de HOPKINS SAIA June (epouse WALSH)
              - Sexe : Masculin
              - Nationalite: americaine et :fran9aise
              - Adresse en France :
                 60 rue Guy Moquet
                 75017 PARIS

              - Derniere adresse connue: (novembre 2018)
              - 3818 PEMBROKE ROAD
              - WINSTON SALEM NORTH CAROLINA 27106
                 Adresse precedente
              - 2764 PLEASANT ROAD Suite ou apprt 10556
              - FORT MILL SOUTH CAROLINA 29708

                Autre adresse
              - 71 Hillcrest Drive Laconia- New Hampshire -Etats-Unis




                                   EXT-LAUTISSIER-00006


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               II - Les faits :

               - date des faits : 20 aout 2010 et 17 fevrier 2015
               • lieu des faits : Paris 11 eme (75) le 20 aout 2010 et Chatou (78 Yvelines), le 17
                  fevrier 2015
               • degre de participation: auteur d'une tentative d'homicide sur un ascendant (son
                  pere LAUTISSIER Gregoire) le 20 aout 20 l O et tentative d'assassinat au
                  prejudice de son pere LAUTISSIER Gregoire et de sa tante LAUTISSIER
                  Frederique, epouse VARENNES le 17 fevrier 2015.

Expose des faits:

Les faits du 20 aout 2010 :

Apres un premier depot de main courante le 23 aout 2010, Gregoire LAUTISSIER deposait plainte,
le 27 aout 2010, aupres du commissariat du 1leme arrondissement de Paris.

Au cours de sa deposition, il expliquait avoir eu, ii y a une vingtaine d'annees, une relation
sentimentale avec Mme June WALSH (devenue par la suite June HOPKINS SAIA), citoyenne
americain mariee a Mark WALSH. De cette union etaient nes deux fits Brendan WALSH-
LAUTISSIER ne le 7 janvier 1992 en Californie, et Austin WALSH-LAUTISSIER, ne le 05 mars
1994 en Califomie. Gregoire LAUTISSIER a reconnu ses deux enfants alors que son ex-compagne
etait enceinte. D'apres ses declarations, June WALSH, enceinte de six mois de leur premier enfant
Brendan, est rentree aux Etats-Unis, en 1991, annorn;:ant au moment de partir de France, son
intention de divorcer de son mari Mark WALSH et de rejoindre Gregoire LAUTISSIER a !'issue.
Elle a finalement renonce a cette separation pour rester avec son mari et a donne a son enfant
Brendan le nom de famille de son mari WALSH. Au printemps 1993, elle est revenue en France en
disant a Gregoire LAUTISSIER, toujours selon ses dires, qu'elle avait divorce et qu'elle souhaitait
faire sa vie avec lui. Elle est retombee enceinte assez rapidement en 1993 et est repartie aux Etats-
Unis avec Brendan en fin d'annee 1993 sans prevenir ni donner d'explications a Gregoire
LAUTISSIER. Debut d'annee 1994, avant la naissance d 'Austin, June WALSH aurait annonce a
Gregoire LAUTISSIER sa volonte de ne plus se marier avec lui et de rester avec son epoux Mark
WALSH.

Gregoire LAUTISSIER precisait n'avoir eu pratiquement aucun contact avec ses enfants depuis
1993 et qu'une reprise de contacts s'etait operee en 2009. En septembre 2009, June WALSH etait
venue presenter le deuxieme fils de leur union Austin. Elle avait fait part, a ce moment la, de
difficultes financieres a Gregoire, qui aurait accepte de lui verser 1000 dollars par mois jusqu'en
juin 2010. L'annee suivante, enjuin 2010, June WALSH, accompagnee de leur fils aine Brendan,
est revenue en vacances en France. Gregoire LAUTISSIER indiquait avoir laisse a leur disposition
son appartement parisien situe 55 bd de Charonne a 75011 PARIS, lui-meme etant alle chez sa
propre mere durant cette periode. La duree de ces vacances a ete confirmee par l'ambassade des
Etats-Unis : Jes denommes LAUTISSIER Brendan et June WALSH sont arrives en France par la
compagnie Air France vol n°337 BOSTON/Charles de Gaule le 15 juin 2010 et ont quitte la France
le 25 aout 2010 par Air France vol n°332 Charles de Gaule/ BOSTON.

Le 20 aout 2010, alors qu'il avait constate que June HOPKINS SAIA avait pris a son domicile des
documents importants (dont son avis d'imposition, ses papiers relatifs a l'impot sur les grandes
Fortunes (ISF) et les actes de donation et de succession suite au deces de son pere en octobre 2008)
et qu'il en discutait vivement avec elle, il a declare que Brendan Jui avait tendu deux documents
qu'il lui avait demande de signer (des engagements d'hebergement). Gregoire LAUTISSIER
poursuivait son audition en indiquant avoir repondu a son fils qu'il les lirait d'abord et les lui
rendrait ensuite tout en continuant a se quereller avec June il avait alors senti un liquide s'ecouler



                                                                   Ahmad lih/-\uu


                                   EXT-LAUTISSIER-00007


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clans son dos et entendu le bruit d'un briquet a deux reprises. Se retoumant vers son fils, il disait
avoir vu celui-ci un briquet a la main essayant de l'allumer sur lui et comprenant que son fits
Brendan tentait de mettre feu a l'essence dont i1 l'avait asperge, il racontait lui avoir porte un coup
pour qu'il lache le briquet. II continuait son recit en expliquant que son frere Antoine
LAUTISSIER, revenu de la cuisine, les avait alors separes mais aussitot Brendan s'etait jete derriere
le canape ou se trouvait sa mere et s'etait saisi d'un petit sabre japonais. Brendan LAUTISSIER etait
immediatement ceinture et plaque au sol par son oncle Antoine LAUTISSIER qui le desarmait
selon le recit de la victime Gregoire LAUTISSIER. Sur ce, sur les conseils de son frere Antoine
Gregoire LAUTISSIER se recluait dans sa chambre apres avoir neanmoins ote son tee-shirt imbib6
d'essence et s'etre lave. Antoine LAUTISSIER demandait a June et a Brendan de faire leurs valises
pour quitter J'appartement, il les accompagnait a l'hotel IBIS de la Porte de Berey cote Charenton en
reglant quatre nuits d'avance.

Durant ces faits, la victime soulignait !'absence de reaction de la mere de Brendan qui etait restee
silencieuse « June s'est levee du canape sans rien dire » mais aussi le mutisme de Brendan qui
n'avait pas ouvert la bouche.

11 a egalement precise que June voulait que Brendan reste a Paris pour s'inscrire a l'Universite
Americaine de Paris (ce qui a ete verifie aupres du doyen de l'Universite Americaine de Paris) et
qu'il etait convenu que Brendan serait heberge au domicile de son pere.

Gregoire LAUTISSIER precisait que l'essence dont il avait ete asperge provenait d'une bouteille
d'un litre « special barbecue » dont il ignorait la provenance. 11 rapportait une bouteille de 1000 ml
en plastique portant une etiquette mentionnant « liquide d'allumage » de marque LANDMANN. II
ajoutait qu'il n'avait pas d'appareil a barbecue et que ni Brendan ni sa mere n'etaient fumeurs et que
le briquet qui avait ete utilise ne lui appartenait pas. 11 avait ete casse lors de sa chute et avait ete par
la suite jete ala poubelle. II ignorait egalement la provenance et la presence ason domicile du sabre
qu'il remettait aux enqueteurs. Ce couteau japonais, d'une longueur de 40 cm environ au total,
presente dans un fourreau noir, etait muni d'une lame de 27cm. La bouteille comme le sabre
japonais ont ete places sous scelles.

Les declarations de Gregoire LAUTISSIER ont ete corroborees par celles de son frere Antoine
LAUTISSIER. Ce demier dans son audition du 30 novembre 2010 (l'interesse travaillait a l'epoque
en Indonesie en qualite d'ingenieur) racontait que le jour des faits « on voulait discuter de l'avenir
universitaire de Brendan », « on a dejeune a la Nation et on a poursuivi la discussion chez mon
frere », « arrive a l'appartement, June m'a indique vouloir avoir une discussion avec Gregoire sans
que je sois la et je lui ai repondu que je restais». II a raconte comment la discussion s'etait
envenimee entre June et Gregoire, qu'il etait alle vider un cendrier a la cuisine et qu'a son retour, il
avait vu son frere debout devant Brendan avec le poing arme, qu'il les avait separes et qu'au
moment ou ii avait fait assoir son frere sur le canape « Brendan s'est precipite dcrriere l'autre
extremite du canape d'ou il a sorti un couteau japonais qu'il avait deja deguene ». « Voyant cela, je
l'ai ceinture par l'arriere et maintenu au sol et je lui ai retire le couteau des mains, pendant ce temps,
June n'a eu aucune reaction. Elle est restee silencieuse et assise». Ce faisant, elle n'avait pas cherche
a prevenir Gregoire. II a relate aussi avoir vu son fn~re le tee-shirt trempe et avoir senti une forte
odeur d'essence et a precise avoir retrouve un burin, dont son frere se servait pour faire des travaux
dans sa salle de bains, dans le salon alors qu'il n'avait rien a faire dans la piece. 11 a aussi rapporte
un echange avec June durant le trajet a l'hotel Ibis, June lui ayant demande si ils allaient intenter
une action en justice et ayant pretendu que le bidon d'essence avait ete utilise pour remplir le
briquet de Brendan, ce qui lui avait paru etrange puisque Brendan ne fumait pas.

Par ailleurs, les interrogatoires de la mere de la victime Odile CHAMBON, veuve LAUTISSIER et
de sa sreur Frederique LAUTISSIER epouse VARENN                 a,ccreditent la version des faits decrite
par la victime Gregoire LAUTISSIER.                            /



                                                                r)
                                                                      Ahmad GHAZLEH



                                     EXT-LAUTISSIER-00008


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Entin, _u~ temoin, cite par la victime, M Cyrille HESSE, a declare dans Ia deposition recueillie par
les pohc1ers le 11 novembre 2011, etre venu voir M Gregoire LAUTISSIER en fin de joumee le 20
aoftt 2010. 11 a decrit la victime commc « completement panique », avoir senti une forte odeur
d'essence, et avoir vu des taches sur le canape et sur le mur gauche dans la piece principale et a
confirme que la victime lui avait declare « avoir failli creve, avoir failli brule ». 11 avait aussi vu le
frere de la victime Antoine LAUTISSIER entrer dans l'appartement relatant avoir raccompagne a
!'hotel June et Brendan. II a egalement affirme que les deux fn~res lui avaient montre la bouteille
d'essence que le fils avait renversee sur son pere Gregoire et le sabre et qu'ils avaient decrit la scene
de la maniere suivante : apres que Gregoire ait donne un coup de poing a Brendan, celui-ci avait
cherche un sabre japonais et qu'Antoine etait intervenu.

Le retentissement psychologique sur la victime Gregoire LAUTISSIER, sans antecedent
psychiatrique, avait ete evalue a l'epoque soit le 6 septembre 2010 a 5 jours d'Incapacite Totale de
Travail par le service des Urgences Medico Judiciaires de !'Hotel Dieu. Depuis ces evenements, la
sreur de la victime a indique que son frere Gregoire LAUTISSIER etait tombe dans une grave
depression, necessitant un traitement medicamenteux permanent qui avait entraine une invalidite,
etat reconnu par !'administration publique. Elle a aussi precise que son frere Gregoire avait trouve
refuge chez elle et sa mere depuis cette tentative d'homicide a son encontre.

Demeurant introuvable et a la suite du signalement de la presence au printemps 2014 de Brendan
LAUTISSIER et de sa mere June HOPKINS SAIA a proximite du domicile de Gregoire
LAUTISSIER (qui avait emmenage a Chatou chez sa sreur Frederique V ARENNES), un mandat
d'arret etait delivre le 14 mai 2014 contre Brendan LAUTISSIER. La juge d'instruction lui a
d'ailleurs demande il n'avait pas utilise son nom de famille WALSH pour pouvoir echapper au
mandat d'arret international. Ce mandat d'arret a ete notifie a Brendan LAUTISSIER le 6 mars 2015
par le chef d'etablissement de la maison d'arret de Bois d'Arcy. Ce premier mandat d'arret europeen
a done ete execute.

Interroge par la juge d'instruction en charge du dossier a la suite de son arrestation le 18 fevrier
2015, Brendan LAUTISSIER a nie les faits de tentative d'homicide sur ascendant du 20 aout 2010.
I1 expliquait a lajuge d'instruction que l'origine de la dispute entre son pere et sa mere en aout 2010
etait le refus de son pere d'assumer sa patemite notamment au regard des depenses financieres. II
indiquait que sa mere avait quitte son pere car celui-ci etait violent. 11 confirmait qu'il envisageait
des etudes en France a ce moment la et qu'il comptait resider chez son pere. 11 ne voyait pas de
probleme a ce que sa mere fasse des photocopies de documents appartenant a son pere et disait que
ce demier avait donne son autorisation a la reproduction de documents lui appattenant. 11 expliquait
que les documents qu'il avait donnes a son pere a signer le jour des faits etaient en relation avec son
passeport fran9ais. Par ailleurs, il expliquait qu'il se pouvait qu'une bouteille de liquide inflammable
et un briquet se trouvassent dans l'appartement le 20 aoOt 2010 et qu'il les ait touches mais il niait
les faits qui lui etaient reproches. Il imputait les declarations et la plainte de son pere a son encontre
par son souhait de ne pas faire face a ses responsabilites patemelles. De meme il justifiait le
temoignage de son oncle par l'emprise de celui-ci sur son pere. Par ailleurs, ses explications sur la
presence du sabre ont varie. 11 affirmait dans un premier temps que le sabre etait factice et qu'il
s'agissait d'un jouet et niait l'avoir utilise le 20 aout 20 l 0. A la question « vous etes-vous empare
d'un sabre ? » II repondait : « Il y avait un sabre mais en fait c'est un jouet. J'aime bien frequenter
 les salons japonais. C'est factice, c'est un jouet. ». A la question « Votre pere a remis aux
enqueteurs un couteau japonais avec une lame de 28 cm et un fourreau noir tachete de rouge et qui
n'est pas du tout une replique. Qu'en est-il? » , il rispondait tout de suite apres « Ia lame est bien en
metal mais elle n'est pas aiguisee ». « Ce n'est done pas un objet en plastique issu d'une panoplie ? »
 « non, c'est bien un objet en metal . »



                                                                        Ahmad G\-IAZLEH




                                    EXT-LAUTISSIER-00009


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Entin, la juge d'instruction lui a presente ce jour la deux photos que sa mere avait publiees sur
Facebook la veille des faits du 20 aout 2010 : la premiere representant un tableau de Gerard
LAUTISSIER avec la mention « Gerard, !'ignoble, mentir » (le pere de Gregoire LAUTISSIER se
prenommait Gerard) et la deuxieme representant une chambre avec la mention « la chambre de se
venger ». 11 a d'abord repondu « pour moi r;a n'evoque rien mais je pense qu'une fois que mon pere
nous a jetes dehors ma mere est fachee avec mon pere ». La juge d'instruction lui a fait remarquer
que ces photos avaient ete publiees la veille de la dispute soit le 19 aout 2010.

La juge d'instruction ayant fait part de son etonnement de ne pas avoir reussi a l'arreter malgre un
mandat d'arret international delivre le 14 mai 2014, Brendan LAUTISSIER a egalement explique au
cours de cet interrogatoire du 26 mai 2015 qu'il avait voyage pour voir son frere en Angleterre et a
Amsterdam pour son anniversaire entre le 14 mai 2014 et la date de son arrestation le 19 fevrier
2015 en precisant qu'avant 2009, son identite etait Brendan WALSH.


Procedure aupres du juge aux affaires familiales :

Le 15 decembre 2011, le juge aux affaires familiales du TGI de Paris, saisi d'une demande,
introduite le 29 mars 2011 par June HOPKINS SAIA epouse WALSH, rendait un jugement fixant
la contribution de M. LAUTISSIER a hauteur de 230 euros par mois et par enfant.

L'enquete sur le deces de Mark WALSH. l'epoux de June HOPKINS SAIA

Le 6 decembre 2011, le juge d'instruction etait avise par le conseil de Gregoire LAUTISSIER du
deces de Mark WALSH epoux de Mme WALSH, qui communiquait des coupures de presse faisant
etat de la decouverte le 18 octobre 2011 de son corps sans vie au domicile familial. L'enquete avait
conclu a une mort accidentelle consecutive a un traumatisme cranien a la suite d'une chute d'une
echelle situee clans un garage.


Demande d'entraide du juge d'instruction fran£ais aux autorites americaines

Le 13 novembre 2012, le juge d'instruction formulait une demande d'entraide aux autorites
americaines afin qu'il soit procede a }'audition de Mme WALSH et de ses fils Brendan et Austin
mais aussi afin de recueillir toute information utile sur les circonstances du deces de Mark
WALSH.

Retour de cette demande le 13 novembre 2013 :

Un rapport de police en date du 18 octobre 2011 sur la decouverte du corps de M. WALSH faisait
appara1tre des suspicions sur les circonstances de sa mort. 11 avait ete decouvert allonge sur le dos
dans son garage presentant une blessure « significative » a la tete. Une plaie par balle n'etait pas
exclue compte tenu des eclats de crane sur le sol. Une echelle etait en partie appuyee contre une
table. De la mati ere cerebrale etait constatee sur un apparei I de type moteur situe sur un bane sous
l'echelle. 11 etait constate du sang coule sous le cote gauche ce qui ne paraissait pas coherent avec
l'emplacement du corps. Trois empreintes partielles de pieds etaient visibles dans le sang qui menait
vers la porte du garage.

L'enqueteur, en charge de !'audition de Brendan LAUTISSIER, notait un changement d'attitude du
jeune homme qui« commen9ait a begayer »eta s'exprimer avec une certaine nervosite lorsqu'il le
questionnait sur le deces de son beau-pere. Brendan LAUTISSIER avait refuse de se soumettre a un
test polygraphe (detecteur de mensonge).



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A la suite du deces de son mari, Mme WALSH a per9u 300 000 dollars issus de deux contrats
d'assurance-vie. Les investigations patrimoniales montraient que June et Mark WALSH avaient
pris une hypotheque sur leur maison un mois avant le deces de ce dernier. Un mois apres le deces
de son mari, Mme WALSH changeait de nom sur son compte Facebook en se designant sous le
nom de June HOPKINS SAIA.

Le FBI avait egalement mene des investigations sur la famille WALSH. Interroge, un voisin de Ia
famille WALSH, faisait part des rumeurs du voisinage qui trouvaient Mme WALSH et ses fils
« etranges ».

L'enqueteur du FBI estimait que lcs circonstances de la mort de Mark WALSH devaient etre
« davantage fouillees ». II transmettait a ce titre son rapport aux services de police locaux
initialement charges de l'enquete.

Les faits du 17 fevricr 2015 : Le 17 fevrier 2015, Gregoire LAUTISSIER et sa sceur Frederique
VARENNES etaient victim es d'une tentative d' assassinat.

Tentative d'assassinat sur Frederique LAUTISSIER, ep VARENNES
                      a
Le 17 fevrier 2015 19h15, alors qu'elle rentrait a son domicile au 10 allee Edmond Flamand a
Chatou (78), Frederique VARENNES subissait une violente agression. Ainsi, alors qu'elle se
trouvait sur le trottoir face au portail de son pavillon, elle recevait un violent coup a l'arriere du
crane, qui lui faisait perdre l'equilibre et se retrouver au sol, face a un individu casque avec le bas
du visage dissimule par un foulard qui tentait de l'etrangler. Une seconde personne intervenait pour
aider le premier agresseur et mettre fin a la resistance de Madame VARENNES (qui avait mordu la
main du premier agresseur). Cette derniere subissait une seconde tentative d'etranglement. Elle
apercevait derriere son premier agresseur une femme egalement grimee qui passait un lien a son
complice qui essayait de le lui passer autour du cou sans succes. Alertes par Jes eris de Madame
VARENNES, deux passants intervenaient et mettaient ainsi en fuite les deux agresseurs.

Tentative d'assassinat sur Gregoire LAUTISSIER
Gregoire LAUTISSIER, residant chez sa sceur Frederique VARENNES, sortait fortuitement du
pavillon au meme moment et avait constate que sa sreur gisait gemissante au sol. Elle lui avait alors
raconte avoir ete agressee par « les Americains ». Parti a leur recherche avec l'aide d'un voisin, il
apercevait son ex-compagne et leur fils. Le sachant responsable de l'agression de sa sceur, il lui
avait porte un coup de poing au visage. Une bagarre s'en etait suivie et i1 se trouvait alors lui-meme
pris a parti par les deux agresseurs devant la residence SequoYa. La femme essayait de lui crever !es
yeux en lui enfonyant ses doigts dans les deux yeux et le griffait pendant que l'homme essayait de
l'etrangler avec un lien. La-encore, !'intervention d'un temoin exterieur pour le liberer alors qu'il
s'etouffait, obligeaient les assaillants a prendre la fuite. 11 etait reste au sol « tres choque ». Les
agresseurs etaient vus repartir a pied en possession d'une grosse valise.

ldentite des assaillants
Gregoire LAUTISSIER declarait immediatement apres les faits aux enqueteurs avoir reuss1 a
enlever le bonnet de la femme et a degager l'echarpe qui lui dissimulait le visage et avoir reconnu
son ex-compagne June WALSH et avoir constate que l'autre agresseur n'etait autre que son fils
Brendan LAUTISSIER. Frederique VARENNES confinnait ces identites et disait avoir eu
immediatement des soupyons sur ses agresseurs quand elle les avait entendus s'exprimer en anglais.
Elle avait d'ailleurs dit a son frere, lorsqu'il etait sorti alerte parses eris et qu'elle etait a terre, avoir
ete agressee par « les americains ». Un descriptif etait recueilli par les enqueteurs en arrivant sur
place : un homme type caucasien, 35/40 ans, ma! rase, cheveux blonds, plutot bedonnant et
mesurant environ lm75, porteur d'un manteau ou d'une veste sombre et avec une valise a roulette
bleu ou grise. Pour la femme type caucasienne, cheveux blonds et porteuse d'une doudoune bleu
ciel. Les deux possedaient un fort accent anglo-saxon et ne s'exprimaient qu'en anglais. Un des

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te~oins de la scene. Patrice COISNON ayant sauve la premiere victime Frederique Varennes, avait
declare, lors de son audition le 19 fevrier 2015, qu'il avait pris l'agresseur C par !es epaules (C etait
agenouille en train de maintenir les jambes de la victime avec ses mains), l'avait projete en arriere,
celui-ci retombant sur les fesses et « c'est a ce moment la que j'ai apervu son visage et que j'ai
constate qu'il s'agissait d'une femme dont la capuche serree lui etirait le visage. C'etait une femme
plutot de petite taille, lm60 a 1m65, corpulence plutot ronde, porteuse de vetements sombres et
d'une doudoune. Je n'ai pas vu ses cheveux ». Concernant l'agresseur B, il declarait ne pas avoir vu
son visage car« sa tete etait couvert d'un vetement». Un autre temoin Bruno COUZIN, le cycliste
arrive le premier sur les lieux des faits, a declare que Jes deux agresseurs etaient casques Iors de la
premiere agression et qu'ils avaient ote leur casque lors de la seconde agression. II declarait que
l'agresseur A tentait d'immobiliser les jambes de C qui se debattait afin de se degager « J'ai constate
que A etait une femme de par son allure feminine et sa physionomie »«A, porteuse de son casque,
portait egalement un passe montagne qui lui couvrait le visage jusqu'au nez, seuls ses yeux etaient
visibles » ; puis « A et B se sont mis a discuter dans une langue que j'ai reconnu comme etant de
l'anglais ». Puis, plus tard racontant le deroulement de la scene, « A est venue vers moi je Jui ai
baisse son passe montagne et j'ai pu distinguer le visage d'une femme caucasienne ». Un autre
temoin, Jean-Baptiste ASSANI, a raconte arriver sur Jes lieux de la deuxieme tentative d'assassinat
celle perpetree sur la personne de Gregoire LAUTISSIER et avoir vu « un homme de lm70,
enrobe, age d'environ 40 ans, mal rase, porteur d'un bonnet style peruvien de couleur clair, qui se
degageait de l'emprise qu'il avait sur un homme, a savoir un homme, age de 50 ans environ, barbu,
tumefie, allonge au sol et gemissant ». « Puis j'ai vu unjeune homme, age de 25 ans environ (Brm10
COUZIN), qui maintenait une femme su sol, il etait allonge sur elle pour faire en sorte qu'elle ne
puisse pas se relever et partir >>. «Concernant la femme, ii s'agissait d'une femme, de lm60 environ,
corpulence moyenne, cheveux blonds mi-long, age d'environ 40 a 50 ans. Elle portait un anorak
bleu clair. »

Les constatations medico-legales faites par les sapeurs-pompiers et Jes effectifs du commissariat de
police de Saint-Germain-en-Laye intervenus sur le lieu des faits le 19 fevrier 2015, faisaient
ressortir pour Madame VARENNES la bouche en sang et des traces rougeatres sur le cou
compatibles avec les gestes d'agression decrits. Le certificat medical constatait un hematome
occipital de 2cm de diametre, un erytheme avec derrnabrasion lineaire du cou, un redeme de la levre
gauche, une abrasion de 1cm sur l'arete du nez, des ecchymoses sur la main gauche et une fissure
osseuse du pouce gauche. Mme V ARENNES etait en etat de choc et au bord des lam1es. M
Gregoire LAUTISSIER, hagard, avait de nombreuses ecchymoses au visage et notamment au
niveau des deux orbites oculaires ainsi que des dermabrasions lineaires multiples compatibles avec
des griffures. Le certificat medical relevait aussi des abrasions lineaires et des erythemes du cou
ainsi qu'un hematome au dos de la main gauche. Les deux victimes etaient transportes a l'hopital de
Poissy (78) et se voyaient delivrer une interruption temporaire de travail de trois (3) jours.

Les constatations materielles et les conclusions genetiques

Sur le lieu de la premiere agression, a savoir celle perpetree sur la personne de Frederique
V ARENNES, un bout de gants en latex de couleur noire a ete decouvert sur le trottoir devant le
domicile des victimes (CONSTAT HUIT).
Sur le lieu de la seconde agression, c'est-a-dire dans la residence Sequoia a Chatou, etaient trouves
eparpilles un cable electrique blanc agremente de deux nceuds d'une longueur de 136 cm
(CONSTAT UN), une touffe de cheveux arrachee a Gregoire LAUTISSIER (CONSTAT DEUX),
un tour de cou en laine (CONSTAT CINQ), un morceau de tissu (CONSTAT QUATRE). Un
prelevement par ecouvillon effectue sur les traces rougeatres sur la bande de tissu constituait le
CONSTAT TROIS.                                           .
Une paire de gants de couleur noire et bleue a ete clecouverte dans un sac en tissu de marque
Monoprix (FOUILLE WJ NEUF).


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 Tous ces elements etaient tous places sous scelles et analyses.
 Il resultait ainsi du rapport d'expertise genetique que :

 - L'ADN de Brendan LAUTISSIER etait caracterise a partir des echantillons suivants:
 • l'ecouvillon 2 passe sur le cable electrique sous scelle CONSTAT UN;
 • l'ecouvillon passe sur la trace de sang decelee sur le tour de cou sous scelle CONSTAT CINQ;
 • l'ecouvillon passe sur l'extremite des doigts des gants sous scelle FOUILLE WJ NEUF;

 - L'ADN de Gregoire LAUTISSIER etait caracterise a partir:
 • des 4 bulbes de cheveux extraits de la touffe de cheveux sous scelle CONST AT DEUX;
 • de l'ecouvillon passe sur la trace de sang reperee sur la bande de tissu sous scelle CONST AT
 QUATRE

 -L'ADN de June HOPKINS SAIA etait caracterise a partir de l'ecouvillon passe a l'interieur du bout
 de gant sous scelle CONSTAT HUIT.

 -L'analyse de l'ecouvillon passe sur la surface exterieure du bout de gant sous scelle CONSTAT
 HUIT permettait de mettre en evidence un melange complexe compose de l' AON de Frederique
 V ARENNES et de l'AON de June HOPKINS SAIA en presence de traces non caracterisables
 d'autres AON.

 - Les caracteristiques genetiques de melanges complexes d'au moins trois AON, compatibles avec
 la presence de l'ADN de Frederique VARENNES, etaient mises en evidence a partir des
 ecouvillons l et 3 passes sur le cable electrique sous scelle CONST AT UN. Au regard de la
 complexite de ces melanges, aucune autre interpretation n'etait possible.

 -Aucun ADN nucleaire exploitable n'a pu etre caracterise sur l'ecouvillon sous scelle CONST AT
 TROIS.

 Ces conclusions demontraient la presence sur les lieux de June HOPKINS SAIA et de
 Brendan LAUTISSIER et de leurs intentions criminelles.


 Les auditions des temoins :

 Plusieurs temoins etaient auditionnes.

 Marc RASCOUSSIER expliquait qu'en stationnant son vehicule          vers 19h dans le parking
 exterieur de la residence « Sequoia », il avait aperc;u des personnes dont les visages etaient
 camoufles penetrer dans un double garage de l'immeuble. Pensant qu'il s·agissait de jeunes qui
 s'amusaient, il n'avait pas prete plus attention a eux.

 Patrice COISNON circulait en deux-roues allee Edmond Flamand lorsque son attention etait
 attiree par un cri de detresse. En s'approchant, il constatait qu'une femme se trouvait au sol
 agressee par deux individus. Un autre temoin, lui avait demande de l'aide pour faire lacher prise
 aux agresseurs tandis que la victime criait qu'ils etaient en train de la tuer.

 11 avait pu, en effet, constater que l'un des deux individus etait agenouillee en train de lui maintenir
 Jes jambes avec ses mains tandis que le second individu se tenait au-dessus d'elle, du cote de sa
 tete, les genoux appuyes sur ses epaules et ses mains appuyees sur son cou.
 A ce moment-la, il avait projete en arriere l'individu qui lui maintenait les jambes realisant alors
 qu'il s'agissait d'une femme portant une capuche serree. Elle etait tombee sur les fesses et avait
 sorti de sa poche « une corde avec un namd coulant » qu'e e avait tendu a son complice dont le


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visage etait masque par un vetement. Ce demier s'etait empare de la corde en echangeant avec ellc
dans une langue etrangere. Ils avaient ensuite pris la fuite en prenant le temps de recuperer une
valise. I1 etait parti a leur recherche dans la direction de la residence « Sequoia » et avait decouvert
sur le trajet qu'un homme avait aussi ete agresse par ces personnes.

Bruno COUZIN arrivait en velo lorsqu'il apercevait une femme par terre en train de se faire
agresser par deux individus porteurs de casque de moto.

Une femme dont le visage etait dissimule par un passe-montagne immobilisait la victime en Jui
tenant les pieds tandis que le second agresseur qui se trouvait au niveau de sa tete « ecrasail » son
cou avec l'un de ses genoux.

La victime appelant a l'aide, il avait interpelle les individus en leur demandant de la lacher. Les
deux agresseurs avaient alors commence a discuter entre eux en anglais. Voyant qu'ils ne lui
repondaient pas, ii avait tente en vain de degager l'individu qui appuyait sur le cou de la victime. 11
les avait alors menaces de faire appel a la police mais la dame lui avait retorque en anglais qu'il
pouvait le faire et que ,;a ne la derangeait pas. Il avait alors baisse son passe-montagne lui
pennettant ainsi de distinguer son visage.

Impuissant, ii avait crie a l'aide et c'etait ace moment-la que M. COISNON etait arrive et avait fait
appel a la police.

Il avait de nouveau bouscule l'individu qui se tenait au cou de la victime, le destabilisant
suffisamment pour permettre a celle-ci de se degager de son agresseur qui s'etait releve en tenant
entre les mains « un cable clair double de 30 cm environ». II s'etait ensuite dirige pour recuperer
une valise posee a proximite, rejoint par sa complice qui s'etait interposee pour l'empecher de
porter secours a la victime.

Gregoire LAUTISSIER etait alors sorti de chez lui, il lui avait demande de s'occuper de la victime
tandis qu'il reprenait son velo pour aider M. COISNON a poursuivre les mis en cause en fuite. Ce
demier lui indiquait en revenant sur ses pas, qu'ils s'etaient refugies dans la residence« Sequoia».
Il avait alors laisse son velo pour se diriger a son tour vers la seule sortie de la residence. II avait
alors entendu des rales dans l'allee et vu que l'individu de sexe masculin qui avait agresse Mme
VARENNES saignait du nez et qu'il ne portait plus de casque. II se tenait a califourchon au-dessus
de Gregoire LAUTISSIER et etait en train de l'etrangler avec un cable tandis que sa complice qui
n'etait egalement plus casquee « cherchait a gener » M. LAUTISSIER qui suffoquait et dont un
filet de sang s'echappait de la bouche.

M. COUZIN avait cherche a ecarter l'individu en vain en martelant avec son poing ses bras et son
visage mais ce demier refusait de Hieber prise et continuait d'etrangler M. LAUTISSIER.

Il avait alors repousse sa complice en la projetant au sol puis ii etait revenu a la charge sur
l'agresseur en lui portant des coups de genou dans Jes cotes. Ce dernier finissait enfin par lacher
prise au moment ou plusieurs personnes arrivaient. Il s'etait ensuite relevee pour recuperer une
valise tandis que sa complice ne cessait de« l'oppresser ». Il avait fini par la maintenir au sol en
attendant l'arrivee des forces de l'ordre mais voyant que son complice revenait vers eux et que Jes
temoins presents pensaient qu'il agressait une femme. Il l'avait laisse s'echapper. Elle avait ensuite
pris la fuite avec son comparse tandis qu'il rnettait M. LAUTISSIER a l'abri.

 M. COUZIN indiquait qu'il etait blesse a la main droite et aux deux genoux et qu'il avait ete surpris
 de constater que les agresseurs n'avaient plus les casques de moto sur eux.



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Jean-Baptiste ASSANI avait ete alerte par des eris au secours alors qu'il se trouvait chez un de ses
amis rue des Landes a Chatou. II etait al ors sorti du pavillon et en s' engageant sur le chemin
d'acces de la residence« Sequoia» i1 avait vu un homme enrobe se degager de l'emprise qu'il avait
sur un autre individu, age d'une cinquantaine d'annees, qui se trouvait allonge au sol, le visage
tumefie et gemissant. Le premier individu avait ramasse des affaires au sol et recupere une grosse
valise noire.

Au meme moment, un jeune homme maintenait une femme au sol et l'interpellait en Iui demandant
d'appeler la police et de retenir l'homme a la valise parce qu'une femme avait ete precedemment
agressee.
Il avait alors demande a l'homme enrobe ce qui s'etait passe mais ce demier Jui avait repondu dans
une langue etrangere. La femme maintenue au sol avait reussi a se degager et s'etait precipite vers
l'homme a la valise et ils avaient quitte les lieux ensemble.

Patrick ROUSSIES etait egalement alerte par la voix d'un homme appelant « au secours, aidez-
moi !». II sortait immediatement de son domicile, ii apercevait un homme immobile au visage
tumefie ainsi qu'un jeune homme maintenant au sol une femme blonde d'une quarantaine d'annees
qui parvenait a se degager et a rejoindre un homme d'environ 30 ans qui tirait une grosse valise a
roulettes. II les avait brievement suivis avec un voisin alors qu'ils quittaient les lieux en marchant
d'un pas rapide.

Frederique VARENNES indiquait aux enqueteurs que son frere etait regulierement menace par son
ex-compagne et son propre fils. D'ailleurs, elle ajoutait qu'au printemps 2014, son mari avait surpris
la presence de ces deux personnes dans la rue de son domicile circulant au volant d'une vehicule
Peugeot Cl immatricule CZ 258 BNOl. Un mandat d'arret international avait alors ete emis le 14
mai 2014 par le juge d'instruction, charge de !'instruction sur Ia tentative d'homicide sur ascendant
dont avait ete victime Gregoire LAUTISSIER de la part de son fils Brendan le 20 aout 2010.

Le conseil de Gregoire LAUTISSIER avait a l'epoque (courrier en date du 12 mai 2014) informe le
juge d'instruction des manreuvres d'intimation dont son client faisait l'objet. Sept affiches, lettres et
autre attestation de suicide avaient ete placardees plusieurs nuits de suite sur la porte de son
domicile parisien situe dans le 11 eme arrondissement, dont ii avait laisse la jouissance a son filleul.
Le caractere malveillant des documents remis etaient manifestes. 11 etait notamment inscrit sur
l'une de ses affiches « Gregoire va aux Etats-Unis mars 30-31, 2014 essayer de tuer la mere de
ses fils encore! », celles-ci semblaient dans leur ensemble accuser Gregoire LAUTISSIER et ses
complices de vouloir attenter a la vie de la mere de ses fils, il etait a de multiples reprises qualifie
de « monstre », « coupable », promis a la « prison » et « l 'enfer ». Sur une autre affiche on pouvait
lire « sauter du balcon » ou un autre document etait intitule « Lettre de suicide » qui commern;ait
par « Moi, Gregoire LAUTISSIER, etant sain d'esprit, souhaite etre tenu responsable de mes
nombreuses atrocites ».

L'inscription de Brendan LAUTISSIER et sa mere June HOPKINS SAIA au Fichier des
Personnes Recherchees a permis leur interpellation alors qu'ils tentaient de quitter la France
le 18 fevrier 2015 pour se rendre au Royaume-Uni par la Police de l'Air et des Frontieres de
Coquelles (62).

Entendus, June HOPKINS SAIA et son fils Brendan LAUTISSIER ont conteste les faits et ont
essaye de renverser les roles.

L'audition de Brendan LAUTISSIER

Il racontait qu'a la suite du deces de son beau-pere survenu en 2011 « a cause du diabete », sa mere
avait fait le choix de venir s'installer, courant 2012, en France ou les fr is de scolarite etaient moins


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 eleves qu'aux Etats-Unis. Ils avaient dans un premier temps vecu dans des hotels avant d'occuper
 l'appartement dans lequel ils residaient toujours. II avait profite de sa presence en France pour
 obtenir une CNI et un passeport franc;ais.

A son installation, sa «priorite » etait de decouvrir la n~alite sur son pere et les menaces pesant sur
sa famille. Pour ce faire, ii avait, en fevrier 2013, depose devant la porte de son appartement un
petit lecteur MP3 dote d'un micro camoufle ans un mouchoir papier.

II affirmait comme sa mere disposer d'une douzaine enregistrements audio sur son
ordinateur demontrant que son pere projetait de se rendre aux Etats-Unis pour «cusser le cou
asa mere» et « la jeter d'u11 immeuble » en faisant croire a un accident. II reconnaissait que ne
comprenant pas tres bien le fran~ais c'etait sa mere qui lui avait traduit les conversations
enregistrees.

Il l'avait ainsi accompagnee a Chatou (78) pour avoir une discussion avec Mme VARENNES et lui
demander de mettre un terme a ses menaces, mais cette demiere avait violemment reagi en
apprenant qu'ils etaient en possession de preuves compromettantes et elle avait porte un coup de
poing au menton de sa mere qui avait riposte en la repoussant. Sa tante etait tombee en arriere en se
cognant la tete, il s'etait aJors agenouille pres d'elle pour l'aider mais voyant que celle-ci tentait de
se relever pour se battre ii l'avait maintenue au sol pour proteger sa mere.

 Un voisin etait aJors intervenu J'incitant a Hicher prise. II avait tente de quitter Jes lieux avec sa
 mere pour eviter que la situation ne s'envenime, mais son pere les avait pourchasses et l'avait
 frappe d'un coup de poing au visage avant de Jui assener plusieurs autres coups. Sa mere s'etait
 interposee en l'attaquant au niveau des yeux et il avait fini par tomber en arriere. Plusieurs voisins
 et amis de son pere Jes avaient rejoints pour en decoudre aussi, n' etant pas venu pour se battre il
 avait pris la fuite avec sa mere.

 11 ignorait la provenance du cable electrique decouvert sur le lieu des faits ainsi que celle du bout de
 gant de latex dechire. Le cache-col saisi etait en revanche bien le sien.

 II contestait toute tentative d'etranglement sur son pere ou sur sa tante.

 L'audition de June HOPKINS SAIA
 La mere de Monsieur Brendan LAUTISSIER, June HOPKINS SAIA a reconnu qu'elle s'etait
 rendue avec son fils le 17 fevrier 2015 devant le domicile de Mme VARENNES pour l'attendre de
 retour de son travail pour s'entretenir avec elle. Elle expliquait qu'elle entendait lui demander
 d'arreter de la menacer elle et ses fits. Elle voulait l'avertir qu'elle detenait des preuves du projet
 qu'elle (Mme VARENNES) avait orchestre avec son frere Gregoire et d'autres membres de Jeur
 famille pour Jes eliminer. June HOPKINS SAIA a reconnu disposer d'enregistrements sonores sur
 son ordinateur provenant de dispositifs d'ecoute qu'elle avait places sur le palier de l'appartement de
 son ex-compagnon, Gregoire LAUTISSIER et a precise etre revenue une quinzaine de fois pour
 assurer la maintenance et le remplacement de ces dispositifs d'ecoute. Elle admettait avoir ete
 enervee face a !'attitude de Frederique VARENNES qui avait refuse de Jui parter, l'avoir poussee la
 faisant chuter. Elle recommissait neanmoins qu'elle portait bien un casque de moto mais expliquait
 que c'etait pour se proteger de Frederique V ARENNES qui planifiait de la tuer pour « faire plaisir
 a son.frere ». Elle admettait cependant que celle-ci ne s'etait jusqu'alors jamais montree violente a
 son egard I' accusant neanmoins d'etre une sociopathe comme le reste de sa famille. Elle
 reconnaissait porter des gants tout comme son fils. Elle ajoutait qu'elle n'avait jamais maintenu Jes
 jambes de Mme VARENNES alors qu'elle se trouvait au sol et n'avait remis aucun lien a Brendan.
 La presence de l' ADN de son fils sur le cable saisi par les enqueteurs etait fortuit.
 Avant d'admettre avoir pousse Frederique VARENNES, June HOPKINS SAIA avait explique lors
 de ses premieres declarations en garde a vue, que Mme VA            NES s'etant retoumee brusquement


                                          NE VARIETUR                  Ahmad GHA71 Fl-I



                                    EXT-LAUTISSIER-00016


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etait tombee toute seule par terre, que son fils avait voulu Jui toucher le visage pour la rassurer.
Apeuree et paniquee, Mme VARENNES avait porte un coup de pied au niveau du menton de Mme
WALSH et avait mordu la main de son fils. Puis un homme s'etait approche d'eux en demandant ce
qui se passait. La mere de Brendan LAUTISSIER avait repondu que Mme VARENNES avait fait
un malaise. L'homme leur avait demande de s'ecarter et avait <lit qu'il allait appeler la police.

Autres elements : Ecoutes, enregistrements audiovisuels et reperages, exploitations telephonigues

Lors de la fouille du sac a main de Mme HOPKINS SAIA avait ete decouvert un post-it avec des
mentions manuscrites s'apparentant a des immatriculations et modeles de vehicule. Apres
recherches, il apparaissait que les 4 references rapportees correspondaient a deux vehicules au nom
de l'epoux de Mme VARENNES, un vehicule au nom de Gregoire LAUTISSIER et le dernier au
nom de son pere Gerard LAUTISSIER .

                        a                                                            a
Au cours de sa garde vue, Mme HOPKINS SAIA avait indique avoir place plusieurs reprises
des dispositifs de captation audiovisuelle et sonores dans une grille d'aeration a cote de la porte
d'entree de l'appartement de Gregoire LAUTISSIER. Sur place, M. POTIN, le gardien de
l'immeuble remettait aux enqueteurs trois appareils de ce type decouverts dans le conduit d'aeration
situe sur le palier dudit appartement. Le gardien precisait avoir vu a cet etage a de nombreuses
reprises une femme blonde accompagnee d'un jeune homme aux cheveux longs et les avoir surpris
en train d'installer leurs dispositifs sur une grille d'aeration. 11 s'etait contente a chaque fois de les
mettre dehors sans prevenir M. LAUTISSIER ni les services de police.

Le service regional de l'informatique et des traces technologiques de Ja DRPJ remettait un rapport
sur !'analyse des telephones de Mme HOPKINS SAIA et de son fils Brendan. II etablissait
notamment que le telephone de ce dernier comportait un sous dossier «VIDEOS» dont le contenu
s'apparentait a des reperages du domicile de Mme V ARENNES et de son vehicule ainsi que des
enregistrements audiovisuels de l'environnement du domicile parisien de Gregoire LAUTISSIER.

Une perquisition etait realisee dans l'appartement parisien occupe par Mme HOPKINS SAIA et
Brendan LAUTISSIER.

II y etait notamment decouvert un feuillet supportant des mentions manuscrites « Greg, vous etes
un meurtrier ! Maintenant vous essayer de tuer de nouveau ( .. .) », ainsi qu'un autre feuillet sur
lequel figurait les actresses de Mme V ARENNES et de Gregoire LAUTISSIER.

Dans le placard de la chambre de Brendan, il etait trouve deux combinaisons noire et une pe1ruque
d'homme et un pistolet a biJles. Sous le lit de Mme HOPKINS SAIA, i1 etait decouvert une housse
noire contenant une grande pelle de jardin.

La perquisition se poursuivait dans la cave dans laquelle etait saisie une valise contenant du
materiel de type militaire (veste de l'armee et filet de camouflage), divers outils (une scie, une
hache, une machette, des lunettes de protection, des gants, un rouleau de cordelette et du materiel
de captation video et audio similaire a celui remis par M. POTJN, le gardien de l'immeuble de
Frederique VARENNES a Chatou).

                                                   ***
Les temoignages concordants de Marc RASCOUSSIER, Patrice COISNON, Bruno COUZIN, Jean-
Baptiste ASSANI, Patrick ROUSSIES corroboraient les declarations de Mme Frederique
VARENNES et de Gregoire LAUTISSIER sur les faits et les deux tentatives d'assassinat commises
par June HOPKINS SAIA et Brendan LAUTISSIER. Ces temoignages circonstancies attestent des
                                                                          a
gestes d'etranglement sans equivoque sur les ictimes, notarnment l'aide « d'une corde », etant




                                    EXT-LAUTISSIER-00017


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rappele qu'un cable electrique a ete retrouve sur le lieu des fa.its apres la fuite des agresseurs,
supportant non seulement l'ADN de Mme VARENNES, mais egalement celui de Monsieur
Brendan LAUTISSIER. Ces temoignages ainsi que Jes discordances entre les versions sur Jes faits
de Brendan LAUTISSIER et de June HOPKINS SAIA montrent que Jes deux suspects ont menti
sur un certain nombre de points au cours de leurs differentes auditions (Mme June HOPKINS-
SAIA a d'ailleurs reconnu avoir menti lors d'une deuxieme audition). Les constatations medico-
legales et Jes resultats de !'expertise genetique concordent et correspondent a la description precise
des faits tels que retenus dans la procedure. Tous ces elements attestent de la presence de
Monsieur Brendan LAUTISSIER sur le lieu des faits et corroborent les gestes criminels
decrits par les victimes et par Jes temoins de la scene.

L'enquete policiere ainsi que celle menee par la juge d'instruction ont permis de demontrer
que Brendan LAUTISSIER avait tente de tuer son pere Gregoire LAUTISSIER le 20 aofit
2010 (tentative d'homicide sur ascendant) et que Mme June HOPKINS SAIA et son fils
Brendan LAUTISSIER ont volontairement et de fa~on premeditee tente de porter atteinte a
la vie de Mme Frederique VARENNES et de Mr Gregoire LAUTISSIER (tentatives
d'assassinat) le 19 fevrier 2015.


               III - Les qualifications :

                Les faits ci-dessus exposes, ceux du 20 aout 20 IO et du 17 fevrier 2015 constituent
les infractions suivantes : preciser les qualifications et indiquer les textes

                  1
   •                                              LAUTISSIER GREGOIRE) LE 20 AOUT 2010
       TENTATIVE D HOMJCIDE SUR UN ASCENDANT (SON PERE
                      1
   •                                  LAUTISSIER GREGOIRE ET DE SA TANTE LAUTISSIER
       TENTATIVE D ASSASS1NAT DE SON PERE
       FREDERIQUE, EPOUSE VARENNES LE 17 FEVRIER 2015


               Faits prevus et reprimes par les articles 121-4, 121-5,132-71-1,221-3 al 1, 221-1,
221-4, 221-8, 221-9, 221-9-1 et 221-11 du Code penal.

               Le mandat d'arret delivre par unjuge d'instruction est prevu par les articles 122, 123
et 131 du code de procedure penale.

               IV - La procedure :

Une information judiciaire a ete ouverte par le parquet de Paris du chef de tentative d'homicide sur
un ascenda,nt le 24 juin 2011.

Le 13 novembre 2012, le juge d'instruction formulait une demande d'entraide aux autorites
an1ericaines afin qu'il soit procede a l'audition de Mme WALSH et de ses fils Brendan et Austin
mais aussi afin de recueillir toute information utile sur les circonstances du deces de Mark
WALSH.

Le 12 mai 2014, le conseil de Gregoire LAUTISSIER informait le juge d'instruction des
manreuvres d'intimidation dont son client faisait l'objet. Sept affiches, lettres et autre attestation de
suicide avaient ete placardees plusieurs nuits de suite sur la porte de son domicile parisien au 55, bd
Beaumarchais a Paris 11 dont il avait laisse la jouissance a son filleul. D' autre part, le mari de sa
sreur avait surpris a la meme periode Mme WALSH et son fils Brendan circulant dans la rue de son
domicile a Chatou au volant d'un vehicule Peugeot Cl immatricule CZ 258 BNOI.

                                                                                        a l'encontre
Brendan LAUTISSIER.                      1()      l
Le 14 mai 2014, le juge d'instruction dece~.;~ un mandat d'arret international                         de


                          NE VARIETUR                 AnllldU unl-\l.Lt.ti




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Le 20 fevrier 2015, le parquet de Versailles ouvrait une infonnation judiciaire a l 'encontre de June
HOPKINS SAIA et de Brendan LAUTISSIER du chef de tentative d'assassinat au prejudice de
Gregoire LAUTISSIER et de sa sreur Frederique LAUTISSIER epouse VARENNES.

Les faits de fevrier 2015 sont a rapprocher des premiers faits de tentative d'homicide sur ascendant
en date du 20 aofit 2010 et ont ainsi ete joints a la procedure initiate de 201 O. Par ordonnance du 5
juin 2015, le juge d'instruction de Versailles se dessaisissait du dossier au profit du juge
d'instruction de Paris, en charge de l'instruction du dossier d'information ouvert en 2010 suite a la
premiere tentative d'homicide sur ascendant dont Gregoire LAUT1SSTER avait ete victime.

Interpelles le 20 fevrier 2015, Brendan LAUTISSIER et June HOPKINS SAIA ont ete places en
detention provisoire jusqu'au 19 fevrier 2018, date a laquelle ils ont ete liberes et places sous
controle judiciaire. Ne repondant plus aux convocations, le juge d'instruction a emis un
mandat d'arret a leur encontre le 3 aout 2018. Le Procureur de la Republique de PARIS a emis
et diffuse un mandat d'arret europeen le 21 decembre 2018. Cette infonnation judiciaire est
aujourd'hui suivie par le juge d'instruction Dimitri DUREUX,Tribunal de Grande Instance de Paris.

Localises aux Etats-Unis, les autorites judiciaires franc;aises ont fait parvenir aux autorites
judiciaires americaines une demande d'arrestation provisoire pour Brendan LAUTISSIER le
23 avril 2019 et pour June HOPKINS SAIA le 25 juin 2019. A la suite, Jes deux interesses ont
ete arretes sur le territoire des Etats-Unis le 9 decembre 2019.

II faut egalement preciser que durant son incarceration June HOPKINS SAIA a tente de s'evader de
la maison d'arret des femmes de Versailles dans la nuit du 12 au 13 juillet 2016 en otant Jes
barreaux des wc de sa cellule avec des bouteilles d'eau congelees. June HOPKINS SAIA a encore
des sequelles dues a de multiples fractures du bassin et du sacrum.

Mme June HOPKINS a indique avoir fait un recours devant la CEDH pour elle-meme et son fils
Brendan LAUTISSIER. Apres recherche, aucun dossier n'est enregistre a ce nom dans nos
archives. II en est de meme sur le site HUDOC de la Cour europeenne, qui repe1torie !'ensemble
des affaires pendantes ou tenninees devant la Cour.


               V -Prescription

En application de l'article 7 du code de procedure penale, l'action publique pour les faits de
tentative d'homicide sur ascendants et tentatives d'assassinat se prescrit par 20 ans a compter du
jour OU l'infraction a ete commise depuis la loi du 27 fevrier 2017. Auparavant, avant l'entree en
vigueur de cette loi, l'ancien article 7 prevoyait un delai de prescription de dix ans a compter du
jour ou le crime avait ete commis. Si au moment de l'entree en vigueur de la Joi du 27 fevrier 2017,
soit le ler mars 2017, la prescription n'etait pas acquise pour les faits denonces, Jes nouveaux delais
de prescription s'appliquent de droit. (art 4 de la Joi n°2017-242 du 27 fevrier 2017).

Par ailleurs, le delai de prescription est interrompu par les actes d 1enquete et de poursuite (article 9-
2 du Code de procedure penale).

A la date du IO janvier 2020, I'action publique n'est pas prescrite pour les faits reproches a Brendan
LAUTISSIER exposes dans cette demande d'extradition tant pour Jes faits du 20 aout 2010 que
ceux du I 7 fevrier 2015. De plus, de nombreux actes comme l'emission d'un mandat d'arret sont
venus interrompre le delai de prescription de l'action publique. L'enquete se deroule de maniere
continue depuis le 24 juin 2011 sous la direction de pJusieurs juges d'instruction. Les faits ne
soot pas prescrits.

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                                      NE VARIETUR



                                    EXT-LAUTISSIER-00019


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La presente demande d'extradition est, en droit fran<;:ais, un acte de recherche du ministere public,
acte interruptif de prescription.

                                                  ***
La demande d'extradition de Brendan LAUTISSIER est sollicitee sur le fondement du traite
bilateral franco-americain du 23 avril 1996 et de !'accord entre l'Union Europeenne et les
Etats-Unis d'Amerique du 25 juin 2003.

Je vous prie de bien vouloir trouver sous ce pli la copie du mandat d'arret du juge d'instruction en
date du 14 mai 2014, uniquement pour information celui-ci ayant ete execute en 2015, celle du
mandat d'arret dujuge d'instruction en date du 3 aoftt 2018, la copie du mandat d'arret europeen en
date du 21 decembre 2018, la copie de la demande d'arrestation provisoire du 23 avril 2019, la
copie des textes de repression relatifs aux faits reproches, la copie des traites d'extradition ainsi que
la copie des differentes pieces d'identite de Brendan LAUTISSIER.



A PARIS, le 13 janvier 2020


                                   p/LE PROCUREUR DE LA REPU
                                   Jean-Marc COQUENTIN
                                   Procureur de la Republique Adjoi a::




liste des pieces jointes :
     • copie conforme du mandat d'arret du juge d'instruction en date du 14 mai 2014
        (mandat d'arret execute)
     • copie conforme du mandat d'arret du juge d'instruction en date du 3 aout 2018,
     • copie conforme du mandat d'arret europeen en date du 21 decembre 2018,
     • copie conforme de la demande d'arrestation provisoire du 23 avril 2019,
     • copie des textes de repression relatifs aux faits reproches,
     • copie des traites d'extradition,
     • copie du passeport americain de Brendan Christopher Walsh LAUTISSIER,
     • copie de la CNI fran~aise de Brendan Christopher LAUTISSIER,
     • copie du passeport fran~ais de Brendan Christopher LAUTISSIER.




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     DU
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     TANCE
D    PARIS

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          Demande d'extradition aux autorites
         judiciaires des Etats-Unis d' Amerique
                                Traduction




                               EXT-LAUTISSIER-00021


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Cour d' Appel de Paris                                    District Court of Paris
Tribunal Judiciaire de Paris                              Judicial Tribunal of Paris
                                        From
Le Procureur de la Republique                             The Chief Prosecutor
                                        To
        All Relevant Judicial Authorities of the UNITED STATES of AMERICA

                             EXTRADITION REQUEST
OBJECT: Request for extradition against Brendan LAUTISSIER

REFERENCE: 13EXT18


      I am honored to formally address to the American Authorities, in support of the annexed
documents, the extradition of Brendan LAUTISSIER, whose preventive arrest took place on
December 9, 2019 in North Carolina, The U.S.A.
   I.      Identity of the person:
           Name: Brendan LAUTISSIER aka Brendan WALSH
           American Passport: LAUTISSIER Brendan Christopher Walsh no 465128608,
           delivered 02.05.2010 expires on 02.04.2020
           SSN: no XXX-XX-XXXX, delivered in 1992,
           French I.D. number 130175S000234 delivered on 01.03.2013, expires 01.02.2023
           French passport: 12AZ61028 delivered 01.02.2013, expires 01.24.2021
           D.O.B. January 7, 1992 in Woodland Hills in California, U.S.A.
           His father: Gregoire LAUTISSIER, his mother: June HOPKINS SAIA (married
           name WALSH)
           Gender: Male
           Nationality: American and French
           Address in France:
           60 rue Guy Moquet
           75017 PARIS

           Last known address (November 2018)
              3818 PEMBROKE ROAD
              WINSTON SALEM NORTH CAROLINA 27106

              Former address
              2764 PLEASANT ROAD, SUITE or APPARTMENT 10556
              FORT MILLA SOUTH CAROLINA 29708

              Other address
              71 HILLCREST DRIVE LACONIA- NEW HAMPSHIRE-UNITED SATES
              OF AMERICA



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                                   EXT-LAUTISSIER-00022


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II- The Charges:
                  Date of the perpetrated acts: August 20, 2010 and February 17, 2015.
                  Place of the perpetrated acts: Acts of August 20, 2010 in Paris 11th District (7 5),
                  Acts of February 17, 2015 in Chatou (78 Yvelines)
                  Degree of participation: Perpetrator of the attempted homicide on an ascendant
                  (on his father Gregoire LAUTISSIER) in August 20, 2010 and perpetrator of the
                  attempted murder of which is victim his father Gregoire LAUTISSIER and his
                  aunt Frederique VARENNES nee LAUTISSIER in February 17, 2015.
Statement of facts:
The events of August 20, 2010:
August 23, 2010 Gregoire LAUTISSIER filed a police blotter report, he then filed a complaint
August 27, 2010 at the police station of the 11th district of Paris.
In his complaint, he explained that he had a love relationship, twenty years ago, with Mrs. June
WALSH (Named later on as June HOPKINS SAIA), American citizen married to Mark
WALSH. From their union, two sons were born, Brendan WALSH-LAUTISSIER born January
7, 1992 in California and Austin WALSH-LAUTISSIER, born March 05, 1994 in California.
Gregoire LAUTISSIER recognized both his children, even before their birth during pregnancy.
According to his declarations, June WALSH, left to the U.S.A. as she was six-month pregnant
of Brendan, in 1991, she announced while leaving France her will to get divorced from her
husband Mark WALSH and to get back to live with Gregoire LAUTISSIER afterwards. She
then dropped her decision of separation and decided to stay with her husband, then gave the
family name of her husband WALSH to Brendan. In spring 1993, she came back to France
announcing to Gregoire LAUTISSIER, as he declared, that she had her divorce and that she
wanted to live with him. She then got pregnant again fast in 1993, she left right afterwards, end
of 1993, to the United-States with Brendan without prior notice and without any explanation
given to Gregoire LAUTISSIER. Beginning 1994, before Austin was born, June WALSH had
announced to Gregoire LAUTISSIER her will to drop marriage with him and to stay with her
husband Mark WALSH.
Gregoire LAUTISSIER explained that he practically never had any contact with his children
since 1993 and that it was in 2009 only that contacts started between them. In September 2009,
June WALSH came over to show Austin their second son to his father. Back then, she
mentioned to Gregoire that she is going through financial difficulties, Gregoire then started
transferring an amount of 1000 dollars on a monthly basis until June 2010. The year after, in
June 2010, June WALSH came back for vacation in France with their elder son Brendan.
Gregoire LAUTISSIER declared leaving the apartment at their disposal in 55 boulevard de
Charonne, 11th District of Paris, taking into consideration that he was present at his mother's
house during this period. The duration of this vacation was confirmed with the embassy of the
United States: Brendan LAUTISSIER and June WALSH arrived to France on flight n°337 Air
France from Boston to Charles de Gaule on June 15, 2010 and left France August 25, 2010 on
flight n°332 Air France from Charles de Gaule to Boston.                      J
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August 20, 2010 Gregoire LAUTISSIER realized that June HOPKINS SAIA had taken
important documents from his home (documents including his taxation notice, documents in
relation taxes on big fortunes ISF and donation and succession of his father's death in October
2008) and as the discussion with her was getting sharp, Brendan presented to him two
documents and asked him to sign them (Undertaking of accommodation). Gregoire
LAUTISSIER added that he answered his son that he shall read these documents before giving
them back to him. He was still quarrelling with June when he felts a liquid dropping on his back
and heard a noise of a lighter clicking twice. He then looked back at his son only to see him
holding a lighter and trying to set him ablaze. He understood that his son Brendan tried to set
him on fire using gasoline that he sprayed him with. He then dealt a blow towards him in order
to make him drop the lighter. He also explained that his brother Antoine LAUTISSIER came
back at that moment from the kitchen in order to separate them, but Brendan had already moved
to get a small Japanese sword from behind the sofa where his mother was sitting. Brendan
LAUTISSIER was immediately grasped around the waist and brought down to the ground by
his uncle Antoine LAUTISSIER who disarmed him according to the declarations of the victim
Gregoire LAUTISSIER. Based on all of this, and as advised by his brother Antoine, Gregoire
LAUTISSIER isolated himself in his room after having removed his tee-shirt soaking with
gasoline and washed himself. Antoine LAUTISSIER asked June and Brendan to pack their
things to leave the apartment. He then escorted them to IBIS Hotel at Porte de Berey near
Charenton and paid for four nights for them in advance.
The victim highlighted the fact that during these events, Brendan's mother did not show any
reaction and remained silent "She stood up leaving the sofa without saying a word", he also
highlighted the silence of Brendan who did not say a word.
He also detailed that June wanted Brendan to stay in Paris to emoll in the American University
of Paris (this was verified with the Dean of the American University of Paris) and it was agreed
that Brendan would be accommodated at his Father's house.
Gregoire LAUTISSIER added that the gasoline which he was sprayed with came from a lliter
bottle "special barbecue" whose origin is unknown for him. He reported that a plastic bottle of
1000 ml depicting a label on which is read "starting fluid" (inflammable liquid) brand label
LANDMANN. He added that he does not have any barbecue machine and that neither Brendan
nor his mother were smokers, moreover the lighter he used did not belong to him. The lighter
was smashed when he fell and was later on thrown in the bin. He also stated that he ignored the
presence of the sword in his house and where it came from, he handed it to the investigators.
This Japanese knife was 40cm long. It was in a black sheath and a 27 cm blade. The bottle and
the sword were both placed under seals.
Gregoire LAUTISSIER's declarations were confirmed by his brother Antoine LAUTISSIER.
The latter stated in his hearing November 30, 2010 (knowing that he was working in Indonesia
at that time as an engineer) that on the day the events took place "a discussion regarding
Brendan's future at university was supposed to happen", "we had lunch in Nation and carried
on the discussion at my brother's", "once at the apartment, June told that she would like to have
a discussion with Gregoire alone without my presence but I answered her that I am staying."
He mentioned how the conversation got stirred between June and Gregoire, that he went at a
moment to tl!e tchen to empty an ashtray only to come back to the room, to hind his brother
                    i1.1g to punch him in the face. He then separated them, and right after he made
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      his brother sit down on the couch "Brendan ran towards the other end of the couch where he
      grabbed a Japanese knife that he had already unsheathed." "when I saw this, I grabbed him with
      my arms around his waist from behind and tried to fix him on the ground and succeeded to
      remove the knife from his hands, meanwhile, June did not show any reaction. She remained
      silent as she was sitting". Doing so, she did not even warn Gregoire. He also stated seeing his
      brother with his tee-shirt soaking wet and that a heavy smell of gasoline was in the air. He also
      stated that he spotted a chisel that his brother used for work in the bathroom and in the living
      room, this chisel was not supposed to be in that room. He also reported a conversation with
      June which took place on the way to the Ibis hotel when June asked him if they will be filing a
      lawsuit pretending that the gasoline can was used to fill Brendan's lighter, which he found
      strange because Brendan does not smoke.
      Moreover, the hearings of the victim's mother Odile CHAMBON widow ofLAUTISSIER, and
      of his sister Frederique VARENNES nee LAUTISSIER substantiate the version as descried by
      the victim Gregoire LAUTISSIER.
      Finally, one witness, named by the victim, Mr. Cyrille HESSE, declared in his statement before
      the police November 11, 2011 that he passed by to see Mr. Gregoire LAUTISSIER at the end
      of the day August 20, 2010. He described the victim as "completely in panic" and smelled a
      strong smell of gasoline, he also saw spots on the couch and on the left wall of the main room,
      he also confirmed that the victim had declared to him "to have escaped death and to have
      escaped fire". He had seen also the victim's brother Antoine LAUTISSIER who entered the
      apartment and mentioned escorting June and Brendan to the hotel. He also affirmed that both
      brothers showed him the bottle of gasoline that the son had spilled on his father Gregoire in
      addition to the sword and that they described the scene as follows: After Gregoire punched
      Brendan, the latter fetched a Japanese sword but Antoine intervened.
     Psychological repercussions on the victim Gregoire LAUTISSIER, individual without
     psychiatric history, was evaluated at that time, September 6, 2010 and was allowed 5 days of
     complete disability by the Medical Legal Unit at the Hotel Dieu. Since these events, the victim's
     sister indicated that her brother Gregoire LAUTISSIER has known a very serious depression
     which required permanent medical treatment which caused disability, a state recognized by the
     public administration. She also precised that her brother Gregoire found shelter at her place and
     her mother since the attempted homicide perpetrated against him.
     Both Brendan LAUTISSIER and his mother June HOPKINS SAIA being unfound, taking into
     account the alert of their presence near the house of Gregoire LAUTISSIER (who had moved
     to Chatou at his sister's Frederique VARENNES) in spring 2014, an arrest warrant was issued
     May 14, 2014 against Brendan LAUTISSIER. The Investigating Judge asked him whether he
     used his family name WALSH in order to escape the International Arrest Warrant against him.
     This arrest warrant was notified to Brendan LAUTISSIER March 6, 2015 by the Chief-
     supervisor of the Prison of Bois d' Arey. This first European Arrest Warrant was therefore
     executed.
  Brendan LAUTISSIER denied the accusation of attempted homicide on an ascendant
  perpetrated in August 20, 2010, before the judge in charge of investigation in the case after his
  arrest February 18, 2015. He explained to the investigating judge that the origin of the dispute
- ~~W~P h ·s father and mother in August 2010 was because his father refused to assume
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  paternity e pecially concerning financial ·expenses. He also indicated tha
                                                                           r/
                                                                              his mother had left

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his father because he was violent. He added that he was planning to study in France and to stay
at his father's. He did not see anything wrong that his mother made photocopies of documents
which are his father's property stating that the latter had given his authorization so that copies
can be made from his documents. He stated that the documents which he gave to his father to
sign on the day of the events concerned his French passport. Moreover, he stated that it is
possible that a bottle of inflammable liquid and a lighter had been present in the apartment
August 20, 2010. He stated that the lawsuit filed by his father and his declarations are a way for
him to get away from paternal responsibilities. He explained his uncle's statements of witness
that they are due to the grip he has on his father. However, his explanations on the presence of
the sword varied. At the beginning he affirmed that the sword was a fake one and that it is
nothing but a toy, he also denied using it August 20, 2010. Answering the question "Did you
take a hold of a sword?" He said: "there was a sword but in fact it was nothing but a toy. I love
going to Japanese exhibitions. But it is fake, it's a toy." Answering the question "Your father
handed a Japanese knife whose blade is 28cm to the investigators in addition to a black sheath
with red spots which are not replicas at all. Any explanation?" He answered right away: "The
razor is indeed made of metal, but it was not sharpened". "This means that this is not a plastic
object from a panoply?" "No, it is indeed an object made of metal."
Finally, the investigating judge presented to him on that day two photos published by his mother
on Facebook the night before the events of August 20, 2010: the first photo depicted a picture
of Gerard LAUTISSIER with the note "Gerard, l'ignoble, mentir" (Gerard, despicable, lie) (The
father of Gregoire LAUTISSIER's name is Gerard), the second photo depicted a room with a
note which read "la chamber de se venger" (the room for revenge). He firstly answered "this
does not evoke anything to me but I think that after my father threw us out, my mother was mad
at my father". The investigating judge drew his attention to the fact that these photos were
posted August 19, 2010, the night before the dispute took place.
The investigating judge expressed to him her surprise because they were not able to arrest him
despite the international arrest warrant issued against him May 14, 2014. Brendan
LAUTISSIER also explained during this hearing May 26, 2015 that he had been travelling to
England to see his brother and to Amsterdam for his birthday between May 14, 2014 and the
date of his arrest February 19, 2015 indicating that before 2009 his identity was Brendan
WALSH.
Concerning the Procedure before the Judge for Family Affairs

December 15, 2011, the Judge for Family Affairs of the Judicial Court of Paris received a
request submitted March 29, 2011 by June WALSH nee HOPKINS SAIA, and issued a decision
which fixes the contribution od M. LAUTISSIER to 230 euros per month and per child.
Concerning the investigations on the death of Mark WALSH, husband of June HOPKINS
SAIA
December 6, 2011, the investigating judge was informed by the Gregoire LAUTISSIER's
lawyer of Mark Walsh, Mrs. Walsh's husband's death. The lawyer submitted press releases
which talked about the discovery October 18, 2011 of his lifeless body at the family house. The
Gtfvestigati6n ad concluded that the death resulted from an accident consequently to skull
trauma which aSc caused by his fall from the ladder in the garage.          7


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 Concerning the Request for Mutual Legal Assistance issued from the French investigating
 judge addressed to the American Authorities.
 November 13, 2012, the investigating judge issued a request for mutual legal assistance to the
 American Authorities in order to hear Mrs. WALSH and her sons Brendan and Austin and to
 gain useful information related to the circumstances of Mark WALSH' s death.
 The return of this request November 13, 2013:
 A police report dated October 18, 2011 on the discovery of the body ofM. WALSH revealed
 doubts regarding the circumstances of his death. He was discovered laying on his back in his
 garage with a significant injury in the head. A bullet wound was not excluded taken into
 consideration the fragments from the skull which were on the ground. A ladder was there partly
 leaning against a table. Brain matter was discovered on a motor type machine placed on a bench
 under the ladder. Blood shed was reported on the left side which seems uncoherent with the
 place where the body was found. Three partial footprints were visible in the blood which led to
 the door of the garage.
 The investigator in charge of questioning Brendan LAUTISSIER, reported a change in his
 attitude, the young man "started to stutter" and to express himself with a kind of nervousness
 when asked about the death of his stepfather. Brendan LAUTISSIER refused to sit for a lie
 detector polygraph test.
 After the death of her husband, Mrs. WALSH received 300 000 dollars from two life-insurance
 contracts. Investigation on the heritage revealed that June and Mark WALSH had mortgaged
 their house one month before the latter deceased. One month after her husband deceased, Mrs.
 WALSH changed her name used on Facebook and used the name June HOPKINS SAIA
 instead.
 The FBI conducted investigations on the WALSH family. One neighbor of the WALSH family
 stated that rumors in the neighborhood circulated among the neighbors that everyone found
 Mrs. WALSH and her sons "strange".
 The FBl's investigator estimated that the circumstances of the death of Mark WALSH
 have to be "dug up further". Thus, he transmitted his report to the local police services
 initially in charge of the investigation in this case.
 Concerning the events of February 17, 2015: February 17, 2015 Gregoire LAUTISSIER and
 his sister Frederique VARENNES were both victims of attempted murder.
 Concerning the attempted murder on Frederique V ARENNES nee LAUTISSIER
 February 17, 2015 at 7.15 PM, as Frederique VARENNES was entering her house, 10 allee
 Edmond Flamand in Chatou (78), she was victim of a violent attack. As she was on the
 pavement facing the gate of her villa, she received a violent blow on the back of her head which
 made her lose her balance and fall on the ground, facing her was an individual wearing a helmet
 with a scarf hiding the lower part of his face, he tried to strangle her. Another person came to
 give a hand to the first aggressor and to stop Mrs. VARENNES from resisting (she had bitten
 the hand of the first aggressor). The victim suffered a second attempt of strangulation. She saw
ca:ll~dfi'mdercover behind her first aggressor who gave a cable-like element to her accomplice



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who was unsuccessfully trying to pass it around her neck. Two passersby were alarmed by Mrs.
VARENNES' shouts, they intervened which made the two aggressors escape away.
Concerning the attempted murder on Gregoire LAUTISSIER
Gregoire LAUTISSIER who resided at his sister's Frederique VARENNES was leaving the
house fortuitously only to find his sister moaning on the ground. She told him that she was
attacked by "the Americans". He then went to look up their whereabouts with a neighbor, he
bumped into his ex-wife and son. As he considered them the ones behind the attack on his sister,
he punched his son's face. This was followed by fight where he found himself trapped between
the two aggressors in front of Sequoi:a residence. The woman was trying to put out his eyes by
forcing her fingers into both his eyes while scratching him with her fingernails, meanwhile the
man was trying to strangle him with a cable-like element. Again, the intervention of a witness
who tried to free him from them as he was suffocating made the attackers escape. He stayed on
the ground "very shocked". The aggressors were seen leaving on foot with a big suitcase.
The Identity of the Attackers
Gregoire LAUTISSIER declared immediately to the investigators after the events that he was
able to remove the cap off the woman's head and to clear the scarf off her face only to reveal
the face of his ex-wife June WALSH which he recognized formally and to find that the other
aggressor was his own son Brendan LAUTISSIER. Frederique V ARENNES confirmed these
identities and declared having immediately suspected who were her aggressors the moment
when she heard them speak in English. In fact, she had told her brother when he came out of
the house alarmed by her shouts as she was on the ground that she was attacked by "the
Americans". A description was taken by the investigators once on the scene: A man, Caucasian,
35/40 years old, not properly shaved, blond hair, more or less overweighed, lm75 of height,
wearing a coat or a dark jacket with a blue or grey suitcase with wheels. As for the woman,
Caucasian, blond hair, wearing a clear blue jacket. Both of them had a heavy Anglo-Saxon
accent and used English only when speaking. One of the witnesses of the scene, Patrice
COISNON who saved the first victim Frederique VARENNES, had declared, during his
questioning February 19, 2015 that he grasped the Aggressor C by his shoulders as he was on
his knees to stop the victim from moving her legs using his hands. The witness threw aggressor
back, the latter fell on their behind "it was then when I noticed the face and saw that the
aggressor was a woman with a tight hood that stretched her face. She was a small woman,
between lm60 and lm65, fat, wearing dark-colored clothes and a jacket. I have not seen her
hair." As for aggressor B, he declared not seeing his face because "his head was covered by
clothes." Another witness, Mr. Bruno COUZIN the cyclist who arrived first to the events' scene,
declared that both aggressors wore helmets during the first attack, however they removed their
helmets during the second attack. He declared that Aggressor A was trying to immobilize the
legs of C who was trying to fight in order to escape "I noticed that A was a woman from her
look feminine look and features" "A who had her helmet on also had a neck scarf which covered
her face up to her nose, only her eyes were visible"; then "A and B started discussing in a
language which I recognized as English". Later, "A came towards me, I lowered her neck scarf
and I was able to clearly see a Caucasian woman's face". Another witness, Jean-Baptiste
ASSANk .!oj,dt~8;thy~ arrivecl on the scene during the second attempt of murder which was
perpetra~if ra'.g1iinsi Gregoire L UTISSIER. There, he saw "a man lm70 tall, overweight,
unshaven, with a light-00101:e P ruvian-style bonnet getting fre~ from the grip of another man,
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a 50-year-old man to be precise, a bearded swollen man who was lying on the ground and
moaning". "Then I saw a young man almost 25-year-old (Bruno COUZIN), who was holding
a woman on the ground, he was laying on her to impede her from standing and running away.
"As for the lady, there was a lady aboutlm60 tall, average built, half-long blond hair who is
around 40 to 50 years old. She wore a light-blue anorak.

Forensic Medical Opinions which were reported by the fire-brigade and the police station
workforce of Saint-Germain-en-Laye who intervened on the scene February 19, 2015, noted
that Madame V ARENNES had blood on her mouth and reddish marks on the neck which match
with the aggressive moves she described. The medical certificate noted the presence of a
hematoma in the occipital region diameter 2cm, erythema and linear dermabrasion on the neck,
edema on the left of the lip, 1cm abrasion on the bridge of the nose, bruises on the left hand, a
cleft bone in the left thumb. Mrs. V ARENNES was in a state of shock and close to tears. Mr.
Gregoire LAUTISSIER, has a frantic look and presented many bruises on the face especially
on his eye sockets in addition to multiple linear dermabrasions compatible with scratches. The
Medical Certificate also noted linear abrasions and erythema on the neck in addition to the
presence of a bruise on the back and on the left hand. Both victims were transported to the
hospital in Poissy (78) and were given three days of incapacity of work.

Material and Genetic Observations
On the scene of the first aggression, perpetrated on Frederique V ARENNES, a piece of black
latex glove found on the pavement facing the house of the victims. (CONSTAT HUIT).

On the scene of the second aggression, in the residence Sequoia in Chatou, several objects were
found scattered: a white electric cable with two 136cm long knots (CONSTAT UN), a tuft of
hair pulled from Gregoire LAUTISSIER (CONSTAT DEUX), a woolen neck scarf
(CONSTAT CINQ), a piece of fabric (CONSTAT QUATRE). Swab sampling on the reddish
marks on the fabric strip constituted the CONSTAT TROIS.
A pair of black and blue gloves were found in a Monoprix fabric bag (FOUILLE WJ NEUF).

All these elements were placed under seals and were analyzed.

The genetic expertise report also gave the following results:

-The DNA of Brendan LAUTISSIER was characterized through the following samples:
                Swab 2 sampled from the electric cable sealed under CONSTAT UN;
                Swab sampled from the trail of blood found on the neck scarf placed under seal
                CONSTAT CINQ;
                Swab sampled from the tip of the gloves' fingers placed under seal CONSTAT
                QUATRE
-The DNA of Gregoire LAUTISSIER was characterized through:

                  Tqefom hair ?ulbs sampled from the hair placed under seal CONSTAT DEUX;
            _;:::;,:.::,swrth1>ampled from the blood found on the piece of fabric placed under seal
               CONSTA1~' QATRE;

                                                                 Un~,
~The.DNA of J~ne···.~.0.P.1 .S .S.AIA was characterized through the sampling of swabs from the
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mtertor of the p1eey,":'   gl.9" ,?ilaced under seal :ONSTAT H

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     - The analysis of the swab sampled from the exterior surface of the piece of glove placed under
     seal CONSTAT HUIT allowed to reveal a complex mixture of the DNA of Frederique
     V ARENNES and the DNA of June HOPKINS SAIA all along with the presence of traces of
     other non-identifiable DNA profiles.
     - Genetic characteristics of complex mixture of at least three DNA profiles compatible with that
     of Frederique VARENNES were found in swab 1 and 3 sampled from the electric cable placed
     under seal CONSTAT UN. Having regard to the complexity of these mixtures no interpretation
     was possible.
     - There was no possibility to characterize an exploitable nuclear DNA from the swab placed
     under seal CONSTAT TROIS.
     These conclusions prove the presence of June HOPKINS SAIA and Brendan
     LAUTISSIER on the scene and their criminal intentions.
     The examination of witnesses:
     Many witnesses were examined.
     Marc RASCOUSSIER explained that as he was parking his vehicle around 7 PM in the
     parking outside of the residence "Sequoia", he saw individuals with camouflaged faces enter
     one double garage in the building. Thinking that these were youngsters having fun he did not
     give much attention to them.
     Patrice COISNON was driving a two-wheels on allee Edmond Flamand when he heard a cry
     of distress. As he approached, he noticed that a woman was on the floor attacked by two
     individuals. Another witness asked him for help to release the victim from the attackers' grip,
     meanwhile the victim was screaming that they were trying to kill her.
     As a matter of fact, he did notice that one of the two individuals was on his knees holding the
     victim's legs with his hands whereas the second individual had his knees on her shoulders and
     his hands around her neck.
     At this moment, he threw the first individual back, the one who was holding the victim's legs,
     it was then when he realized that the individual is actually a lady wearing a tight hood. She fell
     on her butts and she pulled out from her pocket "a rope with a running knot" that she handed to
     her accomplice whose face was masked by a piece of clothes. The latter took hold of the rope
     speaking with her in another language. Then they ran away while taldng away with them a
     suitcase. He went to find their whereabouts in the direction of residence "Sequoia" where he
     found on the way a man who was aggressed by these persons.
    Bruno COUZIN was on a bicycle when he saw a woman on the ground getting aggressed by
    two individuals wearing motorcycle helmets.
    A woman whose face was hidden by a neck scarf was immobilizing the victim by holding her
    feet, meanwhile a second aggressor was at her head's level "smashing" her neck with one of
    his knees.
         As the victim was calling for help, he asked the individuals to let her go. Then, the two
;""" ,v-agg,ess©rs(~arted -discussing together in English. When he realized that they were not
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       ' answering him, e tried in vain to move away the individual who w      mashing the victim's

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neck. He threatened them to call the police, but the lady replied in English that he may do that
and that she does not care. He lowered her neck scarf which allowed him to see her face.
Incapable of doing anything, he started screaming for help at this moment M. COISON had
arrived on the scene and had called the police.
He pushed the individual who was holding the victim's neck again, this destabilized him
sufficiently to allow the victim to move away from her aggressor who stood up and held in his
hands "a clear 30 cm doubled cable". He then went to fetch a suitcase left aside, then went
towards his accomplice who stood in between to stop him from helping the victim.
Gregoire LAUTISSIER who had just left the house asked him to take care of the victim and he
took the bicycle to help Mr. COISNON to follow the accused persons who had escaped. The
latter had told him as he came back to the place that they took shelter in residence "Sequoia"
building. Then, he left his bicycle and went to the only exit of the residence. At that moment he
heard grumbling noises coming from the driveway, he then saw that the male individual who
had aggressed Mrs. VARENNES was bleeding from the nose and had removed his helmet. He
was standing astride on top of Gregoire LAUTISSIER and was strangling him using a cable,
meanwhile his accomplice who had also removed her helmet "was trying to hinder Mr.
LAUTISSIER who was suffocating and who had a line of blood coming out of the mouth.
Mr. COUZIN tried to pull away the individual unsuccessfully by hammering with his fists the
individual's arms and face, but the latter refused to let go and kept on strangling Mr.
LAUTISSIER.
He then pushed his accomplice making her fall on the ground and came back to tackle the
aggressor giving him blows with his knees on the sides of his body. The latter finally let go
when many individuals arrived at the place. He stood up to fetch the suitcase meanwhile his
accomplice "oppressing him" non-stop. He succeeded by holding her to the ground as they
waited for the police forces to arrive but when he saw that her accomplice was coming towards
him and as the witnesses present on the scene thought that he was aggressing a lady, he let her
run away. She ran away with her accomplice and he kept Mr. LAUTISSIER away from any
further harm.
Mr. COUZIN indicated that his right hand was injured and both his knees too. He was also
surprised to notice that the aggressors did not have their motorcycle helmets anymore.
Jean-Baptiste ASSANI was alerted by screams for help when he was at a friend's house in rue
des Landes in Chatou. He left the house and took the street which leads to the entrance of the
residence "Sequoia" where he saw a coated man releasing himself from the grip he had on
another individual, who is fifty-years-old and who was lying on the floor with a swollen face
and was moaning from pain. The first individual took his things from the ground and fetched a
big black suitcase.
At the same time; a young man was holding a woman on the ground and telling her to call the
police and to retain the man with the suitcase because a woman had been aggressed.
He asked the coated man about what happened, but the latter replied in a foreign language. The
woman held on the ground was able to escape, she went towards the man with the suitcase and
left together the place,


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Patrick ROUSSIES was also alerted by a voice of a man calling "help, help me!". He
immediately went out of his house, he saw an immobile man with a swollen face and a youna
man holding down a forty-year-old blond woman on the ground who was able to escape and to
join a thirty-year-old man who was pulling a big wheeled suit-case. A neighbor was able to
follow them for a while as they were leaving the place rapidly.
Frederiques VARENNES told the investigators that her brother was regularly threatened by his
ex-wife and his own son. She added that back in spring 2014, her husband saw these two
individuals roaming around in their home's street on board of a Peugeot Cl licensed CZ 258
BNOl. An international arrest warrant was issued against them back then May 14, 2014 by the
investigating judge in charge of the investigation in the case of attempted homicide on an
ascendant on the victim Gregoire LAUTISSIER perpetrated by his son Brendan August 20,
2010.
The lawyer of Gregoire LAUTISSIER had informed back then the investigating judge through
a letter in May 12, 2014 of the intimidation maneuvers that his client was subject of. Seven
posters, letters and other attestation of suicide where plastered several nights in a row on the
door of his Parisian house in the 11th district which he bequeathed to his godson. The malevolent
content of these documents was obvious. One of the posters read "Gregoire go to United States
March 30-31, 2014 try to kill the mother of his sons again!". These posters seemed as a whole
to accuse Gregoire LAUTISSIER and his accomplices trying to take the life of the mother and
her sons, he was described on multiple occasions as "a monster", "culprit", promised of
"prison" and "hell". On another poster it was possible to read "jump from balcony", another
document was titled "Suicide letter" which started with "I, Gregoire LAUTISSIER, being sane,
would like to be rendered responsible of many of my own atrocities".
Brendan LAUTISSIER and his mother June HOPKINS SAIA were both registered in the
FPR {Wanted Persons' File) which allowed to arrest them by the Air and Borders Police
of Coquelles (62) as they were trying to leave France February 18, 2015 to the United-
Kingdom.

Questioned, June HOPKINS SAIA and her son Brendan LAUTISSIER denied the accusations
and tried to turn the tables on their accusers.
The hearing of Brendan LAUTISSIER
He stated that following the death of his stepfather in 2011 "because of diabetes", his mother
decided to come and live in France in 2012 where school fees are less high than in the United-
States. They first lived in hotels before moving to the apartment in which they were still living.
He added taking advantage of his presence in France to obtain a French Nation ID card and a
French passport.
After moving in, he set "a priority" to himself to discover the reality of his father and the threats
that were weighing on the family. For this reason, he had put in February 2013, at the entrance
door of his apartment a small MP3 player which consisted of a micro hidden in a tissue paper.
He also claimed as did his mother possessing around twelve recordings on his computer
which show that his father was planning to go to the United-States to "break his mother's
neck" and "to throw h; r from a building" to let it appear like an accident. He admitted not



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understanding French very well and that it was his mother who translated the recorded
conversations for him.
That he escorted her to Chatou (78) to have a discussion with Mrs. V ARENNES to ask her to
stop all these threats, but the latter reacted violently when she knew that they had incriminating
evidence in their possession and punched his mother in the chin who riposted by pushing her
away. His aunt fell down backwards and hurt her head, he then went down on his knees to help
her but he realized that she was trying to stand up again to fight so he held her down on the
ground to protect his mother.

A neighbor intervened and asked him to let her go. He tried to leave the place with his mother
to avoid that things get worse, but his father tracked them down and punched him in the face
before giving him several blows. His mother stood in between and attacked his eyes, which
caused him to fall backwards. Several neighbors and friends of his father came over to fight but
since he was not there to fight, he ran away with his mother.

He was unaware of the presence of the electric cable which was unveiled on the scene and that
of the piece of tom latex glove. The seized scarf is indeed his.
He denied attempting to strangle his father and aunt.
The hearing of June HOPKINS SAIA

Brendan LAUTISSIER's mother, June HOPKINS SAIA admitted going in February 17, 2015
in front of the house of Mrs. VARENNES with her son to wait for the latter's return from work
in order to talk to her. She explained that she wanted to ask her to stop threatening her and her
sons. She also wanted to warn her that she had proofs of the presence of a project orchestrated
by her (Mrs. VARENNES) with her brother Gregoire LAUTISSIER and other members of their
family to eliminate them. June HOPKINS SAIA admitted having audio recordings on her
computer originating from taping devices which she put on the apartment's threshold of her ex-
husband Gregoire LAUTISSIER. She added that she came over around fifteen times to make
sure that these devices are operating and to replace them. She recognized being angry facing
the attitude of Frederique VARENNES who refused to talk to her, who pushed her and caused
her to fall. However, she admitted wearing a motorcycle helmet explaining that it was to protect
herself from Frederique VARENNES who was planning to kill her "to make her brother
happy". She also admitted that the latter has never shown any violent behavior before towards
her but that she is a sociopath as the rest of the family. She admitted that she and her son were
both wearing gloves. She denied holding Mrs. V ARENNES legs as she was lying the ground
and denied handing any cable-like element to Brendan. The presence of her son's DNA on the
seized cable is accidental.
Before admitting pushing Frederique V ARENNES, June HOPKINS SAIA explained during
her first declarations, in custody at the police station, that Mrs. V ARENNES turned around
suddenly and fell on the ground, her son wanted to touch her face to ease her down. But Mrs.
V ARENNES was scared and panicking, she kicked Mrs. WALSH' s chin and bit her son's hand.
A man approached them and asked them what was happening. Brendan LAUTISSIER' s mother
answered him that Mrs. VARENNES had a discomfort. The man asked them to move away and
said that he was going to call the police.



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       Concerning other elements: wiretapping, audio or video taping, tracking, telephone activity
       operations
       During the search in Mrs. HOPKINS SAIA's handbag, a post-it note was discovered with
       handwritten notes about car licenses and car models. Once researches were done, it has been
       revealed that the 4 references which were written matched with two vehicles registered under
       the name of Mrs. V ARENNES, one vehicle registered under the name of Gregoire
       LAUTISSIER and one last vehicle registered under the name of his father Gerard
       LAUTISSIER.
       During her custody at the police station; Mrs. HOPKINS SAIA indicated that she had put on
       several occasions devices to collect audiovisual elements in addition to taping devices in an
       aeration grid near the entrance door of the apartment of Gregoire LAUTISSIER. Mr. POTIN,
       the building's janitor handed the investigators three devices which correspond and found in the
       aeration pipe on the landing of the said apartment. The janitor indicated having seen on several
       occasions a blond woman escorted by a young man with long hair on that floor and that he
       surprised them as they were putting their devices in the aeration grid. He asked them to leave
       every time he saw them without informing Mr. LAUTISSIER nor the police.
       The Service Regional de l'Informatique et des Traces Technologiques of the DRPJ (Regional
       Service for Computer and Technology Traces of the Regional Directorate of Judiciary Police)
       submitted a report concerning the analysis of the phones of Mrs. HOPKINS SAIA and her son
       Brendan. They mainly determined that his phone contained a sub-folder "VIDEOS" which
       consisted of content related to tracking the house of Mrs. V ARENNES and her car in addition
       to audiovisual recordings of the surrounding's of the Gregoire LAUTISSIER's Parisian home.
       The police searched the Parisian apartment where Mrs. HOPKINS SAIA and Brendan
       LAUTISSIER were staying.
       In this apartment, the police mainly discovered sheets of paper on which was handwritten
       "Greg, you are a killer! Now you try to kill again( ... )", another sheet of paper was discovered
       with the addresses of Mrs. VARENNES and Gregoire LAUTISSIER on them.
       In the closet of Brendan's room, two black jumpsuits were discovered, a man wig and a BB
       gun. Under the bed of Mrs. HOPKINS SAIA a black cover was discovered and a big garden
       shovel.
       The search of the apartment also included the basement where a suitcase containing military-
       like materials was discovered (army jacket and a camouflage net), diverse tools (a saw, an axe,
       a machete, goggle, gloves, roll of cords, audio and video collector device similar to the one
       handed by Mr. POTIN, the janitor of Mrs. Frederique VARENNES' building in Chatou).

       ***
        The matching testimonies of Marc RASCOUSSIER, Patrice COISNON, Bruno COUZIN, Jean-
        Baptiste ASSANI, Patrick ROUSSIES corroborate the declarations of Mrs. Frederique
       VARENNES and Gregoire LAUTISSIER concerning the events and the two attempted murders
        committed by June HOPKINS SAIA and Brendan LAUTISSIER. These detailed testimonies
'~
       testify the unequivocal strangulation that the individuals were victim of, particularly using "a
\JOpJ,::rqp~':;1:o!ing that an electric cable was found in the scene of the events after the aggressors ran
        a;.ay,' h613ing::oµi;,\,the DNA of Mrs. VARENNES and that of Mr. Brendan LAUTISSIER.

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                                             EXT-LAUTISSIER-00034


          Case 1:19-mj-00377-LPA Document 12-1 Filed 03/13/20 Page 34 of 107
 These testimonies and the discrepancy between the different versions concerning the events of
 Brendan LAUTISSIER and June HOPKINS SAIA show that the two suspects lied on several
 number of elements during their hearings (Mrs. HOPKINS SAIA admitted lying during her
 second hearing). Forensic Medical opinions and the genetic expertise both march and
 correspond with the precise description given of the events as stated by the proceedings. All
 these elements attest the presence of Mr. Brendan LAUTISSIER on the scene where the
 crime took place and corroborate the criminal acts described by the victims and the
 witnesses of the events.
 The investigation conducted by the police and that conducted by the investigating judge
 both allowed to determine that Brendan LAUTISSIER had tried to kill his father
 Gregoire LAUTISSIER in August 20, 2010 (attempted homicide on an ascendant) and
 that Mrs. HOPKINS SAIA and her son Brendan LAUTISSIER willingly and after
 premeditation attempted to take away the life of Mrs. Frederique V ARENNES and that
 of Mr. Gregoire LAUTISSIER (attempted murder) in February 19, 2015.
         III- The Qualifications:
 Having exposed the aforementioned crimes, crime of August 20, 2010 and crime of February
 17, 2015 which constitute the following offenses: Precising the qualifications and indicating
 the legal texts

     •   Attempted homicide on an ascendant (his father LAUTISSIER Gregoire) August 20,
         2010
     •   Attempted murder on his father Gregoire LAUTISSIER and his aunt Frederique
         V ARENNES nee LAUTISSIER, February 17, 2015
                Offenses set out and punished by articles 121-4, 121-5, 132-71-1, 221-3 subp.1,
 221-1, 221-4, 221-8, 221-9, 221-9-1, and 221-11 of the Criminal Code.
                The arrest warrant issued by the investigating judge set out by articles 122, 123
 and 131 of the Code of Criminal Procedure.


         IV-The proceedings
 Judicial investigation was open by the prosecution services of Paris for offenses of attempted
 homicide on an ascendant in June 24, 2011.
 November 13, 2012, the investigating judge issued a request for mutual legal assistance to the
 American Authorities in order to proceed with the hearing of Mrs. WALSH and her sons
 Brendan and Austin and to have further information concerning the circumstances surrounding
 the death of Mark WALSH.
 May 12, 2014, Gregoire LAUTISSIER's lawyer informed the investigating judge of the
 intimidating maneuvers his client was going through. Seven posters, letters and a Suicide Note
 were posted on several nights in a row at the door of his Parisian house 55, boulevard
 Beaumarchais in the 11th District of Paris which he had bequeathed to his godson. On another
 h8:!J;4,,,:clii&. sistef' s husband surprised Mrs. WALSH and her son Brendan, during this same
         a§
Cpetiod, they; w~e roaming around in the street where his house is located in Chatou driving
 a Peugibtcf ··yehfo!~ licensed CZ 258 BNOl.
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                                     EXT-LAUTISSIER-00035


    Case 1:19-mj-00377-LPA Document 12-1 Filed 03/13/20 Page 35 of 107
May 14, 2014, the investigating judge issued an international arrest warrant against Brendan
LAUTISSIER.

February 20, 2015, the prosecution services od Versailles opened a judicial investigation against
June HOPKINS SAIA and Brendan LAUTISSIER for the offenses of attempted murder of
which is victim Gregoire LAUTISSIER and his sister Frederique V ARENNES nee
LAUTISSIER.

The offenses of February 2015 are related to the first offenses of attempted homicide on an
ascendant of August 20, 2010, therefore they were linked to the initial proceedings of 2010. By
order issued in June 5, 2015, the investigating judge of Versailles handed over the case file to
the investigating judge of Paris in charge of the investigation open in 2010 following the first
attempted homicide on an ascendant of which Gregoire LAUTISSIER was victim.
After being arrested in February 20, 2015, Brendan LAUTISSIER and June HOPKINS SAIA
were placed in temporary detention until February 19, 2018 when they were liberated and
placed under probation Gudicial supervision). Having not replied to the judge's summons, the
investigating judge issued an arrest warrant against them in August 3, 2018. The District
Attorney of Paris issued and published a European Arrest Warrant in December 21, 2018. This
judicial investigation is placed in the hands of investigating judge Dimitri DUREUX today at
the Judicial Court of Paris.
Once their location found in the United States, the French Legal Authorities addressed a
request for temporary arrest to the American Legal Authorities against Brendan
LAUTISSIER in April 23, 2019 and June HOPKINS SAIA in June 25, 2019, following
which the two requested persons were arrested on the territory of the United States in
December 9, 2019.
Should also note that during their imprisonment, June HOPKINS SAIA tried to break free from
Versailles Penitentiary for Women the night of July 12-13 2016 by removing the bars of her
cell using :frozen water bottles. June HOPKINS SAIA is still suffering from damages caused
by multiple broken bones in her pelvis and sacrum.

Mrs. June HOPKINS SAIA indicated having filed an appeal before the CEDH The European
Court of Human Rights for her and her son Brendan LAUTISSIER. However, after researches
have been conducted, no file whatsoever has been found in her name in our archives. No file
was found either on the HUDOC database of the European Court which lists the pending and
finished cases appearing before court.

               V- Statutory limitation period
        In application of article 7 of the French Code of Criminal Procedure, public prosecution
for attempted homicide against an ascendant and attempted murder are time-barred after 20
years from the day when the offense was committed, since the adoption of the law of February
27, 2017. Before this law came into force, the former article 7 stipulated a ten-year time limit
counting from the day the crime was committed provided that during this period no
investigation or prosecution acts whatsoever were carried out. If at the time the law of February
27, 2017 entered· o force in March 1,207, limitation period was not barred for the reported
                     tion period is applied. (art.4 law n°2017-242 of February 27, 2017).



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                                     EXT-LAUTISSIER-00036


    Case 1:19-mj-00377-LPA Document 12-1 Filed 03/13/20 Page 36 of 107
Limitation period is suspended by acts of inquiry and prosecution (article 9-2 of the Code of
Criminal Procedure).
In January 10, 2020, prosecution was not barred by limitation regarding the offenses of which
Brendan LAUTISSIER is accused and detailed in this request for extradition based on the
offenses of August 20, 2010 and February 17, 2015. Moreover, several acts such as issuing an
Arrest Warrant interrupted the limitation period of the prosecution. As a matter of fact, the
investigation is continuously running since June 24, 2011 under the direction of several judges.
Thus, the offenses are not barred by limitation.
This request for extradition is, according to the French law, an act of search of the Ministry of
Justice which is an interrupting act of limitation period.

***
The request for the extradition of Brendan LAUTISSIER is issued based on the bilateral
treaty between France and the US signed in April 23, 1996 and the agreement between
the European Union and the United States of America signed June 25, 2003.
Please find annexed the copy of the arrest warrant issued by the investigating judge in May 14,
2014, for information purpose only talcing into consideration that this warrant was executed in
2015. Please find annexed the arrest warrant issued by the investigating judge in August 3,
2018, the copy of the European Arrest Warrant of December 21, 2018, the copy of the request
for temporary arrest of April 23, 2019, the copy of the applicable legal texts, the copy of the
Extradition Treaty and the copy of the documents of identity of Brendan LAUTISSIER.

PARIS, January 13, 2020
                                        DISTRICT ATTORNEY
                                        Jean-Marc COQUENTIN
                                        Deputy Chief Prosecutor


Annexed documents:

      •   Certified copy of the arrest warrant issued by the investigating judge in May 14, 2014
          (executed arrest warrant)
      •   Certified copy of the arrest warrant issued by the investigating judge in August 3rd, 2018
      •   Certified copy of the European arrest warrant issued in December 21, 2018,
      •   Certified copy of the request for temporary arrest in April 23, 2019,
      •   Copy of the applicable legal texts concerning the offenses,
      •   Copy of the Extradition Treaties
      •   Copy of the American passport of Brendan Christopher Walsh LAUTISSIER,
      •   Copy of the national identity card od Brendan Christopher LAUTISSIER,
      •   Copy of the French passport of Brendan Christopher LAUTISSIER.




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                                       EXT-LAUTISSIER-00037


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    Mandat d'arret de Madame Virginie GEYTE,
   Vice-president charge de l'instruction en date du
                     14 mai 2014
            Traduction en langue anglaise




                             EXT-LAUTISSIER-00038


    Case 1:19-mj-00377-LPA Document 12-1 Filed 03/13/20 Page 38 of 107
                                               Cour D' Appel de Paris
                                               Tribunal de Grande Instance de Paris      INTERNATIONAL ARREST WARRANT
                                               Cabinet of Judge Virgine VAN GEYTE
                                               Vice-President in charge of investigation
                                               Prosecution Services Case Registration n°103360816
                                               Cabinet Case Registration n°2224/11/50

                                                                    Republic of France- In the Name of the French People

                                               We, Mrs. Virginie VAN GEYTE, Vice-President in charge of investigation at Tribunal de
                                               Grande Instance de Paris.
                                               Regarding the investigation with:

                                              Mr. W ALSH-LAUTISSIER Brendan
                                                        1
                                              D.0.B. 07 h of January 1992 in California(UNITED STATES of AMERICA) ofLAUTISSIER
                                              Gregoire and HOPKINS June.
                                              Resident in 71 HILLCREST DRIVE LACONIA-NEW HAMPSHIRE. UNITED STATES of
                                              AMERICA.

                                              Accused of:

                                              Attempted homicide on an ascendant,

                                              Acts which were perpetrated in Paris 11th district on the 20th of August 2010, on the national
                                              territories and not barred by limitation

                                              As outlined and punished by Articles 121-4, 121-5, 221-4, 221-8, 221-9, 221-9-1 and 221-11
                                              of the Criminal Code.
                                              Having regard to the indictments of Mr. The District Attorney on the 29th of April 2014;
                                              Having regard to Articles 122, 123, 131 et seq. of the Code of Criminal Procedure;

                                              We order and send for every Officer or Agent working for the Judicial Police, for every agent
                                              of the Public Force, in compliance with the law, to look for and present before us or before the
                                              District Attorney of the place where the arrest would take place, the aforementioned person
                                              object of this Warrant after having placed her in jail in Paris or in the place where her arrest
                                              would occur.
                                              We urge the Chief-supervisor of the said jail to receive and keep this person having regard to
                                              an arrest warrant until otherwise ordered.
                                              We demand from every person with public authority who shall read this Arrest Warrant to
                                              conunit to assist, if needed, in order to execute this warrant.
                                              In witness whereof, this Warrant is signed by Us, the Judge of investigation and sealed with our
    NE VARlETl.sihmp.
                   J) /                       Issued by the Cabinet of the Investigation Judge on the 14th of May 2014
       A\                                     This Warrant was shown to and notified to the     pel~in11fuetl6bri~&l?efe11   Wl10iM~ived a copy
,/./(;                                        delivered by me. On
Ahmad GHAZLEH



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                                                                                   EXT-LAUTISSIER-00039


                                            Case 1:19-mj-00377-LPA Document 12-1 Filed 03/13/20 Page 39 of 107
    DU
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DI  PARIS


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    Mandat d'arret de Mme Virginie GEYTE,
     Vice-president charge de l'instruction
            en date du 03 aofit 2018




                              EXT-LAUTISSIER-00040


     Case 1:19-mj-00377-LPA Document 12-1 Filed 03/13/20 Page 40 of 107
             COUR D' APPEL
                  DE PARIS                                                   MANDAT D'ARRET
                  TRIBUNAL
         DE GRANDE INSTANCE
                                                                              INTERNATIONAL
                  DE PARIS


            CABINET
                                                            REPUBLIQUE FRANCAISE - AU NOM DU PEUPLE FRANCAIS
  de Mme Virginie VAN GEYTE
     Vice-President charge de
           !'instruction
                                                          Nous, Mme Virginie VAN GEYTE, Vice-President charge de !'instruction au Tribunal
                                                          de Grande Instance de Paris;
PARQUETN°. 103360816.
CABINET N° . 2224/11/50 .                                 Vu !'information concernant:
 tI   Vu._    Q.u_
              .    ..
                                      ctve,!,---<7        M. LAUTISSIER Brendan
                                                          dit WALSH Brendan
                                                     CD
                                                     -~
                                                     CD

                                                                  ne le 07 Janvier 1992 a Woodland Hills - CALIFORNJE (ETATS-UNIS)
                                                                  de LA UTISSIER Gregoire et de HOP KINS June


                                                          mise en examen des chefs de :
                                                          Tentative d'homicide sur un ascendant
                                                          Faits commis a Paris 11 le 20 aout 2010, en tout cas sur le territoire national et depuis
notifie a la personne y designee et
                                                          temps n'emportant pas prescription.
copie Jui en a ete delivree par moi
                                                          Faits prevus et reprimes par !es articles 121-4, 121-5, 221-4, 221-8, 221-9, 221-9-1 et
Le                                                        221-11 du Code Penal

                                                          Requisitoire introductif du 20 fevrier 2015 (dossier Versailles)
                                                          Tentative d'assassinat, fait commis le 17 fevrier 2015 a Chatou, au prejudice de Monsieur
                                                          LAUTISSIER Gregoire et de Mme Frederique LAUTISSIER epouse VARENNES
                                                          Faits prevus et reprimes par !es articles 121-5, 221-3 al 1, 221-1, 132-71-1, 221-3
                   ~-; ,,    •,_                          al,221-8, 221-9, 221-9-1 et 221-11 du code penal
              n., ,'!:"
                        .,
                  "<'"·'
                                                          Vu Jes requisitions de M. le Procureur de la Republique en date du 31 juillet 2018 ;

                                                          Vu !es articles 122, 123, 131 et suivants du Code de procedure penale;

                                                          Mandons et ordonnons a tous officiers ou agents de la police judiciaire et a tous agents
                                                          de la force publique, en se conformant a la loi, de rechercher et de conduire devant nous
                                                          ou devant le procureur de la Republique du lieu de son arrestation la personne sus-visee,
                                                          apres l'avoir le cas echeant conduite a la maison d'arret de Paris ou celle de son lieu
                                                          d'arrestation.

                                                          Enjoignons au Surveillant-Chef de ladite maison d'arret de la recevoir et detenir en etat
                                                          de mandat d'arretjusqu'a ce qu'il en soit autrement ordonne.
                                                                                                               _,
                                                          Requerons tout depositaire de la force publique auquel le present mandat sera exhibe de
                                                          preter main forte pour son execution en cas de besoin.

                                                          En foi de quoi le present mandat a ete signe par Nous, Juge d'Instruction, et scelle de
                                                          notre sceau.


                                                                                             Fait en notre Cabinet, le 3 aout 2018
             Grace Shalhoub                                                                   E JUGE D'INSTRUCTION
     en langues frangais-anglais-hebreu

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                  Ur c!'ap?e\                                                  EXT-LAUTISSIER-00041


                                   Case 1:19-mj-00377-LPA Document 12-1 Filed 03/13/20 Page 41 of 107
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D    PARIS


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             Mandat d'arret de Mme Virginie GEYTE,
              Vice-president charge de l'instruction
                     en date du 03 aofi.t 2018
                 Traduction en langue anglaise




                                           EXT-LAUTISSIER-00042


                  Case 1:19-mj-00377-LPA Document 12-1 Filed 03/13/20 Page 42 of 107
  PARIS COURT OF                              INTERNATIONAL ARREST WARRANT
     APPEAL

 PARIS HIGH COURT                  FRENCH REPUBLIC - IN THE NAME OF THE FRENCH PEOPLE

        OFFICE of                  I the undersigned, Ms. Virginie VAN GEYTE, Judge, Vice-President in charge of
Ms. Virginie VAN GEYTE             judicial investigation at the Paris High Court (Tribunal de grande instance de Paris);
 Judge, Vice-President in
    charge of judicial             Having regard to the investigation on the case of:
       investigation               Mr. LAUTISSIER Brendan
                                   alias WALSH Brendan
Case reference at the
prosecution office:                         born on January 7, 1992, in Woodland Hills- CALIFORNIA (USA)
103360816
                                            son ofLAUTISSIER Gregoire and HOPKINS June
Case reference at the
investigating judge's              charged with the following offenses:
office: 2224/11/50                 - Homicide attempt against an ascendant
                                   Offense committed in the 11 11i arrondissement of Paris on August 20, 2010, on national
                                   territory and not covered by statute of limitation.
[Seal: Prosecution office,         Offense defined and sanctioned by Sections 121-4, 121-5, 221-4, 221-8, 221-9,
Paris High Court]                  221-9-1 and 221-11 of the French Penal Code

[Hand-written: "Received,          Request by the prosecutor to the judge to open an investigation, filed on February 20,
Prosecution Office,                2015 (case opened in Versailles)
on 8/8/18"]                        Assassination attempt, offense committed on February 17, 2015, in Chatou (France),
[illegible signature]              against Mr. LAUTISSIER Gregoire and Ms. Frederique LAUTISSIER married name
                                   VARENNES
[Stamp: Bernard BELOTIE,
                                   Offense defined and sanctioned by Sections 121-5, 221-3 para. 1, 221-1, 132-71-1, 221-
Vice-prosecutor]
                                   3 para. [sic], 221-8, 221-9, 221-9-1, and 221-11 of the French Penal Code


The present warrant was             Having regard to the conclusions submitted by the Prosecutor of the Republic on July
issued and summoned upon            31, 2018;
the person identified on it,
who also received a copy            Having regard to Sections 122, 123, 131 and seq. of the French Criminal Procedure
                                    Code;
On
                                    I Hereby order all judicial police officers and agents as well as all members of law
                                    enforcement bodies, in compliance with the law, to search for and lead the above-
[Stamp: Certified true copy         identified person to appear before us or before the competent Prosecutor of the Republic
of the original,                    in the place of arrest, and if applicable, after having taken him to a pre-trial detention
Court Clerk]                        center of Paris or the equivalent center in the place of arrest.
[Initials+ illegible signature)
                                    Hereby urge the Senior Prison Supervisor of the said detention center to receive him
                                    and detain him in application of the arrest warrant until further decision has been made.

                                    Hereby request all members of security forces having received the present arrest warrant
                                  :nm assist in executing it, where necessary.
                                    In witness thereof, the present warrant was signed and sealed by the investigating judge.

                                                         [illegible signature]
                                                         [Stamp: Paris High Court]
                                                                                                               00 ctrice 0
                                                         Signed in our office, on August 3, 2018
                                                                                                        '-
                                                                                                          '\~'o            s.s(Sl/'
                                                         The Judge in charge of judicial investigati01}0'                        ~
                                                                                                                                      0
                                                                                                      I.U                               %-
   Certified translation, certified true to the original document in French language.                             Grace Shalhoub            ro
   Translated by Grace Shalhoub, MA., Sworn Translator                                                en langues •      .
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   accredited the Paris Court ofAppeal, France                                                         ....        ~'1~9-13
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                                                  EXT-LAUTISSIER-00043


       Case 1:19-mj-00377-LPA Document 12-1 Filed 03/13/20 Page 43 of 107
PARQUET

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          Mandat d'arret europeen en date du
                     21/12/2018




                                EXT-LAUTISSIER-00044


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                                                REPUBUOU!l FRANCAISE                      en a @\f\10.,{~'10        . C/J
                                 COUR D' APPEL DE PARIS        -0                                                       f
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                                                                                                 cl Cn, J.J,~"'oe
  MANDATD'ARRETEUROPEEN                                                                               -· u Vf

  [A030] Le present mandat a ete emis par une autorite judiciaire competente. Je demande que la personne
  mentionnee ci-dessous soit arretee et remise aux autorites judiciaires aux fins de l'exercice de poursuites penales
  ou de !'execution d'une peine ou d'une mesure de surete privative de liberte.



  a) Renseignements relatifs     a l'identite de la personne recherchee :
  [A006] Norn patronymique : LAUTISSIER

  [A007] Prenom(s) : Brendan

  [A008] Norn d'usage (pour les femmes mariees ), s'il ya lieu:

  [A011] Alias, s'il ya lieu : dit WALSH Brendan
  Passeport americain : LAUTISSIER Brendan Christopher Walsh

  [A012] Sexe : Masculin

  [A013] Nationalite : americaine/francaise

   [A009] Date de naissance : 7 janvier 1992

   [A010] Lieu de naissance: Woodland Hills (Californie - ETATS UNIS)

   [A061] Residence et/au adresse connue : 71 Hillcrest Drive Laconia. New Hampshire- Etats Unis

   [M083] La au les langues que la personne recherchee comprend (si connu): Ignore

   [A058] Traits distinctifs/description de la personne recherchee :

   [A059 et A060] Photo et empreintes digitales de la personne recherchee, si elles sont disponibles et
   s'il est possible de les communiquer, au les coordonnees de la personne a contacter afin d'obtenir ces
   informations au un profil A.D.N. (si ces donnees peuvent etre communiquees, mais n'ont pas ete
   incluses) : Photo de l'interesse




   b) Decision sur laquelle se fonde le mandat d'arret europeen :

   [A031 et A032] Mandat d'arret au decision judiciaire ayant la meme force : Mandat d'arret decerne
   le 3 aout 2018 par Mme Virginie VAN GEYTE, vice-president charge de l'instruction au tribunal
   de grande instance de Paris, en vue de poursuites penales

   [A033] Type : Mandat d'arret art 131 CPP

   [A035 et A036] Jugement executoire : neant




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                                      EXT-LAUTISSIER-00045
                                                                           ,.~"""'1;,.~

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  [A037] Reference :




  c) Indications sur la duree de la peine :

  1 [A034] Duree maximale de la peine ou mesure de sQrete privatives de liberte qui peut etre prononcee
  pour l'infraction/les infractions commise(s) :

                                      Reclusion criminelle   a perpetuite                              e,\(\ce asset.
                                                                                                 o..Y.                   00
                                                                                       /......,'<f-                          ;,;
  2 [A038) Duree de la peine ou mesure de surete privatives de liberte infligee:   Ji
                                                                                   ~                         ""' \\-IOU'o
                                                                                 w                    Grace S1_i 6 flC.1\a\s-neot
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                                                                                   en \anQues                  ~Q .,..Ai            (/J


  [A039] Peine restant   a purger :                                                    ,6,,              ~                    ;j-
                                                                                              0~ 1                ~-~      ~~
                                                                                                       <:J Cour ct'a'Q~e



  [M083] d) lndiquez si l'interesse a comparu en personne au proces qui a mene          a la decision:
  1. o Oui, l'interesse a comparu en personne au proces qui a mene      a la decision.
  2. o Non, l'interesse n'a pas comparu en personne au proces qui a mene       a la decision.
  3. Si vous avez coche la case du point 2, veuillez confirmer si:

                                       a
      o 3.1 a) l'interesse a ete cite personne le .... Uour/mois/annee) et a ainsi ete informe de la date et
                                               a
  du lieu fixes pour le proces qui a mene la decision, et s'il a ete informe qu'une decision pouvait etre
  rendue en cas de non-comparution ;

      OU


                                                   a
       o 3.1 b) l'interesse n'a pas ete cite personne, mais a ete informs officiellement et effectivement
                                                                                   a
   par d'autres moyens de la date et du lieu fixes pour le proces qui a mene la decision, de telle sorte
   qu'il a ete etabli de maniere non equivoque que l'interesse a eu connaissance du proces prevu, et a ete
   informe qu'une decision pouvait etre rendue en cas de non-comparution ;

      OU

                                                                                                  a
      o 3.2 ayant eu connaissance du proces prevu, l'interesse a donne mandat un conseil juridique,
   qui a ete designe soit par l'interesse soit par l'Etat, pour le defendre au proces, et a ete effectivement
   defendu par ce conseil pendant le proces ;

      OU

      o 3.3 l'interesse s'est vu signifier la decision le .... Uour/mois/annee) et a ete expressement informe
   de son droit a une nouvelle procedure de jugement ou a une procedure d'appel, a laquelle l'interesse a
   le droit de participer et qui permet de reexaminer l'affaire sur le fond, en tenant compte des nouveaux
                                           a
   elements de preuve, et peut aboutir une infirmation de la decision initiale, et




                                      EXT-LAUTISSIER-00046


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    OU

                    o l'interesse n'a pas demande une nouvelle procedure de jugement ou une
  procedure d'appel dans le delai imparti ;

    OU

    o 3.4 l'interesse n'a pas rec;u personnellement la signification de la decision, mais

                            ii la recevra personnellement sans delai apres la remise, et

                                                                                            a
                           lorsqu'il l'aura rec;ue, ii sera expressement informe de son droit une nouvelle
                               a                           a
  procedure de jugement ou une procedure d'appel, laquelle l'interesse a le droit de participer et qui
  permet de reexaminer l'affaire sur le fond, en tenant compte des nouveaux elements de preuve, et peut
          a
  aboutir une infirmation de la decision initiale, et

                          ii sera informe du delai dans lequel ii doit demander une nouvelle procedure
  de jugement ou une procedure d'appel, soit ... jours.


  4. Si vous avez cache la case du point 3.1 b), 3.2 ou 3.3 ci-dessus, veuillez indiquer comment la
  condition concernee a ete remplie :




  e) lnfraction(s) :

  [M083] Le present mandat se rapporte au total    a 1 infraction
  [A042, A 043, A044 et A045] Description des circonstances dans lesquelles la ou les infractions ont ete
  commises, y compris le moment (la date et l'heure), le lieu ainsi que le degre de participation de la
                        a
  personne recherchee !'infraction ou aux infractions :

  Auteur des faits commis   a Paris 11 eme, le 20 aoQt 2015 ,

  Le 27 aoGt 2010, Monsieur Gregoire LAUTISSIER deposait plainte aupres du commissariat du 11 eme
  arrondissement de Paris. Son fils Brendan WALSH-LAUTISSIER ne le 7 janvier 1992 en Californie,
                                                                      a
  avec lequel ii entretenait des relations episodiques, etait venu son domicile parisien pour les vacances
                                                                                             a
  avec sa mere June en juin 2010. Le 20 aoGt 201 O, alors qu'il avait constate la disparition son domicile
  de documents importants et en discutait avec June HOPKINS, ii avait alors senti un liquide s'ecouler
                                                    a
  dans son dos et entendu le bruit d'un briquet deux reprises. II avait constate que son fils Brendan
                        a
  tentait de mettre feu !'essence dont ii l'avait asperge et lui portait un coup pour l'arreter. Ce dernier
  s'etant muni d'un petit sabre japonais, ii etait desarme par Antoine LAUTISSIER, son oncle. Brendan
  LAUTISSIER et sa mere quittaient les lieux. Demeurant introuvable, un mandat d'arret etait delivre le 14
  mai 2014 contre Brendan LAUTISSIER.
  Le 17 fevrier 2015, Gregoire LAUTISSIER et sa soeur Frederique VARENNES etaient victimes d'une
  tentative d'homicide. lls reconnaissaient Brendan LAUTISSIER et sa mere June HOPKINS SAIA
  comme etant leurs agresseurs. Ceux-ci etaient interpelles alors qu'ils tentaient de quitter la France le 18
  fevrier 2015. lls ont conteste l'integralite des faits.
  Detenus depuis le 20 fevrier 2015, ils ont ete liberes le 19 fevrier 2018. lls n'ont pas respecte leurs
  controle judiciaire et ne repondent plus aux convocations.




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                                    EXT-LAUTISSIER-00047
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  [A040 ET A041] Nature et qualification juridique de la ou des infractions et dispositions legales
  applicables :

  • Tentative d'homicide sur un ascendant


  Faits prevus et reprimes par /es articles 121-4, 121-5, 221-4, 221-8, 221-9, 221-9-1 et 221-11 du code
  penal



  [M083] I. Cacher le cas echeant, s'il s'agit d'une ou des infractions suivantes punies en France d'une
                                                           a
  peine d'une duree egale ou superieure 3 ans telles qu'elles sont definies par le droit fran<;;ais :

  o    Participation         a une organisation criminelle
  o    Terrorisme
  o    Traite des etres humains
  o    Exploitation sexuelle des enfants et pornographie infantile
  o    Trafic illicite de stupefiants et de substances psychotropes
  o    Trafic illicite d'armes, de munitions et d'explosifs
  o    Corruption


  o    Fraude, y compris la fraude portant atteinte aux interets financiers des Communautes
       europeennes au sens de la convention du 26 juillet 1995 relative a la protection des interets
       financiers des Communautes europeennes
  o    Blanchiment du produit du crime

  o    Faux monnayage, y compris la contrefac;;on de l'euro
  o    Cybercriminalite
  o    Crimes et delits contre l'environnement, y compris le trafic illicite d'especes animales menacees et
       le trafic illicite d'especes et d'essences vegetales menacees

   o   Aide           a l'entree et au sejour irreguliers
   o   Homicide volontaire, coups et blessures graves

   o   Trafic illicite d'organes et de tissus humains
   o   Enlevement, sequestration et prise d'otage
   o   Racisme et xenophobie
   o   Vols commis en bande organisee ou avec arme
   o   Trafic illicite de biens culturels, y compris antiquites et oeuvres d'art

   o    Escroquerie
   o    Extorsion
   o    Contrefac;;on et piratage de produits
   o    Falsification de documents administratifs et trafic de faux
   o    Falsification de moyens de paiement
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  o   Trafic illicite de substances hormonales et autres facteurs de croissance        "','lf                       (9

  o   Trafic illicite de matieres nucleaires et radioactives                       ~
                                                                                  (b
                                                                                  Q.
  o   Trafic de vehicules voles                                                   >(                    h \i"\oUb
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  o   Viol                                                                                     'ran~a1s-a, ·~
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  o   lncendie volontaire
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  o   Crimes et delits relevant de competence de la Cour penale internationale
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  o   Detournement d'avion/navire
                                                                                                    cour d'a?'Q

  o   Sabotage


  II.          [A044] Description complete de !'infraction ou des infractions qui ne relevent pas des cas
  vises au point I ci-avant :

  - Tentative d'homicide sur un ascendant

  Les faits d'aout 201 O
  Le 20 aout 2010, alors qu'il avait constate la disparition            a
                                                               son domicile de documents
  importants et en discutait avec June HOPKINS, Gregoire LAUTISSIER avait alors senti un
  liquide s'ecouler dans son dos et entendu le bruit d'un briquet                 a
                                                                      deux reprises. II avait
                                                               a
  constate que son fils Brendan tentait de mettre feu !'essence dont ii l'avait asperge et lui
  portait un coup pour l'arreter. Ce dernier s'etant muni d'un petit sabre japonais, ii etait
  desarme par Antoine LAUTISSIER, son oncle, le commencement d'execution etant ainsi
  caracterise et la tentative n'a manque son effet qu'en raison de circonstances
  independantes de la volonte de son auteur. Brendan LAUTISSIER et sa mere quittaient les
  lieux.


  Les faits du 17 fevrier 2015
  Mme HOPKINS SAIA June, dite WALSH June, a participe avec son fils Brendan
  LAUTISSIER, selon les informations recueillies par les enqueteurs et le juge d'instruction, a
  l'agression de Mme Frederique VARENNES (sceur de M Gregoire LAUTISSIER) et de
                                                                             a
  Gregoire LAUTISSIER. Au moment ou Mme VARENNES rentrait son domicile le 17 fevrier
  2015 a Chatou (78)a 19h15, elle recevait un violent coup a l'arriere du crane et perdait
  l'equilibre. Elle se retrouvait au sol face        a
                                               un individu casque qui tentait de l'etrangler. La
  victime apercevait une femme egalement grimee derriere son agresseur qui passait un lien                                a
  son complice. Le commencement d'execution etait ainsi materiellement caracterise.
                                                                         a
  L'intervention de plusieurs temoins obligeaient les assaillants quitter les lieux determinant
  l'arret de !'infraction, independamment de la volonte de leurs auteurs. Les auteurs Mme
  HOPKINS SAIA June et son fils Brendan LAUTISSIER etaient reconnus par Gregoire
  LAUTISSIER et reconnaissaient partiellement les faits notamment avoir ete presents sur les
  lieux, avoir pousse Mme VARENNES et porte des casques de moto et des gants.




   f) [M083] Autres circonstances pertinentes en l'espece (informations facultatives)
   (NB : if est possible d'inc/ure ici des remarques sur l'extra-territoria/ite, /es actes interruptifs de
   prescription et autres consequences de /'infraction)




                                     EXT-LAUTISSIER-00049


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  g) [M083] Le present mandat se rapporte egalement          a la saisie et a la remise des objets qui peuvent
                   a
  servir de pieces conviction.


  Le present mandat se rapporte egalement         a la saisie et a la remise des objets acquis par la personne
  recherchee du fait de !'infraction :

  description des objets (et lieu ou ils se trouvent) (s'ils sont connus) :




  h) [M083] o L'infraction ou les infractions pour laquelle ou lesquelles ce mandat a ete emis est ou sont
                                                                       a
  passibles d'une peine ou mesure de sQrete privative de liberte caractere perpetuel ou a (ont) eu pour
  effet une telle peine ou mesure :

                                1                 1
  LE SYSTEME JURIDIQUE DE L ETAT MEMBRE D EMISSION PREVOIT UNE REVISION DE LA PEINE INFLIGEE - SUR
  DEMANDE OU AU PLUS TARD APRES       20 ANS - EN VUE DE LA NON-EXECUTION DE CETTE PEINE OU MES URE.

  ET/OU


  LE SYSTEME JURIDIQUE FRAN9AIS PREVOIT L'APPLICATION DE MESURES DE CLEMENCE AUXQUELLES LA
  PERSONNE PEUT PRETENDRE EN VERTU DE LA LEGISLATION EN VUE DE LA NON-EXECUTION DE CETTE PEINE.




  i) [A030) Autorite judiciaire qui a emis le mandat :

  Designation officielle de l'autorite judiciaire : Procureur de la Republique pres le tribunal de grande
  instance de Paris

  Norn de son representant : Anne JONCOUX

  Fonction (titre) : Substitut du Procureur, Magistrat de l'ordre judiciaire

   Reference du dossier : 103360816

   Adresse : Tribunal de Paris - Parvis du Tribunal de Paris - 75859 PARIS CEDEX 17

   N° de tel. : (lndicatif du pays) (lndicatif de zone/ urbain)( ... ) +33 1 70 60 80 60

   N° de telecopie : (lndicatif du pays) (lndicatif de zone I urbain)( ... ) + 33 1 44 32 78 52


   E-mail : extradition.a2.tgi-paris@justice.fr

   Coordonnees de la personne a contacter afin de prendre les dispositions pratiques necessaires a la
   remise de la personne :
   M. Anne JONCOUX, Magistrat de l'ordre judiciaire, ainsi que le service des transferements (Direction
   de !'administration penitentiaire, madame Rohra GHOLEM) aux numeros suivants :
   N° de tel : 00 33 6'81 49 77 99
   N° de telecopie : oo 33 1 79 86 19 77
   BoTte str1,1c\Mr&~s: snt.dap-ems@justice.gouv.fr
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                            1                            1
       SIGNATURE DE L AUTORITE JUDICIAIRE D EMISSION (PROCUREUR GENERAL OU PROCUREUR DE LA
       REPUBLIQUE), OU DE SON REPRESENTANT



       NoM : Anne JONCOUX


       FoNCTION (TITRE) Substitut du Procureur


       DATE :        21   decembre      2018

       CACHET OFFICIEL (S'IL EST DISPONIBLE)




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            Mandat d'arret europeen en date du
                       21/12/2018
              Traduction en langue anglaise




                                 EXT-LAUTISSIER-00052


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                                           French Republic
                                [French moto: Liberty, Equality, Fraternity]

                PARIS COURT OF APPEAL - COUR D'APPEL DE PARIS
          PARIS HIGH COURT -TRIBUNAL DE GRANDE INSTANCE DE PARIS

EUROPEAN ARREST WARRANT

[A030] This warrant has been issued by a competent judicial authority. I request that the person
mentioned below be arrested and surrendered for the purposes of conducting a criminal prosecution
or executing a custodial sentence or detention order.


    a) Information regarding the identity of the requested person:

 (A006] Name:                              LAUTISSIER
 [A007] Forename(s):                       Brendan
 (A008] Maiden name, where applicable:
 [A011] Aliases, where applicable:         alias WALSH Brendan
        American passport: LAUTISSIER Brendan Christopher Walsh
 [A012] Sex:                               Male
 [A013] Nationality:                       American/French
 [A009] Date of birth:                     January 7, 1992
 (AOlO] Place of birth:                    Woodland Hills (California- UNITED
                                           STATES)
 [A061] Residence and/or known             71 Hillcrest Drive Laconia -New
        address:                           Hampshire- United States
 (M083] Language(s) which the requested person understands (if known): unknown
 [A058] Distinctive marks/description of the requested person: unknown

  [A059 and A060] Photo and fingerprints of the requested person, if they are available and can be
  transmitted, or contact details of the person to be contacted in order to obtain such information or
  a DNA profile (where this evidence can be supplied but has not been included):
  Photo of the requested person

     b) Decision on which the warrant is based:

 [A031 and A032] Arrest warrant or judicial decision having the same effect: Arrest warrant issued
 on August 3, 2018, by Ms. Virginie VAN GEYTE, investigating judge, Vice-President in charge
 of judicial investigation at the Paris High Court, in view of criminal prosecution

 (A033] Type: Arrest warrant pursuant to Section 131 of the French Criminal Procedure Code

 [A035 and A036] Enforceable judgment: NONE




                                                                               [stamp: Certified true copy
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                                                                               The registrar
                                                                                [Seal: Paris High Court]




                                        EXT-LAUTISSIER-00053


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I(A037] Reference:

     c) Indications on the length of the sentence:

 1 [A034] Maximum length of the custodial sentence or detention order which may be imposed for
 the offense(s):
                                             Life imprisonment
 2 [A038] Length of the custodial sentence or detention order imposed:


  [A039] Remaining sentence to be served:


  [M083] d) Indicate if the person appeared in person at the trial resulting in the decision:

      1. o Yes, the person appeared in person at the trial resulting in the decision.

      2.     o No, the person did not appear in person at the trial resulting in the decision

      3.     If you have ticked the box under point 2, please confirm the existence of one of the following:

       o 3.la. the person was summoned in person on ... (day/month/year) and thereby informed of the
       scheduled date and place of the trial which resulted in the decision and was informed that a
       decision may be handed down if he or she does not appear for the trial;

     OR

           o 3 .1 b. the person was not summoned in person but by other means actually received official
           information of the scheduled date and place of the trial which resulted in the decision, in such a
           manner that it was unequivocally established that he or she was aware of the scheduled trial, and
           was informed that a decision may be handed down ifhe or she does not appear for the trial;

     OR

           o 3.2. being aware of the scheduled trial, the person had given a mandate to a legal counsellor,
           who was either appointed by the person concerned or by the State, to defend him or her at the
           trial, and was indeed defended by that counsellor at the trial;

      OR
           o 3.3. the person was served with the decision on ... (day/month/year) and was expressly
           informed about the right to a retrial or appeal, in which he or she has the right to participate and
           which allows the merits of the case, including fresh evidence, to be reexamined, and which may
           lead to the original decision being reversed, and

                         o the person expressly stated that he or she does not contest this decision;


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                                            EXT-LAUTISSIER-00054


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OR
                o the person did not request a retrial or appeal within the applicable time frame;
OR

   o 3 .4. the person was not personally served with the decision, but

             the person will be personally served with this decision without delay after the
             surrender, and

                 when served with the decision, the person will be expressly informed of his or her
right to a retrial or appeal, in which he or she has the right to participate and which allows the merits
of the case, including fresh evidence, to be re-examined, and which may lead to the original decision
being reversed, and

               the person will be informed of the timeframe within which he or she has to request a
retrial or appeal, which will be ...... days.

4. If you have ticked the box under point 3 .1 b, 3 .2 or 3 .3 above, please provide information about
how the relevant condition has been met:


     d) Offenses:
 [M083} This warrant relates to a total of 1 offense.

[A042, A 043, A044 and A045] Description of the circumstances in which the offense(s) was(were)
committed, including the time, place and degree of participation in the offense(s) by the requested
person:

Perpetrator of the offense committed on August 20, 2015, in the 11th district of Paris,

On August 27, 2010, Mr. Gregoire LAUTISSIER filed a police report with the police station in the
11th district of Paris. His son, Brendan W ALSH-LAUTISSIER, born on January 7, 1992, in
California, with whom he had had little or episodic contact, came in June 2010 to his house in Paris
to spend the holidays together with his mother named June. On August 20, 2010, having noticed
that some important documents went missing from his home and whilst he was discussing the same
with June HOPKINS, he felt a liquid being poured on his back and heard the sound of a lighter being
struck twice. He understood that his son Brendan was attempting to set alight the fuel he had
showered him with. Mr. Gregoire LAUTISSIER hit him to make him stop. His son was holding a
small Japanese sword, but was disarmed by his uncle, Antoine LAUTISSIER. Brendan
LAUTISSIER and his mother left. As he remained unfound, an arrest warrant was issued on May
 14, 2014, against Brendan LAUTISSIER.
 On February 17, 2015, Gregoire LAUTISSIER and his sister Frederique VARENNES were victims
 of an attempted homicide. They identified their aggressors as being Brendan LAUTISSIER and his
 mother June HOPKINS SAIA. The latter were arrested as they were trying to leave France on
 February 18, 2015. They disputed the facts.
 They were held in detention starting February 20, 2015, and were released on February 19, 2018.
 Since, they have not complied with the judicial supervision measures pending trial and no longer
 responded when summoned.

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                                           03/13/20 Page 55 of 107
 [A040 and A041] Nature and legal classification of the offence(s) and the applicable statutory
provision/code:

- Attempted homicide against an ascendant

Offences defined and sanctioned by Sections 121-4, 121-5, 221-4, 221-8, 221-9, 221-9-1, and 221-
11 of the French Penal Code



[M083] I. If applicable, tick one or more of the following offences punishable in France by a
custodial sentence or detention order of a maximum of at least 3 years as defined by French law:

            o   Participation in a criminal organization
            o   Terrorism
            o   Trafficking in human beings
            o   Sexual exploitation of children and child pornography
            o   Illicit trafficking in narcotic drugs and psychotropic substances
            o   Illicit trafficking in weapons, munitions and explosives
            o   Corruption

            o   Fraud, including that affecting the financial interests of the European
                Communities within the meaning of the Convention of 26 July 1995 on the
                protection of European Communities' financial interests
            o   Laundering of the proceeds of crime

            o   Counterfeiting of currency, including the euro
            o   Computer-related crime
            o   Environmental crime, including illicit trafficking in endangered animal species
                and in endangered plant species and varieties
            o   Facilitation of unauthorized entry and residence
            o   Murder, grievous bodily injury
            o   Illicit trade in human organs and tissue
            o   Kidnapping, illegal restraint and hostage-taking
            o   Racism and xenophobia
            o   Organized or armed robbery;
            o   Illicit trafficking in cultural goods, including antiques and works of art
            o   Swindling
            o   Extortion
            o   Counterfeiting and piracy of products
            o   Forgery of administrative documents and trafficking therein
            o   Forgery of means of payment




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                                                                           The registrar
                                                                            [Seal: Paris High Court]



                                      EXT-LAUTISSIER-00056


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           o    Illicit trafficking in hormonal substances and other growth promoters
           o    Illicit trafficking in nuclear or radioactive materials
           o    Trafficking in stolen vehicles
           o    Rape
           o    Arson
            o   Crimes within the jurisdiction of the International Criminal Court
            o   Unlawful seizure of aircraft/ships
            o   Sabotage



II.      [A044] Full descriptions of offense(s) not covered by section I above:

~   Attempted homicide against an ascendant

Offense committed in August 2010
On August 20, 2010, having noticed that some important documents went missing from his
home and whilst discussing the same with June HOPKINS, Gregoire LAUTISSIER felt a liquid
being poured on his back and heard the sound of a lighter being struck twice. He understood
that his son Brendan was attempting to set alight the fuel he had poured on him. Mr. Gregoire
LAUTISSIER hit him to make him stop. His son was holding a small Japanese sword, but was
disarmed by his uncle, Antoine LAUTISSIER. The attempt is deemed to have been committed
as it was demonstrated by a beginning of execution and failed to achieve the desired effect
solely through circumstances independent of the perpetrator's will. Brendan LAUTISSIER and
his mother left the house.

Offense committed on February 17, 2015
According to the evidence collected by the police investigators and the investigating judge, Ms.
June HOPKINS SAIA, alias June WALSH, played a role in the aggression of Ms. Frederique
VARENNES (sister of Mr. Gregoire LAUTISSIER) and of Gregoire LAUTISSIER, together
with her son Brendan LAUTISSIER. On February 17, 2015, in Chatou (Yvelines department,
France) at 7:45 p.m., as she was on her way home, Ms. VARENNES was hit hard on the back
of her head and lost balance. She found herself lying on the ground and facing an individual
wearing a helmet and attempting to strangle her. The victim also perceived a woman with her
head covered, standing behind her aggressor, and handing a rope to her accomplice. The attempt
is deemed to have been committed as it was demonstrated by a beginning of execution. The
presence of multiple eye witnesses obliged the aggressors to leave the site, and thus put an end
to the attempt through circumstances independent of the perpetrators' will. The perpetrators,
Ms. HOPKINS SAIA June and her son Brendan LAUTISSIER, were identified by Gregoire
LAUTISSIER and partially corroborated the material facts, namely the fact that they were
present on site, struck Ms. VARENNES and that they were wearing motorcycle helmets and
gloves.


f) [M083] Other circumstances relevant to the case (optional information)
(NB: This could cover remarks on extraterritoriality, interruption ofperiods of time limitation and
other consequences of the offense)
                             o'VC,\~\ce ass6 r.

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                                                                          The registrar
                                                                           [Seal: Paris High Court]



                                     EXT-LAUTISSIER-00057


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                                          ••   - <,.
g) [M083] This warrant pertains also to the seizure and handing over of property which may be
required as evidence.

This warrant pertains also to the seizure and handing over of property acquired by the requested
person as a result of the offence:

description of the property (and location) (if known):




h) [M083} o The offence(s) on the basis of which this warrant has been issued is(are) punishable
by/has(have) led to a custodial life sentence or lifetime detention order or can result in such sentence
of order:

THE LEGAL SYSTEM OF ISSUING MEMBER STATE ALLOWS FOR A REVIEW OF THE
PENALTY OR MEASURE IMPOSED - ON REQUEST OR AT LEAST AFTER 20 YEARS -
AIMING AT A NON-EXECUTION OF SUCH PENALTY OR MEASURE.

AND/OR

THE LEGAL SYSTEM OF FRANCE ALLOWS FOR THE APPLICATION OF MEASURES OF
CLEMENCY TO WHICH THE PERSON IS ENTITLED UNDER THE LAW OR PRACTICE OF
THE ISSUING MEMBER STATE, AIMING AT NON-EXECUTION OF SUCH PENALTY OR
MEASURE.


i) [A030] The judicial authority which issued the warrant:

Official title of the judicial authority: Prosecutor of the Republic at the High Court of Paris
Name of its representative: Anne JONCOUX
Post held (title): Deputy Prosecutor, magistrate of the judiciary
File reference: 103360816
Address: Tribunal de Paris - Parvis du Tribunal de Paris - 75859 PARIS CEDEX 17
Tel. No.: (country code) (area/city code)( .. ) +33 1 70 60 80 60
Fax No. (country code) (area/city code)( ... ) +33 14432 78 52
 E-mail: extradition.a2.tgi-paris@justice.fr
 Contact details of the person to contact to make necessary practical arrangements for the
 surrender:
 Mr. [sic] Anne JONCOUX, magistrate of the judiciary, as well as the transfer service (Prison
 administration, Ms. Rohra GHOLEM) who can be reached at the following numbers:
 Tel no.: 00 33 6814977 99
 Fax no.: 00 33 1 79 86 19 77
 E-mail: snt.dap-ems(aijustice.gouv.fr



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                                                                             The registrar
                                                                              [Seal: Paris High Court]



                                       EXT-LAUTISSIER-00058


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SIGNATURE OF THE ISSUING JUDICIAL AUTHORITY (GENERAL PROSECUTOR OR
PROSECUTOR OF THE REPUBLIC) OR ITS REPRESENTATIVE

Name: Anne JONCOUX
Post held (title): Deputy Prosecutor
Date: December 21, 2018
Official stamp (if available)

                                               [illegible signature]
                                               [Stamp: Prosecution office
                                               Paris High Courtl


                                                       [stamp: Certified True Copy]
                                                       [signature] [handwritten: Court Registrar]

                                                       [Stamp: Prosecution office
                                                       Paris High Court]



                                                                        [Seal: Paris Court of Appeal]

                                             APOSTILLE
                               (Convention de la Haye du 5 octobre 1961)

          1- French Republic                                       [handwritten : UNITED STATES]

                 This public document
          2- has been signed by: N(4.
          3- acting as (9.ur_tR~gi$/rnr_
          4- bears the seal/stamp of: f.Wl$_Hjg/J,__(;_QJ.JJ:f

                                                      CERTIFIED
          5- in Paris, France
          6- on [$!.CJ.JJJP~.!Jpr.a)),)019.J
          7- by the General Prosecutor for the Paris Court ofAppeal
          8- No. 9972
          9- Seal/stamp [Stamp: Paris Court of Appeal]
          10- Signature [stamp: Michel Lemout, First Advocate General] [illegible signature]
                      "This Apostille only certifies the signature, and the seal
                    or stamp it bears. It does not imply that its content is correct
                         or that the French Republic approves this content".




Certified translation, certified true to the original in French language.
Translated by Grace Shalhoub, MA., Sworn Translator
accredited by the Paris Court ofAppeal, France
Signed on ~ ~ 1 JM9 under No. (9Sl:V\o{g _.4i




                                       EXT-LAUTISSIER-00059


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PARQUET




   •



         Textes de prevention et de repression
                   Version Fran~aise




                          EXT-LAUTISSIER-00060


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       TEXTES DU CODE DE PROCEDURE PENALE FRAN<;AIS RELATIFS
                A LA PRESCRIPTION ET AUX MANDATS D' ARRET
        et LOI n° 2017-242 du 27 fevrier 2017 portant reforme de la prescription
                                   en matiere penale



 Sur la prescription

 Article 7
 L'action publique des crimes se prescrit par vingt annees revalues       a compter     du jour ou
 !'infraction a ete commise.
 L'action publique des crimes mentionnes aux articles 706-16,706-26 et 706-167 du present
 code, aux aiiicles 214-1 a 214-4 et 221-12 du code penal et au livre N bis du meme code se
 prescrit par trente annees revolues a compter du jour ou !'infraction a ete commise.
 L'action publique des crimes mentionnes a !'article 706-47 du present code, lorsqu'ils sont
 cmmnis sur des mineurs, se prescrit par trente annees revolues a compter de la majorite de
 ces demiers.
 L'action publique des crimes mentionnes aux articles 211-1         a 212-3   du code penal est
 imprescriptible.

 Ancien Article 7 (Version en vigueur du 5 avril 2006 au 12 aout 2011)

      Modifie par Loi n°2006-399 du 4 avril 2006 - art. 14 JORF 5 avril 2006
 En matiere de crime et sous reserve des dispositions de !'article 213-5 du code penal, l'action
 publique se prescrit par dix annees revolues a compter du jour ou le crime a ete commis si,
 dans cet intervalle, il n'a ete fait aucun acte d'instmction ou de poursuite.
 S'il en a ete effectue dans cet intervalle, elle ne se prescrit qu'apres dix annees revolues a
 compter du demier acte. 11 en est ainsi meme a l'egard des personnes qui ne seraient pas
 impliquees dans cet acte d'instmction ou de poursuite.
 Le delai de prescription de l'action publique des crimes mentionnes a !'article 706-47 du
 present code et le crime prevu par l'article 222-10 du code penal, lorsqu'ils sont commis sur
 des mineurs, est de vingt ans et ne commence a courir qu'a partir de la majorite de ces
 demiers.


 Article 4 de la loin° 2017-242 du 27 fevrier 2017 :

 La presente loi ne peut avoir pour effet de prescrire des infractions qui, au moment de son
 entree en vigueur, avaient valablement donne lieu a la mise en mouvement ou a l'exercice de
 l'action publique a une date a laquelle, en vertu des dispositions legislatives alors applicables
 et confonnement aleur interpretation jurispmdentielle, la prescription n'etait pas acquise.



                                                                       Ahmad GHAZLEH
 Article 9-2

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                                  EXT-LAUTISSIER-00061


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Le mandat de comparution a pour objet de mettre en demeure la perso1U1e a l'encontre de
laquelle il est deceme de se presenter devant le juge a la date et a l'heure indiquees par ce
mandat.
Le mandat d'amener est l'ordre donne a la force publique de conduire immediatement devant
lui la perso1U1e al'encontre de laquelle i1 est deceme.
Le mandat d'arret est l'ordre donne a la force publique de rechercher la personne al'encontre
de laquelle i1 est decerne et de la conduire devant lui apres l'avoir, le cas echeant, conduite a
la maison d'arret indiquee sur le mandat, ou elle sera re9ue et detenue.
Le juge d'instruction est tenu d'entendre comme temoins assistes les personnes contre
lesquelles il a ete deceme un mandat de comparution, d'amener ou d'arret, sauf ales mettre en
examen conformement aux dispositions de !'article 116. Ces personnes ne peuvent pas etre
mises en garde avue pour les faits ayant donne lieu a la delivrance du mandat.
Le mandat de depot peut etre deceme a l'encontre d'une personne mise en examen et ayant
fait l'objet d'une ordonnance de placement en detention provisoire. I1 est l'ordre donne au chef
de l'etablissement penitentiaire de recevoir et de detenir la personne a l'encontre de laquelle i1
est deceme. Ce mandat permet egalement de rechercher ou de transferer la personne lorsqu'il
lui a ete precedemment notifie.

Article 123

Tout mandat precise l'identite de la personne al'encontre de laquelle il est deceme ; ii est date
et signe par le magistrat qui l'a decerne et est revetu de son sceau.
Les mandats d'amener, de depot, d'arret et de recherche mentionnent en outre la nature des
faits imputes ala personne, leur qualification juridique et les articles de loi applicables.
Le mandat de comparution est signifie par huissier a celui qui en est l'objet ou est notifie a
celui-ci par un officier ou agent de la police judiciaire, ou par un agent de la force publique,
lequel lui en delivre copie.
Le mandat d'amener, d'affet ou de recherche est notifie et execute par un officier ou agent de
la police judiciaire ou par un agent de la force publique, lequel en fait !'exhibition a la
personne et lui en delivre copie.
Si la personne est deja detenue pour une autre cause, la notification lui est faite comme il est
dit a l'alinea precedent, ou, sur instructions du procureur de la Republique, par le chef de
l'etablissement penitentiaire qui en delivre egalement une copie.
Les mandats d'amener, d'a11'et et de recherche peuvent, en cas d'urgence et.re diffuses par tous
moyens.
Dans ce cas, les mentions essentielles de !'original et specialement l'identite de la personne  a
l'encontre de laquelle il est deceme, la nature des faits qui lui sont imputes et leur
qualification juridique, le nom et la qualite du magistrat mandant doivent etre precises.
                                                a
L'original ou la copie du mandat est transmis l'agent charge d'en assurer !'execution dans les
delais les plus brefs.

Article 131

Si la personne est en fuite ou si elle reside hors du teffitoire de la Republique, le juge
d'~struction,=,ap~~iovj~ 1guJ)!;-OJCllitteur de la Republique, peut decerner contre elle un mandat
d'arMPsr l~'fait  co~rt       une peine d'emprisonnement conectionnelle OU une peine plus

                                                                            Ahmad GHAZLEH

                                                                              NE VARIETU
                                   EXT-LAUTISSIER-00062


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                      TEXTES DU CODE PENAL FRANCAIS
                SUR LES QUALIFICATIONS PENALES APPLICABLES


Sur la tentative

Article 121-4


Est auteur de !'infraction la personne qui :

1. 1° Commet les faits incrimines ;

2° Tente de commettre un crime ou, dans les cas prevus par la Joi, un delit.

Article 121-5


La tentative est constituee des lors que, manifestee par un commencement d'execution, elle n'a
ete suspendue ou n'a manque son effet qu'en raison de circonstances independantes de la
volonte de son auteur.


Sur l'homicide sur un ascendant


Article 221-1

Le fait de donner volontairement la mort       a autrui constitue un meurtre. 11 est puni de trente
ans de reclusion criminelle.


Article 221-4

Le meurtre est puni de la reclusion criminelle     a perpetuite Jorsqu'il est commis :
 1° Sur un mineur de quinze ans ;

 2° Sur un ascendant legitime ou naturel ou sur Jes pere ou mere adoptifs;

 3° Sur une personne dont la particuliere vulnerabilite, due a son age, aune maladie, aune
 infirmite, aune deficience physique ou psychique ou a un etat de grossesse, est apparente ou
 connue de son auteur ;

 4° Sur un magistrat, un jure, un avocat, un officier public ou ministeriel, un militaire de la
 gendarmerie nationale, un fonctionnaire de la police nationale, des douanes, de !'administration
 penitentiaire ou toute autre personne depositaire de l'autorite publique, un sapeur-pompier
 professionnel ou volontaire, un gardien assermente d'immeubles ou de groupes d'immeubles ou
 un agent exen;ant pour le compte d'un bailleur des fonctions de gardiennage ou de surveillance
 des immeubles ausage d'habitation en application de l'article L. 271-1 du code de la securite
 interieure, dans l'exercice ou du fait de ses fonctions, lorsque la qualite de la victime est
 apparente ou connue de l'auteur ;                                  )




                                      EXT-LAUTISSIER-00063


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4 ° bis Sur un enseignant ou tout membre des personnels travaillant dans les etablissements
d'enseignement scolaire, sur un agent d'un exploitant de reseau de transport public de
voyageurs ou toute personne chargee d'une mission de service public, ainsi que sur un
professionnel de sante, dans l'exercice ou du fait de ses fonctions, lorsque la qualite de la
victime est apparente ou connue de l'auteur ;

4° ter Sur le conjoint, les ascendants ou les descendants en ligne directe ou sur toute autre
personne vivant habituellement au domicile des personnes mentionnees aux 4° et 4° bis, en
raison des fonctions exercees par ces dernieres ;

5° Sur un temoin, une victime ou une partie civile, soit pour l'empecher de denoncer les faits,
de porter plainte ou de deposer en justice, soit en raison de sa denonciation, de sa plainte ou
de sa deposition ;

6° et 7° (abroges)

8° Par plusieurs personnes agissant en bande organisee;

9° Par le conjoint ou le concubin de la victime ou le partenaire lie a la victime par un pacte
civil de solidarite ;

10° Contre une personne en raison de son refus de contracter un mariage ou de conclure une
umon.

Les deux premiers alineas de !'article 132-23 relatif ala periode de surete sont applicables aux
infractions prevues par le present article. Toutefois, lorsque la victime est un mineur de quinze
ans et que le meurtre est precede ou accompagne d'un viol, de tortures ou d'actes de barbarie
ou lorsque le meurtre a ete commis en bande organisee sur un magistrat, un fonctionnaire de la
police nationale, un militaire de la gendarmerie, un membre du personnel de !'administration
penitentiaire ou toute autre personne depositaire de l'autorite publique, a !'occasion de
l'exercice ou en raison de ses fonctions, la cour d'assises peut, par decision speciale, soit porter
la periode de surete jusqu'a trente ans, soit, si elle prononce la reclusion criminelle a
perpetuite, decider qu'aucune des mesures enumerees a!'article 132-23 ne pourra etre
accordee au condamne ; en cas de commutation de la peine, et sauf si le decret de grace en
 dispose autrement, la periode de surete est alors egale ala duree de la peine re&lJ.!Mttlt:if!l&er0
                                                                                                     0
mesure de grace.                                                                ~to-                  '>
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                                                                              w          Grace S1 \a ""\a\s-Mb,e
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 Sur I' assassinat                                                              en 1an(}1.1es~~'i,            f
 Article 221-3              ~·             ·. .
                                                  '                                ..0
                                                                                     ~@,s         tA~ \c?Q
 Le meurtre commis avec p'femeditation ou guet-apens constitue un assassinat.            rf'%stqmrii'i!P9:
 reclusion criminelle aperpetuite.
 Les deux premiers alineas de !'article 132-23 relatif a la periode de surete sont applicables a
 !'infraction prevue par le present article. Toutefois, lorsque la victime est un mineur de quinze
 ans et que l1assassinat est precede ou accompagne d1un viol, de tortures ou d'actes de barbarie
 ou lorsque l'assassinat a ete commis sur un magistrat, un fonctionnaire de la police nationale,
 un militaire de la gendarmerie, un membre du personnel de l'administration penitentiaire ou
 toute autre personne depositaire de l'autorite publique, a l'occasion de l'exercice ou en raison




                                      EXT-LAUTISSIER-00064


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de ses fonctions, la cour d'assises peut, par decision speciale, soit porter la periode de sOrete
jusqu'a trente ans, soit, si elle prononce la reclusion criminelle a perpetuite, decider qu'aucune
des mesures enumerees a }'article 132-23 ne pourra etre accordee au condamne; en cas de
commutation de la peine, et sauf si le decret de grace en dispose autrement, la periode de
                       a
sOrete est alors egale la duree de la peine resultant de la mesure de grace.


Article 132-171-1
Le guet-apens consiste dans le fait d'attendre un certain temps une ou plusieurs personnes dans
un lieu determine pour commettre a}eur encontre une      OU   plusieurs infractions.
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Surles peines complementaires applicables aux personnes physiques w                                  sna\\'\01.lb .
                                                                                                Grace ais-ang\ais-1'\ebr
                                                                                  en \angues tranG .kl
Article 221-8                                                                              /.:t,~ "-ll                      .~
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                                                                                   -o,...(S)'                 A~     e,q_
Les personnes physiques coupables des infractions prevues au present chapitre eitfu~ffnt      ve\ i:}     ~
'ega1ement 1es pemes
                 ·       }'     ·      ·
                     comp ementalfes su1vantes :                                     Ur  d a.9

 1° L'interdiction, suivant les modalites prevues par !'article 131-27, soit d'exercer une fonction
                                                                                  a
 publique ou d'exercer l'activite professionnelle ou sociale dans l'exercice ou !'occasion de
 l'exercice de laquelle !'infraction a ete commise, soit, pour les crimes prevus par les articles
 221-l,221-2,221-3,221-4 et 221-5, d'exercer une profession commerciale ou industrielle, de
                                                  a
 diriger, d'administrer, de gerer ou de controler un titre quelconque, directement ou
 indirectement, pour son propre compte ou pour le compte d'autrui, une entreprise
 commerciale ou industrielle ou une societe commerciale. Ces interdictions d'exercice peuvent
 etre prononcees cumulativement ;

 2° L'interdiction de detenir ou de porter, pour une duree de cinq ans au plus, une arme
 soumise a autorisation ;

 3 ° La suspension, pour une duree de cinq ans au plus, du permis de conduire, cette suspension
                       a
 pouvant etre limitee la conduite en dehors de l'activite professionnelle ; dans les cas prevus
 par l'article 221-6-1, la suspension ne peut pas etre assortie du sursis, meme partiellement, et
 ne peut pas etre limitee a la conduite en dehors de l'activite professionnelle ; clans les cas
 prevus par !es l O a 6° et le dernier alinea de !'article 221-6-1, la duree de cette suspension est
 de dix ans au plus ;

 4° L'annulation du permis de conduire avec interdiction de solliciter la delivrance d'un nouveau
 permis pendant cinq ans au plus ;

 4 ° bis L'obligation d'accomplir un stage de sensibilisation aux dangers de l'usage de produits
                                         a
 stupefiants, selon les modalites fixees !'article 131-35-1 ;

 5° La confiscation d'une ou de plusieurs armes dont le condamne est proprietaire ou dont il a
 la libre disposition ;

 6° Le retrait du permis de chasser avec interdiction de solliciter la delivrance d'un nouveau
 permis pendant cinq ans au plus ·




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7° Dans les cas prevus par !'article 221-6-1, !'interdiction de conduire certains vehicules
terrestres amoteur, y compris ceux pour la conduite desquels le permis de conduire n'est pas
exige, pour une duree de cinq ans au plus ;

8° Dans Jes cas prevus par !'article 221-6-1, !'obligation d'accomplir,   ases frais, un stage de
sensibilisation a la securite routiere ;

9° Dans les cas prevus par !'article 221-6-1, !'immobilisation, pendant une duree d'un an au
plus, du vehicule dont le condamne s'est servi pour commettre !'infraction, s'il en est le
proprietaire ; .

10° Dans les cas prevus par !'article 221-6-1, la confiscation du vehicule dont le condamne
s'est servi pour commettre !'infraction, s'il en est le proprietaire ;

La confiscation du vehicule est obligatoire dans les cas prevus par Jes 4° et dernier alinea de
!'article 221-6-1 ainsi que, dans les cas prevus par Jes 2°, 3° et 5° du meme article, en cas de
recidive OU si }a personne a deja ete definitivement condamnee pour Un des de}its prevus par
les articles L. 221-2, L. 224-16, L. 234-1, L. 234-8, L. 235-1, L. 235-3 ou L. 413-1 du code
de la route ou pour la contravention mentionnee a ce meme article L. 413-1. La juridiction
peut toutefois ne pas prononcer cette peine, par une decision specialement motivee.

11 ° Dans les cas prevus par les 2° et dernier alinea de !'article 221-6-1, !'interdiction, pendant
une duree de cinq ans au plus, de conduire un vehicule qui ne soit pas equipe par un
professionnel agree ou par construction d'un dispositif d'anti-demarrage par ethylotest
electronique, homologue dans les conditions prevues a}'article L. 234-17 du code de la route.
Lorsque cette interdiction est prononcee en meme temps que la peine d'annulation ou de
suspension du permis de conduire, elle s'applique, pour la duree fixee par la juridiction, a
}'issue de !'execution de cette peine.

 Toute condamnation pour les delits prevus par les 1° a 6° et le dernier alinea de !'article 221-6-
 1 donne lieu de plein droit al'annulation du pennis de conduire avec interdiction de solliciter
 un nouveau permis pendant dix ans au plus. En cas de recidive, la duree de !'interdiction est
 portee de plein droit a dix ans et le tribunal peut, par decision specialement motivee, prevoir
 que cette interdiction est definitive.

 II. - En cas de condamnation pour les infractions prevues a la section 1 du present chapitre, le
 prononce des peines complementaires prevues aux 2°, 5° et 6° du I est obligatoire. La duree
 des peines prevues aux 2° et 6° du I est portee a quinze ans au plus.
                                                                                                     :1J\ce ass 0
 Toutefois, la juridiction peut, par une decision specialement motivee lorsque la con~iation                        '1'0
 est prononcee par une juridiction correctionnelle, decider de ne pas prononcer ce{Peines, en                               ~
 consideration des circonstances de !'infraction et de la personnalite de son auteul§:                               'o
                                                                                      u}        Grace sna\~1~1s-\"le            r
                                                                                                         Qa1s-a,~
                                                                                       en 1an9ues ~~i.Jt                            f
 Article 221-9                                                                             -0                               <2..rt:J
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                                                                                                &I                   e\
 Les personnes physiques coupables des infractions prevues par la section 1 du present           i~e·          9Q
 encourent egalement les peines complementaires suivantes :

 1° L'interdiction des droits civiques, civils et de famille, selon Jes modalites prevues par !'article




                                      EXT-LAUTISSIER-00066


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131-26;

2° L'interdiction d'exercer une fonction publique, selon les modalites prevues par l'article 131-
27;

3 ° La confiscation prevue par l'article 131-21 ;

4° L'interdiction de sejour, suivant les modalites prevues par l'article 131-31.

Article 221-9-1

Les personnes physiques coupables des crimes prevus par la section 1 du present chapitre
encourent egalement le suivi socio-judiciaire selon les modalites prevues par les articles 131-
36-1 a 131-36-13.



Article 221-11
L'interdiction du territoire franvais peut etre prononcee dans les conditions prevues par l'article
131-30, soit atitre definitif, soit pour une duree de dix ans au plus, al'encontre de tout
etranger coupable de l'une des infractions definies ala section I du present chapitre.




                                                                                    Grace Shalhoub
                                                                     en langues fran~ais-anglais-heb

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PARQUET

TRIBUNAL
DE GRANDE
INBTANCE
DE PARIS


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         Textes de prevention et de repression
            Traduction en langue anglaise




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Applicable Texts from the French Code of Criminal Procedure in relation to Limitations
 and Arrest Warrants and Law No. 2017-242 of27 February 2017 Reform of the statute
                            of limitations in criminal cases
Code of Criminal Procedure

On limitation
Article 7

The limitation period for the prosecution of felonies is twenty years from the day of the
commission of the felony.

The limitation period of felonies set out in articles 706-16, 706-26 and 706-167 of this code,
and in articles 214-1 to 214-4 and 221-12 of the Criminal Code and Book IV a of this code is
time-barred by the passing of thirty years from the day of the commission of the felony.
The limitation period for the prosecution of the felonies set out in article 706-47 of this code
when committed against minors is thirty years, and only starts to run from their coming of age.
The limitation period for the prosecution of felonies set out in articles 211-1 to 212-3 of the
Criminal Code are not time-barred.


Previous Article 7
(applicable version from April 5th 2006 to August 12th 2011)
Modified by Law n°2006-399 of the 4th of April 2006-art.14 Official Journal April 5th 2006.
Subject to the provisions of article 213-5 of the Criminal Code, prosecution in felony cases is
time-barred by the passing of ten years from the day of the commission of the felony if, during
this period, no step in investigation or prosecution was taken.
Where such steps were taken, it is time-barred only after the passing often years starting from
the last step taken. This applies even in respect of those persons who would not have been
affected by this investigation or prosecution step.
The limitation period for the prosecution of the felonies set out in article 706-4 7 of this code
and the felony set out in article 222-10 of the Criminal Code when committed against minors
is twenty years, and only starts to run from their coming of age.
Article 4 of Law 2017-242 of27 February 2017:
The Law must not have the effect of making an offense time-barred if, at the time the Law
comes into force, public prosecution had been validly initiated or exercised in relation to that
offense.
Article 9-2
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 An arrest warrant is the order given to the law-enforcement authorities to find the person against
 whom it is made and to bring him before him, having first taken him, if appropriate, to the
 remand prison mentioned on the wanant, where he will be received and detained.
 The investigating judge is required to hear as assisted witnesses any persons against whom there
 has been issued a subpoena, a summons or an arrest warrant, unless they are placed under
 judicial examination according to the provisions of article 116. These persons cannot be put in
 custody for the offences following which the AlTest Warrant was issued.
 A committal warrant may be issued against a person who is under judicial examination and who
 has been the subject of an order placing him in pre-trial detention. It is an order to the prison
 governor to receive and detain the person against whom it has been made. This warrant also
 authorises the collection or the transfer of the person concerned, so long as he has been
 previously notified.
 Article 123

 Every warrant specifies the identity of the person against whom it is made; it is dated and signed
 by the judge who makes it and it bears his seal.

 Summonses, committal orders, warrants for an·est and wanants to search for people also
 mention the type of charges brought against the named person, their legal qualification and the
 applicable legal statutes.

 A subpoena is served by a bailiff to the person against whom it are made, or is served on this
 person by a judicial police officer or agent, or by an agent of the law-enforcement authorities,
 who hands him a copy of it.

 A summons, an a1Test wanant and a wa1Tant to search for a person is served and enforced by a
 judicial police officer or agent or by an agent of the law-enforcement authorities, who shows
 the wanant to the person and hands him a copy of it.

 If the person has already been detained for another reason, the wanant is served as indicated in
 the previous paragraph or, on the district prosecutor's instructions, by the prison governor, who
 also delivers a copy of the warrant.
 In urgent cases, summonses, arrest wa1Tants and warrants to search for people may be sent by
 any possible means.
 Where this is the case, the essential information from the original waITant, especially the
 identity of the person against whom it is made, the type of offences he is charged with and their
 legal qualification, the name and position of the judge making the warrant must all be specified.
 The original wanant or its copy is sent as quickly as possible to the agent in charge of enforcing
 it.
 Article 131
 If the person has absconded or if he resides outside the territory of the Republic, the
 investigating judge may, after hearing the opinion of the district prosecutor, issue an arrest
 warrant against him if the offence carries a misdemeanour imprisonment penalty or a more
 serious penalty



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On attempt

Article 121-4

The perpetrator of an offense is the person who:

1. 1° commits the criminally prohibited acts;

2° attempts to commit a felony or, in the cases provided for by Statute, a misdemeanor.


Article 121-5

An attempt is committed where, being demonstrated by a beginning of execution, it was
suspended or failed to achieve the desired effect solely through circumstances independent of
the perpetrator's will.


 On homicide against an ascendant

 Article 221-1

 The willful causing of the death of another person is murder. It is punished with thirty years'
 criminal imprisonment.

 Article 221-4

 Murder is punished by criminal imprisonment for life where it is committed:

 1° against a minor under fifteen years of age;

 2° against a natural or legitimate ascendant or the adoptive father or mother;

 3 ° against a person whose particular vulnerability, due to age, sickness or infirmity, or to any
 physical or psychological disability or to pregnancy, is apparent or known to the perpetrator;

 4° against a judge, a juror, a lawyer, a ministerial or a public officer, a member of the
 gendarmerie, a civil servant of the national police, customs authorities, the penitentiary
 administration or against any other person holding public authority, a fireman (whether
 professional or volunteer), the accredited warden of a building or group of buildings or an
 agent carrying out on behalf of the tenant the duty of caring for or watching an inhabited
 building in pursuance of article L. 127 .1 of the French Code of Interior Security, in the
 exercise or on account of his functions or mission, when the capacity of the victim is known
 or apparent to the perpetrator;




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4 °bis against a teacher or a staff member working in an educational or schooling
establishment, against a person employed by a public transport network or any other person
carrying out a public service mission or against a health professional in the exercise of his
duties, where the status of the victim is apparent or known to the perpetrator;

4 °ter against the spouse, the ascendants and direct descendants or against any other person
who habitually resides in the home of the persons mentioned in 4° and 4°bis, because of the
duties carried out by these persons;

5° against a witness, a victim or civil party, either to prevent him from denouncing the .acJi~~-
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filing a complaint or making a statement before a court, or because of his report, c~~l~int ;/ i,,~
statement;
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6° and 7° (revoked)                                                             ft
 8° by several people acting as an organized gang;

 9° by the spouse or the common-law spouse of the victim or the partner oftR
 whom he or she had signed a civil partnership (P ACS);

 10° against any person because of his or her refusal to enter into marriage or any union
 whatsoever.

 The first two paragraphs of article 132-23 governing the safety period are applicable to the
 offenses set out under the present article. Nevertheless, where the victim is a minor of fifteen
 years of age and the murder is preceded by or accompanied by rape, torture or acts of
 barbarity, or when the murder was committed by an organized group against a judge, a
 member of the geridarmerie, a civil servant of the national police, staff of the penitentiary
 administration or against any other person holding public authority, in the exercise or on
 account of his functions or mission, the Cour d'assises may by a special decision either
 increase the safety period up to thirty years, or, where it orders life imprisonment, decide that
 none of the measures enumerated under article 132-23 shall be granted to the convicted
 person; where the penalty is commuted, and unless the decree of pardon otherwise provides,
 the safety period is then equal to the length of the sentence resulting from the pardon.


  On Murder

  Article 221-3
  Murder committed with premeditation or ambush is defined as assassination. Assassination is
  punished by a criminal imprisonment for life.

  The first two paragraphs of article 132-23 governing the safety period apply to the offense
  under the present article. Nevertheless, where the victim is a minor who is under fifteen years
  of age and the assassination is preceded by or accompanied by rape, torture or acts of
  barbarity, or when the murder was committed by an organized group against a judge, a
  member of the gendarmerie, a civil servant of the national police, staff of the penitentiary
  administration or against any other person holding public authority, in the exercise or on



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account of his functions or mission, the Cour d'assises may by a special decision either
increase the safety period to thirty years, or, where it imposes criminal imprisonment for life,
decide that none of the measures enumerated under Article 132-23 shall be granted to the
convicted person. Where the sentence is commuted, and unless the decree of pardon otherwise
provides, the safety period is equal to the length of the sentence resulting from the pardon.

Article 132-171-1 [sic: Article 132-71-1]

Ambush consists of waiting for one or more people a certain period of time in a certain place
in view of committing one or more offenses against them.


On additional penalties applicable to natural persons

Article 221-8

Natural persons convicted of the offenses set out under the present chapter also incur the
following additional penalties.

 1° prohibition, pursuant to the conditions set out under Article 131-2 7, either to hold public
 office or pursue the social or professional activity in the exercise of which or on the occasion
 of the exercise of which the offense was committed, or, for the felonies provided for by
 articles 221-1, 221-2, 221-3, 221-4 and 221-5, to pursue a commercial or industrial activity, or
 to manage, administer, control or lead, in any quality whatsoever, directly or indirectly, on his
 or her behalf or on behalf of a third party, a commercial or industrial activity or a business
 enterprise. Such prohibitions may apply cumulatively;

 2° prohibition to hold or to carry, for a maximum period of five years, a weapon requiring a
 license;

 3° suspension of the driving license for a maximum period of five years; this suspension may
 be limited to driving outside a professional activity; in the cases provided for by article 221-6-
 L this measure may not be suspended, even partially, and may not be limited to driving other
 than in the exercise of a professional activity; in the cases provided for by paragraphs 1° to 6°
 and by the last paragraph of article 221-6-1, the maximum period of suspension is ten years;

 4° cancellation of the driving license, together with the prohibition, for a maximum period of
 five years, to apply for the issue of a new one;

  4°bis the obligation to complete an awareness-raising course on the dangers of the use of
  narcotic drugs, in the terms provided for by article 131-3 5-1;

  5° confiscation of one or more weapons belonging to the convicted person or which he has
  freely available to him;

  6° withdrawal of the hunting license, together with a prohibition, for a maximum period of
  five years, to apply for the issue of a new one;                               c\.rice ass0 ,,...
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7° in cases provided for by article 221-6-1, the prohibition from driving certain motor
vehicles, including those for which a driving license is not required, for a maximum period of
five years;

8° in cases provided for by article 221-6-1, the requirement to complete a road safety
awareness course, at the offender's expense;

9° in cases provided for by article 221-6-1, the immobilization of the vehicle used by the
convicted person in committing the offense, if this vehicle belongs to him, for a period of up
to one year;

10° in cases provided for by article 221-6-1, the confiscation of the vehicle used by the
convicted person in committing the offense, if this vehicle belongs to him.

The confiscation of the vehicle is mandatory in the cases provided for in the fourth and last
paragraphs of article 221-6-1 as well as, in the cases provided for in paragraphs 2, 3 and 5 of
the same article, in case of recidivism or if the person already received a final sentence for
one of the misdemeanors provided for in articles L. 221-2, L. 224-16, L. 234-1, L. 234-8,
L. 235-1, L. 235-3 or L. 413-1 of the French Traffic Code or received a ticket for the offense
referred to in Article L. 413-1. The court may, nonetheless, chose not to impose such
measures, by a specially motivated decision.

 11 ° In the cases provided for in the second and last paragraphs of article 221-6-1, the
 prohibition, for a maximum period of five years, of driving any vehicle that has not been
 equipped, by an accredited professional or by construction, of a breath alcohol ignition
 interlock device approved and compliant with the conditions provided for in article L. 234-17
 of the French Road Traffic Code. When this prohibition is imposed at the same time as the
 driving license cancellation or suspension penalty, it starts to apply, for the duration set by the
 court, after serving said penalty.

 Any conviction for the misdemeanors provided for by paragraphs 1° to 6° and by the last
 paragraph of article 221-6-1 results in the automatic cancellation of the driving license with
 the prohibition to apply for a new license for a maximum period often years. In the case of
 recidivism, the length of the ban is automatically increased to ten years, and the court may, by
 a specially motivated decision, rule that the ban shall be for life.         P!
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 II. - In the case of conviction for the offenses provided for in section 1 of this chapter{fue,;
 additional penalties provided for in paragraphs 2 °, 5° and 6° of I shall be mandatory:               ;1'lle: · •·
 duration of the penalties provided for in paragraphs 2° and 6° ofl is increased up to="···--~.
 maximum of fifteen years.

 However, the court may, by a specially motivated decision when the sentence is pronounced
 by a correctional court, chose not to impose such measures, taking into consideration the
 circumstances of the offense and the personality of the offender.

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 Article 221-9
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 Natural persons convicted of the offenses set out under Section 1 of the pr~t chapter als~ b
 incur the following additional penalties:                                         Grafce s:s~an~~is-nebre
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1° prohibition of civic, civil and family rights, pursuant to the conditions set out under article
131-26;
2° prohibition to hold public office, pursuant to the conditions set out under article 131-27;

3° confiscation set out under article 131-21;

4° area banishment, pursuant to the conditions set out under article 131-31.



Article 221-9-1

Natural persons guilty of the felonies provided for in Section 1 of the present chapter are also
liable to socio-judicial probation in the manner set out under articles 131-36-1 to 131-36-13.



Article 221-11

Any alien convicted of any of the offenses set out under Section 1 of the present chapter may
be banished from French territory either permanently or for a maximum period of ten years,
pursuant to the conditions set out under article 131-10.




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     DU
TJ !BUNAL
DI GRANDE
11' STANCE
D    PARIS


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    Copie du traite d'extradition entre la France
    et les Etats-Unis d' Amerique signe le 23 avril
                          1996




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         TRAITE D'EXTRADITION ENTRE LA FRANCE ET LES ETATS-UNIS D'AMERIQUE
          (ENSEMBLE UN PROCES-VERBAL D'ACCORD SUR LA REPRESENTATION),
                            SIGNE A PARIS LE 23 AVRIL 1996




Le President de la Republique fran9aise, Le President des Etats-Unis d'Amerique,
Rappelant la Convention d'extradition, avec Protocole, entre la Republique fran9aise et les Etats-Unis
d'Amerique, signee a Paris le 6 janvier 1909 et la Convention additionnelle d'extradition, signee a Paris le
12 fevrier 1970, avec echange de lettres des 2 et 11 juin 1970, notant que ces conventions sont toujours
en vigueur entre le Gouvernement de la Republique fran9aise et le Gouvernement des Etats-Unis
d'Amerique jusqu'a l'entree en vigueur du present Traite ;
Desireux d'etablir une cooperation plus efficace entre leurs Etats en vue de la repression de la criminalite
et afin de faciliter leurs relations en matiere d'extradition par la conclusion d'un traite d'extradition ;
ant resolu de conclure un nouveau Traite d'extradition et a cette fin ant designe comme plenipotentiaires :
Le President de la Republique fran9aise : M. Jacques Toubon, garde des sceaux, ministre de la justice ;
Le President des Etats-Unis d'Amerique : Mme Janet Reno, Attorney general des Etats-Unis d'Amerique,
lesquels, apres s'etre mutuellement communique leurs pleins pouvoirs reconnus en bonne et due forme,
sont convenus des articles suivants :

Article 1er Obligation d'extrader

Les Etats contractants s'engagent a se livrer reciproquement, selon les dispositions du present Traite,
toute personne qui est poursuivie au condamnee par les autorites competentes de l'Etat requerant pour
une infraction donnant lieu a extradition.

Article 2 Infractions donnant lieu   a extradition
1.   Donnent lieu a extradition les infractions punies selon les lois des deux Etats, d'une peine privative de
     liberte d'un maximum d'au mains un an au d'une peine plus severe. En outre, si !'extradition est
     demandee pour !'execution d'un jugement, la partie de la peine restant encore a executer doit etre
     d'au mains six mois.
2. Donnent egalement lieu a extradition les faits constitutifs d'une tentative au de complicite d'infractions
     au d'une participation a une association de malfaiteurs, telles que prevues au paragraphe 1er du
     present article.
3. Aux fins du present article, une infraction donne lieu a extradition :
a) Que les legislations des deux Etats contractants classent ou non !'infraction dans la meme categorie
     au la decrivent au non dans des termes identiques ;
b) lndependamment de la circonstance selon laquelle ii s'agit d'une infraction pour laquelle la loi
     federale des Etats-Unis exige la preuve d'un element tel qu'un transport entre deux Etats, !'utilisation
     des services postaux, telegraphiques ou d'autres moyens d'echanges entre Etats des Etats-Unis
     d'Amerique au avec l'etranger au les effets sur ces echanges, un tel element de preuve etant requis a
     la seule fin d'etablir la competence des juridictions federales des Etats-Unis.
4.L'extradition est accordee pour une infraction, donnant lieu a extradition, commise hors du territoire de
l'Etat requerant, lorsque la legislation de l'Etat requis autorise la poursuite au prevoit la repression de
cette infraction, dans des circonstances analogues.
5. Si la demande d'extradition vise plusieurs faits distincts punis chacun par les legislations des deux
Etats d'une peine privative de liberte, mais dont certains ne remplissent pas les conditions prevues par
les paragraphes 1 et 2, l'Etat requis accorde egalement !'extradition pour ces derniers.
6. En matiere d'impots directs et indirects, de droits de douane ou de change de monnaies, !'extradition
est accordee dans les conditions prevues aux paragraphes 1 et 2 du present article.

Article 3 Nationalite

1. L'Etat requis n'est pas tenu d'accorder !'extradition de l'un de ses ressortissants, mais le Pouvoir
executif des Etats-Unis a la faculte de le faire, discretionnairement, s'il le juge approprie. La nationalite de
la personne reclamee est celle qu'elle ;posse ait··-m.t, moment d..fl . I.a commission de !'infraction.
2. Si la demande d'extradition est refusee uniq 111ent&parfe'~ue la personlie}eclamee est ressortissante
de l'Etat requis, celui-ci soumet, sur la deman                                  a
                                                       i~fafj~~rant, l'affaire" ses autorites competentes
pour l'exercice de l'action penale.                    ·· '1 f Pt\




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     d'acquittement ou de condamnation ayant acquis un caractere definitif, pour !'infraction a raison de
     laquelle !'extradition est demandee.
2.   L'extradition ne peut pas etre refusee si les autorites de l'Etat requis ont decide de ne pas exercer de
     poursuites contre la personne reclamee, pour les faits a raison desquels !'extradition est demandee,
     ou de mettre fin a toutes poursuites penales qu'elles ont engagees contre ladite personne.

Article 9 Prescription

1.   L'extradition est refusee si !'action publique ou la peine sont prescrites selon la legislation de l'Etat
     requis.
2.   Les actes effectues dans l'Etat requerant qui ont pour effet d'interrompre ou de suspendre la
     prescription sont pris en compte par l'Etat requis, dans la mesure ou sa legislation le permet.

Article 10 Procedures d'extradition et pieces   a produire
1.       Toute demande d'extradition est transmise par voie diplomatique.
2.       Sont       produits      a        l'appui     de     chaque        demande        d'extradition
         a) Les documents, declarations ou autres types de renseignements qui decrivent la nationalite, la
         localisation probable de la personne reclamee et son identite de fa9on a pouvoir etablir que la
         personne recherchee est la personne visee par la poursuite ou le jugement de condamnation ;
         b) Un expose des faits et la chronologie des principaux actes de procedure concernant l'affaire ;
         c) Le texte des dispositions legales applicables a !'infraction a raison de laquelle !'extradition est
         reclamee;
         d)    Le texte       des    dispositions   stipulant les peines        relatives  a !'infraction
         et
3.       Lorsqu'une personne est reclamee en vue de poursuites, la demande d'extradition est egalement
         accompagnee :
a) Dans le cas d'une demande emanant des Etats-Unis, d'une copie dOment authentifiee du mandat
d'arret et du document etablissant les chefs d'accusation ;
b) Dans le cas d'une demande emanant de la France, de !'original ou d'une copie dOment authentifiee
     du mandat d'arret et de taus renseignements necessaires qui justifieraient la mise en accusation de
     la personne si !'infraction avait ete commise aux Etats-Unis.
4. Lorsqu'une personne est reclamee parce qu'elle a ete declaree coupable ou parce qu'elle a ete
condamnee pour !'infraction a raison de laquelle !'extradition est demandee, la demande d'extradition doit
aussi etre accompagnee :
a) Dans le cas d'une demande emanant des Etats-Unis, si la personne a ete condamnee, de !'original
     ou de la copie dOment authentifiee de la decision definitive de condamnation ou, si la personne a ete
     declaree coupable mais n'a pas encore ete condamnee, d'une declaration d'une autorite judiciaire
     confirmant         la       culpabilite,      ainsi      que       de         la     copie         dOment
     authentifiee du mandat d'arret ;
b} Dans le cas d'une demande emanant de la France, de !'original ou de la copie dOment authentifiee de
      la decision de condamnation definitive ;
c) Dans taus les cas ou une peine a ete prononcee, d'une declaration relative au reliquat de la peine
      restant                                                                                                 a
      executer;
d) En cas de condamnation par defaut, des documents vises au paragraphe 3.

Article 11 Admissibilite des documents

Les documents qui accompagnent la demande d'extradition sont re9us et admis comme preuves dans la
procedure         d'extradition     s'ils     repondent        aux        conditions        suivantes
a) Dans le cas d'une demande presentee par les Etats-Unis, s'ils sont transmis par la voie diplomatique ;
b) Dans le cas d'une demande presentee par la France, s'ils sont certifies par le principal representant
diplomatique ou consulaire des Etats-Unis residant sur le territoire de la Republique fran9aise, comme ii
est stipule par les dispositions en vigueur aux Etats-Unis regissant !'extradition, ou s'ils sont certifies ou
authentifies d'une autre maniere agreee par les dispositions legales des Etats-Unis.

Article 12 Traduction

Tous les documents soumis par l'Etat requerant doivent etre traduits dans la langue de l'Etat requis.




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2. L'Etat requis peut ajourner !'extradition a l'encontre d'une personne si des poursuites sont en cours a
son encontre ou si elle execute une peine dans cet Etat. Cet ajournement peut continuer jusqu'a la fin
des poursuites contre la personne reclamee et jusqu'a !'execution definitive de toute peine prononcee.

Article 17 Demandes d'extradition presentees par plusieurs Etats

Si !'extradition est demandee concurremment par plusieurs Etats, soit pour le meme fait, soit pour des
faits differents, les autorites competentes franvaises ou le Pouvoir executif des Etats-Unis statuent
compte tenu de toutes circonstances pertinentes et notamment de !'existence d'un traite a l'appui de la
demande, de la gravite et du lieu de commission des infractions, des dates respectives des demandes,
de la nationalite de l'individu reclame et de la victime, des interets respectifs des Etats requerants et de la
possibilite d'une extradition ulterieure vers un autre Etat.

Article 18 Saisie et remise de biens

1.   Dans la mesure permise par sa legislation, l'Etat requis peut saisir et remettre a l'Etat requerant tous
     articles, documents et pieces a conviction ayant trait a !'infraction pour laquelle !'extradition est
     accordee. La remise des articles, documents et pieces vises au present paragraphe peut etre
     effectuee meme dans le cas ou !'extradition ne peut avoir lieu, par suite du daces, de la disparition ou
     de !'evasion de la personne reclamee.
2.   L'Etat requis peut remettre les objets vises a condition de recevoir les assurances voulues de l'Etat
     requerant que lesdits objets lui seront restitues le plus tot possible. II peut aussi les garder
     temporairement s'il en a besoin comme pieces a conviction.
3.   Les droits des tiers sur de tels objets seront dOment reserves.

Article 19 Regle de la specialite

1.    La personne extradee en vertu du present Traite ne sera ni detenue, ni jugee, ni condamnee, ni
      punie, ni soumise a aucune restriction de sa liberte sur le territoire de l'Etat requerant pour un fait
      quelconque anterieur a la remise, autre que celui ayant motive !'extradition, sauf dans les cas
      suivants:
a) Lorsque l'Etat requis y consent, une demande pourra etre presentee a cet effet, accompagnee des
      pieces enumerees a !'article 10, ainsi que de toute declaration faite par la personne extradee
      concernant !'infraction pour laquelle le consentement de l'Etat requis est demandee ; ou
b) Lorsque, ayant eu la possibilite de le faire, la personne extradee n'a pas quitte le territoire de l'Etat
requerant dans les trente jours qui suivent son elargissement definitif, ou si elle est retournee sur le
territoire de cet Etat apres l'avoir quitte.
2. Si la qualification des faits pour lesquels la personne a ete extradee a fait l'objet au cours de la
      procedure d'une modification dans la legislation de l'Etat requerant ou si la personne est poursuivie
      pour des faits qualifies differemment, cette personne peut etre poursuivie ou condamnee des lors que
      cette nouvelle qualification :
      a) Est fondee sur les memes faits que ceux vises dans la demande d'extradition et dans les pieces
jointes; et
      b) Est punie d'une peine privative de liberte d'un maximum identique ou inferieur a celui prevu pour
!'infraction pour laquelle !'extradition a ete accordee.

Article 20 Reextradition vers un Etat tiers

1.   Lorsqu'une personne a ete remise par l'Etat requis a l'Etat requerant, celui-ci ne doit pas remettre la
     personne extradee a un Etat tiers pour une infraction anterieure a sa remise, sauf :
a) Si l'Etat requis consent a cette remise ; ou
b) Si la personne extradee, ayant eu la possibilite de le faire, n'a pas quitte le territoire de l'Etat
     requerant dans les trente jours qui suivent son elargissement definitif ou si elle est retournee sur le
     territoire de cet Etat apres l'avoir quitte.
2. Avant d'acceder a une demande au titre du a du paragraphe 1 ci-dessus, l'Etat requis peut demander
la production des documents mentionnes a l'article·10 ettoute declaration faite par la personne extradee
relative a !'infraction p9ur laq\JeH('j le consentement de l'Etat requis est demande.

Article 21 Transit




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                      PROCES-VERBAL D'ACCORD SUR LA REPRESENTATION

II est convenu que chaque Etat a souhaite accorder a l'autre la meilleure representation juridique et les
meilleurs conseils juridiques possibles (sans frais) dans la mesure ou sa Constitution et ses lois
I' autorisent.
Dans l'esprit du present accord, les deux Etats sont convenus de se fournir ces conseils et cette
representation (y compris devant leurs Cours) dans une mesure au moins identique ace qui est garanti a
tout autre Etat dans le cadre des procedures d'extradition existantes actuellement ou dans le futur. Pour
les Etats-Unis d'Amerique, le present accord signifie qu'au minimum cet Etat designera un conseil
juridique charge d'etudier chaque demande d'extradition presentee par la France en vue de fournir des
conseils et des avis a la France concernant les forces et les faiblesses de l'affaire. De plus, dans la
mesure ou cela est necessaire et opportun, le conseil juridique travaillera avec les autorites franc;:aises,
 afin d'ameliorer la documentation produite en vue de faire aboutir la demande d'extradition. De meme les
 Etats-Unis d'Amerique s'engagent a representer la France a toute audience liee a la demande
 d'extradition ainsi qu'a toute reunion organisee avant ou apres les audiences. Enfin, les Etats-Unis
 d'Amerique s'engagent a representer la France lors de tout appel ou action en « Habeas Corpus » en
 rapport avec la demande d'extradition.
 Pour la France, l'accord signifie qu'au minimum, la France accepte :
 1. D'inclure dans le dossier presente a la chambre d'accusation tout memoire ou document transmis par
 le gouvernement des Etats-Unis a l'appui de sa demande d'extradition, de fac;:on a permettre au
 gouvernement des Etats-Unis de defendre par ecrit, et de maniere continue, sa demande d'extradition ;
 2. De demander que les Etats-Unis fournissent des informations ou des explications supplementaires si
 besoin est;
 3. De communiquer au gouvernement des Etats-Unis une copie du document de transmission de sa
 demande d'extradition au Parquet gE§neral de la chambre d'accusation ;
 4. S'efforcer de renvoyer la decision ou !'audience de la chambre d'accusation de fac;:on a permettre au
 gouvernement des Etats-Unis, si necessaire, de defendre sa position et de soumettre des memoires
 supplementaires en reponse a !'argumentation orale presentee par la defense a !'audience. Ce renvoi se
 ferait dans un temps strictement limite et pourrait etre decide automatiquement ou a la demande du
  Parquet;
 5. De recevoir des communications d'un officier consulaire americain ou d'un fonctionnaire du
  departement americain de la justice charge de representer les interets des Etats-Unis au cours de la
  procedure d'extradition. Le nom de ce representant sera communique au ministere de la justice de la
  Republique franc;:aise et, si besoin, au procureur concerne par chaque demande d'extradition ;
  6. De donner l'opportunite au representant designe des Etats-Unis, et ce des que la demande
  d'extradition est presentee, de soumettre par notes au ministere de la justice de la Republique franc;:aise,
  toute information concernant les faits ou le droit, qu'elle estimera necessaire ;
  7. D'indiquer au gouvernement des Etats-Unis, au moyen de notes du ministere de la justice de la
  Republique franc;:aise a l'ambassade des Etats-Unis a Paris, que la demande a ete transmise au Parquet
  concerne;
  8. D'informer l'ambassade des Etats-Unis a Paris de la date de la premiere audience de la chambre
  d'accusation ;
  9. De donner l'opportunite au representant des Etats-Unis de transmettre, avant !'audience, une note
  supplementaire dans un laps de temps suffisant pour permettre a la partie interessee d'en etre informee
  et a la note d'etre versee au dossier ;
   10. De donner la possibilite aux representants autorises des Etats-Unis de communiquer dans les
  meilleurs delais avec le Parquet general par l'intermediaire du ministere de la justice de la Republique
  franc;:aise, dans la mesure ou celui-ci peut le faire, avant !'audience au cours de laquelle sera examinee la
  demande d'extradition. (cf. note 1)




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                                                                      ACCORD
                           entre l'Union europeenne et ies Etats-Unis d'Amerique en matiere d'extradition


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              Note explicative




              L'UNION EUROPEENNE ET LES ETATS-UNIS D'AMERIQUE,

              DES!REUX de faciliter davantage la cooperation entre Jes Etats membres de !'Union europeenne et Jes Etats-Unis d'Ame-
              rique,

              DESIREUX de !utter plus efficacement contre la criminalite afin de proteger leurs societes democratiques respectives et
              valeurs communes,

              DANS LE RESPECT des droits des personnes et de la primaute du droit,




                                                       a
              DESIREUX de conclure un accord relatif !'extradition des delinquants,



              ONT DECIDE CE QUI SUIT:



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                            Article 4                                  2.    Les documents accompagnes du certificat ou revetus du
                                                                       cachet du ministere de la justice ou du ministere ou departe-
       Infractions pouvant donner lieu      a extradition              ment de l'Etat requerant charge des affaires etrangeres sont
                                                                       recevables dans !es procedures d'extradition de l'Etat requis sans
                                                                       autre certification, authentification ou autre forme de legalisa-
1.    Une infraction est consideree comme pouvant donner lieu          tion.
a extradition  si elle est punissable, en vertu du droit de l'Etat
requerant et celui de l'Etat requis, d'une peine privative de
liberte d'une duree maximale de plus d'un an ou d'une peine
plus severe. Une infraction est egalement consideree comme                                          Article 6
pouvant donner lieu a extradition si elle constitue une tentative
de commettre une infraction pouvant donner lieu a extradition,
une conspiration a cet effet ou une participation a une telle              Transmission des demandes d'arrestation provisoire
infraction. Lorsque la demande porte sur !'application de la
peine concernant une personne condamnee pour une infraction
                                                                       Outre la voie diplomatique, !es demandes d'arrestation provi-
pouvant donner lieu a extradition, la duree de la peine privative
                                                                       soire peuvent egalement etre transmises directement du minis-
de liberte restant a purger doit etre d'au moins quatre mois.
                                                                       tere de la justice de l'Etat requerant au ministere de la justice de
                                                                       l'Etat requis. II est egalement possible de transmettre une telle
2.    Si ]'extradition est accordee pour une infraction pouvant        demande en utilisant !es services de !'Organisation internatio-
donner lieu a extradition, elle !'est egalement pour toute autre       nale de police criminelle (Interpol).
infraction specifiee dans la demande si cette derniere infraction
est punissable d'une peine privative de liberte d'un an ou
moins, pour autant que toutes !es autres conditions pour !'ex-
tradition soient reunies.                                                                            Article 7

3.  Aux fins du present article, une infraction est consideree
                                                                        Transmission de documents a la suite d'une arrestation
comme pouvant donner lieu a extradition:
                                                                                             provisoire
a) que le droit de l'Etat requerant et celui de l'Etat requis
   classent ou non cette infraction dans la meme categorie ou           1.     Si la personne dont ]'extradition est demandee est main-
   la decrivent en utilisant la meme terminologie;                      tenue en detention provisoire par l'Etat requis, l'Etat requerant
                                                                        peut s'acquitter de son obligation de transmettre sa demande
b) que la legislation federale des Etats-Unis exige ou non que          d'extradition et !es pieces justificatives par la voie diplomatique
   soient presents des elements tels que des transports entre           conformement a !'article 5, paragraphe 1, en presentant cette
   Etats, !'utilisation de services postaux ou d'autres services        demande et ces pieces a l'ambassade de l'Etat requis etablie dans
   intervenant dans le commerce entre Etats ou avec l'etranger,         l'Etat requerant. Dans ce cas, la date de reception de cette
   ces elements servant uniquement a etablir la competence              demande par l'ambassade est consideree comme etant la date
   d'un tribunal federal des Etats-Unis, et                             de reception par l'Etat requis aux fins de !'application du delai
                                                                        devant etre respecte en vertu du traite d'extradition en vigueur
 c) dans !es affaires penales liees a la fiscalite, aux droits de       afin que la personne puisse etre maintenue en detention.
    douane, au contr6le des changes et au contr6le de !'importa-
    tion ou de !'exportation de certains produits, que le droit de
    l'Etat requerant et celui de l'Etat requis prevoient ou non Jes     2.    Si, a la date de la signature du present accord, un Etat
    memes types de taxes, droits de douane, contr6le des                membre ne peut, en raison de la jurisprudence constante de
    changes ou contr6le de ]'importation ou de !'exportation des        son systeme juridique applicable a cette date, appliquer !es
    memes types de produits.                                            mesures visees au paragraphe 1, le present article ne Jui est pas
                                                                        applicable jusqu'au moment ou cet Etat membre et !es Etats-
                                                                        Unis d'Amerique en decident autrement au moyen de l'echange
 4.    Si !'infraction a ete commise hors du territoire de l'Etat
 requerant, !'extradition est accordee sous reserve     ?es  autres     d'une note diplomatique.
 conditions applicables a cet effet, si le droit de l'Etat requis
 prevoit des sanctions pour des faits commis hors de son teyri-
 toire dans des circonstances analogues. Si le droit de l'Etat
 requis ne prevoit pas de sanctions pour des faits commis hors                                       Article 8
 de son territoire dans des circonstances analogues, le pouvoir
 executif de cet Etat peut, a sa discretion, accorder !'extradition                       Complement d'informations
 pour autant que toutes !es autres conditions pour !'extradition
 soient reunies.
                                                                        1.     L'Etat requis peut demander a l'Etat requerant de fournir
                                                                        des informations complementaires dans un delai raisonnable,
                                                                        qu'il precise, s'il juge que !es informatjons communiquees          a
                              Article 5                                 l'appui de la demande d'extradition pour se conformer aux obli-
                                                                        gations prevues par le traite d'extradition en vi&ueur sont insuf-
       Transmission et authentification des documents                   fisantes.                                         ·


 1.     Les demandes d'extradition et !es pieces justificatives sont    2.    Ce complement d'inforrpa
 transmises par la voie diplomatique, y compris selon !es moda-         fourni directement par !es ministetis
 lites visees a!'article 7.                                             concernes.



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                            Article 14                                                                Article 19

   Presence d'informations sensibles dans une demande                                      Designations et notifications

Lorsque l'Etat requerant envisage de communiquer des informa-           L'Union europeenne notifie aux Etats-Unis toute designation
                                   a
tions particulierement sensibles l'appui de sa demande d'ex-            effectuee en application de !'article 2, paragraphe 3, et de !'ar-
tradition, il peut consulter l'Etat requis afin de determiner clans     ticle 10, paragraphe 2, avant l'echange d'instruments ecrits
quelle mesure ces informations peuvent etre protegees par ce            entre Jes Etats-Unis et Jes Etats membres vise a !'article 3, para-
dernier. Si l'Etat requis ne peut pas proteger Jes informations de      graphe 2.
la maniere souhaitee par l'Etat requerant, celui-ci determine si
ces informations seront ou non neanmoins communiquees.
                                                                                                      Article 20

                                                                                               Application territoriale
                            Article 15
                                                                         1.   Le present accord s'applique:
                          Consultations
                                                                         a) aux Etats-Unis d'Amerique;
Si necessaire, Jes parties contractantes se consultent pour              b) en ce qui concerne !'Union europeenne:
permettre une utilisation aussi efficace que possible du present
accord, y compris pour favoriser le reglement de tout differend                 aux Etats membres,
concernant son interpretation ou son application.                               aux territoires dont un Etat membre assure Jes relations
                                                                                exterieures, ou aux pays qui ne sont pas des Etats
                                                                                               a
                                                                                membres, l'egard desquels un Etat membre a d'autres
                                                                                devoirs clans le domaine des relations exterieures,
                             Article 16
                                                                                lorsque cela a ete convenu par l'echange d'une note
                                                                                diplomatique entre Jes parties contractantes dument
                   Application dans le temps                                    confirmee par l'Etat membre concerne.

1.    Le present accord s'applique aux infractions commises              2.     Une partie contractante peut mettre fin a !'application du
tant avant qu'apres son entree en vigueur.                                                 a
                                                                         present accord un territoire ou un pays faisant l'objet de !'ex-
                                                                         tension prevue au paragraphe 1, point b) moyennant un
2.   Le present accord s'applique aux demandes d'extradition                                                a
                                                                         preavis ecrit de six mois donne l'autre partie contractante par
formulees apres son entree en vigueur. Cependant, les articles 4         la voie diplomatique, lorsque cela est dument confirme entre
et 9 s'appliquent aux demandes pendantes clans un Etat requis            l'Etat membre concerne et les Etats-Unis.
au moment de l'entree en vigueur de !'accord.

                                                                                                       Article 21
                             Article 17                                                               Reexamen

                         Non-derogation                                  Les parties contractantes conviennent de proceder            aun
                                                                         reexamen commun du present accord, si necessaire, et, en tout
1.    Le pres~nt accord est sans prejudice de la possibilite             etat de cause, au plus tard cinq ans apres son entree en vigueur.
            a
reconnue l'Etat requis par un traite d'extradition bilateral en          Ce reexamen porte notamment sur la mise en ceuvre concrete
vigueur entre un Etat membre et Jes Etats-Unis d'Amerique d'in-                                                      a
                                                                         de !'accord et peut egalement avoir trait des questions telles
                                              a
voquer des motifs de refus se rapportant une question non                que Jes consequences du developpement de !'Union europeenne
regie par le present accord.                                             en ce qui concerne ]'objet du present accord, y compris !'article
                                                                         10.
 2.     Si Jes principes constitutionnels de l'Etat requis ou des
 decisions judiciaires definitives ayant un caractere contraignant
 sont de nature a faire obstacle a !'execution de son obligation                                       Article 22
 d'extradition et que ni le present accord ni le traite bilateral
 applicable ne permettent de resoudre la question, l'Etat requis                         Entree en vigueur et denonciation
                               a
 et l'Etat requerant procedent des consultations.
                                                                         1.    Le present accord entre en vigueur le premier jour qui
                                                                         suit le troisieme mois apres la date       alaquelle Jes parties
                                                                         contractantes ont echange Jes instruments indiquant qu'elles
                             Article 18
                                                                         ont mene    a   bien leurs procedures internes    a
                                                                                                                           cet effet. Ces
                                                                                                                                a
                                                                         instruments precisent egalement que les actes vises !'article 3,
 Futurs traites bilateraux d'extradition condus avec les                 paragrap'1,_e 2, ont ete ar;complis.
                       Etats membres                                               ,,
                                                                                Chacun~e5-....Earties contractantes peut   atout moment
 Le present accord n'empeche pas la conclusion, apres son                         · .     esen~ ord en en informant l'autre partie par
 entree en vigueur, d'accords bilateraux conformes au present            ecrit. Cette                  nd effet six mois apres la date de
 accord entre un Etat membre et Jes Etats-Unis d'Amerique.               sa notification.



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            Note explicative relative    a !'accord   entre l'Union europeenne et les Etats-Unis d'Amerique en
                                                       matiere d'extradition


            La presente note explicative precise !'interpretation convenue entre !es parties contractantes concernant
            !'application de certaines dispositions de !'accord entre !'Union europeenne et !es Etats-Unis d'Amerique en
            matiere d'extradition (ci-apres denomme «l'accord»).

            Concemant !'article 10
            L'article 10 n'entend affecter ni !es obligations des Etats parties au statut de Rome de la Cour penale inter-
            nationale, ni !es droits des Etats-Unis d'Amerique en tant que non-partie en ce qui concerne la Cour penale
            internationale.

            Concemant !'article 18
            L'article 18 prevoit que !'accord n'empeche pas la conclusion, apres son entree en vigueur, d'accords bilate-
            raux en matiere d'extradition entre un Etat membre et !es Etats-Unis d'Amerique, qui soient conformes a
            !'accord.
            Si une mesure prevue par ]'accord devait creer une difficulte de nature operationnelle pour un ou plusieurs
            Etats membres ou pour !es Etats-Unis d'Amerique, cette difficulte devrait d'abord etre reglee, si possible,
            par le biais de consultations entre l'Etat membre ou ]es Etats membres concernes et Jes Etats-Unis d'Ame-
            rique ou, le cas echeant, selon !es procedures de consultation definies clans ]'accord. Si Jes consultations ne
            permettaient pas a elles seules de resoudre cette difficulte operationnelle, ii serait conforme a]'accord que
            Jes accords bilateraux qui seraient conclus par la suite entre l'Etat membre ou !es Etats membres et Jes
            Etats-Unis d'Amerique prevoient un autre mecanisme, applicable sur le plan operationnel, qui permette
            d'atteindre !es objectifs vises par la disposition au sujet de laquelle la difficulte est apparue.




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I  STANCE
DE PARIS


        •
                             Passeport fran~ais
                                       et
                           Carte nationale d'identite
                            LAUTISSIER Brendan




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